Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 1 of 50




                 Exhibit 6
     Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 2 of 50


                                                                     Page 1
 1                   UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF CALIFORNIA
 2
 3   IN RE: ROUNDUP PRODUCTS                 MDL No. 2741
     LIABILITY LITIGATION                    Case No. 16-md-02741-VC
 4

     ___________________________
 5

     This document relates to:
 6

     ALL ACTIONS
 7   __________________________/
 8
 9
10             DEPOSITION OF CHARLES W. JAMESON, Ph.D.
                        Pages 1 through 122
11                           Videotaped
12
13                     Wednesday, January 10, 2018
                         9:03 a.m. - 12:35 p.m.
14                       Four Points by Sheraton
                       13600 Treeline Avenue South
15                        Fort Myers, Florida
16
17
18
19
20
21
22
23                 Stenographically Reported by:
                    Donna L. Peterson, RDR, CRR
24                 Registered Diplomate Reporter
                    Certified Realtime Reporter
25   Job No. 135911

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            Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 3 of 50

                                                           Page 2                                                     Page 4
 1                      APPEARANCES:                                 1      Deposition taken before Donna L. Peterson,
 2                                                                   2   Registered Diplomate Reporter and Notary Public in and
 3     On Behalf of the Plaintiffs:                                  3   for the State of Florida at large in the above cause.
 4       Andrus Wagstaff Attorneys At Law
                                                                     4                    ------
         7171 West Alaska Drive
 5       Lakewood, Colorado 80226                                    5         THE VIDEOGRAPHER: This is the start of video
         BY: AIMEE WAGSTAFF, ESQUIRE                                 6      media disc one of the videotaped deposition of
 6
                                                                     7      Charles W. Jameson, Ph.D.
 7
 8                                                                   8         Please note, the microphones are very
       On Behalf of the Defendant Monsanto Company:                  9      sensitive. Be aware that they can pick up
 9                                                                  10      whispering and conversations not intended for the
          Hollingsworth                                             11      record. Additionally, please turn off your cell
10        1350 I Street, N.W.                                       12      phones or place them away from the microphones as
          Washington, DC 20005
11                                                                  13      they can interfere.
          BY: JOE HOLLINGSWORTH, ESQUIRE
             HEATHER PIGMAN, ESQUIRE                                14         This is the matter of In Re: Roundup Products
12                                                                  15      Liability Litigations, in the United States District
13
                                                                    16      Court, Northern District of California, Case No.
14
15                                                                  17      16-md-02741-VC. This deposition is being held at
       Also Present:
16       Jeff Menton, videographer                                  18      the Four Points by Sheraton in Fort Myers, at
17                                                                  19      13600 Treeline Avenue South, Fort Myers, Florida.
18
                                                                    20      Today is January the 10th, 2018. The time is
19
20                                                                  21      approximately 9:05 a.m.
21                                                                  22         My name is Jeff Menton. I am the certified
22                                                                  23      legal video specialist from TSG Reporting,
23
                                                                    24      headquartered at 747 Third Avenue, New York. The
24
25                                                                  25      court reporter is Donna Peterson, also in


                                                           Page 3                                                     Page 5
 1                INDEX                                              1
 2
                                                                            association with TSG Reporting.
     WITNESS                   PAGE                                  2         Would counsel please introduce yourselves and
 3   CHARLES W. JAMESON, Ph.D.                                       3      state whom you represent, starting with the noticing
 4   DIRECT EXAMINATION BY MR. HOLLINGSWORTH                5
     CROSS-EXAMINATION BY MS. WAGSTAFF       102                     4      attorney. And then will the court reporter please
 5   REDIRECT EXAMINATION BY MR. HOLLINGSWORTH               117     5      swear the witness in.
     CERTIFICATE OF OATH              120
 6   CERTIFICATE OF REPORTER             121                         6         MR. HOLLINGSWORTH: I am Joe Hollingsworth,
     ERRATA SHEET                 122
 7                                                                   7      Hollingsworth LLP, in Washington. And we represent
 8              EXHIBITS                                             8      Monsanto Company.
                 (Attached)
 9                                                                   9         MS. PIGMAN: Oh, Heather Pigman from
     NUMBER             DESCRIPTION               PAGE
10                                                                  10      Hollingsworth also representing Monsanto.
     Exhibit 27-1 One-page article, NIH,          7                 11
11             Agricultural Health Study                                       MS. WAGSTAFF: Aimee Wagstaff from Andrus
12   Exhibit 27-2 Monograph on malathion              15            12      Wagstaff in Denver, Colorado, representing
13   Exhibit 27-3 Heltshe article "Using         26
                                                                    13      plaintiffs, MDL plaintiffs.
               multiple imputation to
14             assign pesticide use for                             14         THE REPORTER: Would you please raise your
               non-responders in the
15             follow-up questionnaire in                           15      right hand.
               the Agricultural Health                              16
16             Study"                                                          Do you swear or affirm the testimony you are
17   Exhibit 27-4 Andreotti paper titled,        37                 17      about to give will be the truth, the whole truth,
               "Glyphosate Use and Cancer
18             Incidence in the                                     18      and nothing but the truth.
               Agricultural Health Study"                           19
19                                                                             THE WITNESS: I do.
     Exhibit 27-5 5/16/17 letter to Ms. Pigman        50            20              CHARLES W. JAMESON, Ph.D.
20             from Ms. Wagstaff and others
21   Exhibit 27-6 Dr. Jameson's supplemental          54            21   having been first duly sworn, was examined and testified
               report                                               22
22                                                                       as follows:
     Exhibit 27-7 Dr. Jameson's original     85                     23                 DIRECT EXAMINATION
23             report
24                                                                  24   BY MR. HOLLINGSWORTH:
     Exhibit 27-8 Two pages, e-mails between    110
               Heather Pigman and Robin                             25      Q. Sir, you are aware that the AHS is the largest
25             Greenwald




                                                                                                                               2
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         Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 4 of 50

                                                  Page 6                                                          Page 8
 1   study in the world on farmers and their families, true?     1   brief news article that's put out by the National
 2      A. The largest? To be honest with you, I don't           2   Institute of Environmental Health Sciences, and this one
 3   know for a fact that it is the largest study on farmers.    3   happens to be about the AHS, and it's dated
 4   But it is a very large study, yes.                          4   December 29th, 2017.
 5      Q. You know that the AHS, the Agricultural Health        5          Do you see that, sir? The date is down in the
 6   Study, was sponsored by the National Cancer Institute,      6   right hand corner.
 7   National Institute of Health, and NIEHS, National           7      A. 2017 yes.
 8   Institute for Environmental Health Sciences, right?         8      Q. And that is -- is that after you --
 9      A. The -- the AHS paper that was published with          9          Is that date after you published your first
10   the 2018 publication date lists the Cancer Institute and   10   initial report in this case?
11   NIEHS, the National Institute of Environmental Health      11      A. Okay. First initial report, what are you
12   Sciences, as the funding source for the study, yes.        12   referring to for that?
13      Q. Yeah. And if you look at the study itself, it        13      Q. I am referring to -- let's see. I am referring
14   is entitled National Cancer Institute, 2018, Glyphosate    14   to the expert report of Dr. Charles Jameson, Ph.D., in
15   Use in Cancer Incidents, in the Agricultural Health        15   support of general causation on behalf of plaintiffs.
16   Study, true?                                               16   That is dated May 12, 2017.
17         MS. WAGSTAFF: Object to form.                        17          You are familiar with that, right?
18      A. I would have to look at the paper to see what        18          MS. WAGSTAFF: And, Counsel, I will give you a
19   it says. But my understanding is it does -- the            19      little leeway to talk about this expert deposition
20   National Cancer Institute is not part of the title of      20      that was his general initial deposition. But as you
21   the paper.                                                 21      know, this -- this deposition is very limited in
22      Q. Okay. I will show you that in a minute. But          22      scope to the 2018 AHS study, and he is not prepared
23   the -- the paper by -- that you are referring to is the    23      to talk about the scope of his deposition that you
24   one with the lead author is Gabriella Andreotti?           24      have -- or of the expert report that you have
25      A. That's correct.                                      25      deposed him on for eight hours already.


                                                  Page 7                                                          Page 9
 1      Q. The title of that paper is "Glyphosate Use and        1          MR. HOLLINGSWORTH: I am not going to ask him
 2   Cancer Incidence in the Agricultural Health Study"?         2      many questions about that report.
 3      A. Yes, that's -- to the best of my recollection,        3          MS. WAGSTAFF: Okay.
 4   that's the exact title, yes.                                4          MR. HOLLINGSWORTH: But he has referred to it.
 5      Q. And the Agricultural Health Study is something        5      And he has referred to the Agricultural Health Study
 6   that has sometimes been referred to in this case and in     6      in his supplemental report. I do have just a few
 7   your -- and in your reports in this case as the AHS,        7      questions about it.
 8   right?                                                      8          MS. WAGSTAFF: All right.
 9      A. That's correct, yes.                                  9   BY MR. HOLLINGSWORTH:
10      Q. Are you aware --                                     10      Q. So let's go back to Exhibit 1, sir. This is
11          MR. HOLLINGSWORTH: Can you hand me, please,         11   the National Institute of Health -- Environmental --
12      tab 21.                                                 12   Environmental Health Sciences publication on
13          MS. WAGSTAFF: Are we going to start with 27?        13   December 29, 2017.
14      Okay.                                                   14          Do you see that?
15          MR. HOLLINGSWORTH: 27-1.                            15      A. Yes.
16          MS. WAGSTAFF: Yeah.                                 16      Q. And if you look down in the last paragraph of
17          (Exhibit 27-1 was marked for identification.)       17   this, and you go to the -- to the second sentence, the
18      Q. Sir, I have marked as an exhibit for this            18   NIHS states that, quote, "The AHS is the largest study
19   deposition number -- as number 27-1, a one-page article    19   of farmers and their families in the world."
20   that I am handing to you and counsel.                      20          Did I read that correctly?
21      A. Uh-huh.                                              21      A. That's what this document says, yes.
22      Q. If you look -- look at the bottom -- strike          22          MS. WAGSTAFF: I object to counsel testifying.
23   that.                                                      23      Q. Did I read that correctly?
24          Let me start out with what's at the top.            24      A. That's what the document says, yes.
25          This is a -- this is -- this is actually a          25      Q. Okay. And is it fair to state that the AHS




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        Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 5 of 50

                                                Page 10                                                       Page 12
 1   collects comprehensive data on pesticide exposure?         1   covered glyphosate and other compounds, including
 2      A. Well, based on -- on what I know about the           2   malathion. Do you recall that?
 3   study on reading the various publications, I don't know    3         MS. WAGSTAFF: Objection to we are getting
 4   that I could agree that it collects the most compre --     4     close to outside the scope of this deposition.
 5   or collects comprehensive data, no.                        5         MR. HOLLINGSWORTH: Well --
 6      Q. Do you see the second -- the third sentence in       6     A. I -- I did serve on Monograph 12 Working Group.
 7   the paragraph we were just referring to on Exhibit --      7     Q. Yeah. Do you recall that when you referred to
 8      A. Uh-huh.                                              8   the agriculture health study in Monograph 112 on
 9      Q. -- 21 dash -- 27-1?                                  9   glyphosate, there is a reference to the malathion
10      A. Right.                                              10   portion of Monograph 112 for a more detailed data about
11      Q. This is the NIEHS publication where they state,     11   the Agricultural Health Study; do you recall that?
12   quote, "The study collects comprehensive data on          12         MS. WAGSTAFF: Wait, wait. Stop really quick.
13   pesticide exposure."                                      13     Can we go off the record, please? Can we go off the
14          Do you see that?                                   14     record?
15      A. I see where this document says that, yes.           15         MR. HOLLINGSWORTH: Yes.
16      Q. Is it fair to state that the study, the AHS         16         THE VIDEOGRAPHER: Is that a "yes"?
17   study that I am referring to, collects comprehensive      17         MS. WAGSTAFF: Yes.
18   data on factors that might modify exposures to            18         THE VIDEOGRAPHER: Give me a second, please.
19   pesticides?                                               19     Going off the video record at 9:16.
20      A. I am sorry. Could you repeat the question.          20         (Recess from 9:16 a.m. until 9:18 a.m.)
21      Q. Is it fair to state that the AH study collects      21         THE VIDEOGRAPHER: We are back on the video
22   comprehensive data on factors that might modify           22     record at 9:18 a.m.
23   exposures to pesticides?                                  23         MS. WAGSTAFF: Just real quick before we start.
24      A. I would -- I would agree that it collects data      24     While we were off the record, Mr. Hollingsworth and
25   on factors that might modify exposures, yes.              25     I had a conversation about the scope of PTO 34 and


                                                Page 11                                                       Page 13
 1      Q. And is it fair to state that the study has           1   the deposition we are here to do today. We have a
 2   developed and validated improved the methods for           2   slight disagreement about the scope of his
 3   pesticide exposure assessment?                             3   questions.
 4      A. In my opinion I could say they tried, but I          4       I have agreed to allow him to continue asking,
 5   don't think they were successful in this particular        5   but there may come a point in the very near future
 6   study. I think the exposure data is flawed.                6   when I have to instruct Dr. Jameson not to answer
 7      Q. Do you see in this publication by NIEHS on           7   and we need to get the Court on the phone.
 8   December 12, 2017, where it is stated in the third         8       But go ahead and proceed.
 9   sentence that the study has developed, quote, "has         9       MR. HOLLINGSWORTH: And during the time that we
10   developed and validated improved methods for pesticide    10   were off the record, I explained to Ms. Wagstaff
11   exposure assessment"?                                     11   that I am limiting my questions to the section of
12         MS. WAGSTAFF: Objection to counsel testifying.      12   the Monograph 112 which includes glyphosate and a
13      A. This document does state that the AHS has           13   couple of other chemicals, among which was a
14   developed and validate improved methods.                  14   chemical called malathion. That refers to the
15      Q. Now, during your career, did you work at the        15   quality and the validation methods and the various
16   National Institute of Health?                             16   statistical analyses that were done as part of the
17      A. Yes.                                                17   agricultural study, and that is the only aspect of
18      Q. And did you work at the National Institute of       18   that Monograph that I want to briefly question
19   Environmental Health Sciences?                            19   Dr. Jameson about. I do not intend to ask him any
20      A. Yes.                                                20   questions about malathion per se or about the IARC
21      Q. Now, when you were looking at the AHS study in      21   review of glyphosate per se.
22   connection with the IARC report -- do you have that in    22       MS. WAGSTAFF: All right. Along that lines,
23   mind?                                                     23   the -- the -- I -- he was -- he is not prepared to
24      A. Okay.                                               24   talk about the IARC today.
25      Q. You served on a group called Monograph 112 that     25       So you can answer if you remember or if you




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         Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 6 of 50

                                                Page 14                                                         Page 16
 1      recall.                                                  1      Q. And I am looking at the paragraph which says,
 2         THE WITNESS: Okay.                                    2   quote, "Great efforts were made in the Agricultural
 3   BY MR. HOLLINGSWORTH:                                       3   Health Study to assess exposure among agricultural
 4      Q. Okay. Do you recall that the Working Group 112        4   pesticide applicators and their spouses."
 5   evaluated other chemicals besides glyphosate, including     5          Do you see that?
 6   malathion for one?                                          6      A. Yes.
 7      A. Yes. They reviewed a number of different              7      Q. Did you -- are you testifying today that you
 8   pesticides.                                                 8   disagree with that?
 9      Q. And you were a member of the animal subgroup          9          MS. WAGSTAFF: Objection; misstates his
10   for the review of those various pesticides, including      10      testimony.
11   glyphosate and malathion, right?                           11      A. Well, based on my evaluation of the most recent
12      A. I was.                                               12   AHS publication in 2018, which is the purpose of this
13      Q. Do you recall that in -- in -- there is a            13   deposition, I would have to say that --
14   section in the monograph on glyphosate which discusses     14          Well, the sentence reads, "Great efforts were
15   the Agricultural Health Study?                             15   made in the Agricultural Health Study to assess exposure
16      A. I am familiar with that, yes.                        16   among agricultural pesticide applicators and their
17      Q. And there is a part of that section which says       17   spouses." It just says "great efforts were made." It
18   for a more detailed evaluation of the Agricultural         18   didn't say what the efforts were.
19   Health Study, look to the section on malathion.            19      Q. Okay.
20         You recall that?                                     20      A. In this first sentence anyway.
21      A. I -- I think there is a reference, such a            21          I mean, it has been a while since I have looked
22   reference in there, but I -- I need to look at the --      22   at this, so I --
23      Q. Okay.                                                23      Q. Okay. Is it fair to state that the
24      A. -- Monograph itself to refresh my memory.            24   questionnaires and algorithms that have been done to
25      Q. Sure. I am going to show you what I will mark        25   test the Agricultural Health Study for -- for quality


                                                Page 15                                                         Page 17
 1   as 27-2, a copy of the -- of a few pages of the             1   had undergone several tests for reliability and accuracy
 2   malathion monograph that refer to the AHS methodology.      2   that had provided considerable insight into the quality
 3   And this -- this is the entire monograph on malathion,      3   of this exposure assessment -- exposure assessment that
 4   but I am only going to look at two or three pages of        4   the AHS did? Do you see that?
 5   this be.                                                    5      A. Is that what you are saying is in this?
 6         (Exhibit 27-2 was marked for identification.)         6      Q. This -- I am looking at the second sentence.
 7         MS. WAGSTAFF: I will let the record reflect           7   And I am asking you if you think --
 8      that this is a 124-page typed document.                  8      A. Oh, the second sentence.
 9      Q. Now, the malathion monograph is one that you          9      Q. -- as you sit here today it's fair to state
10   worked on in your capacity as head of the animal           10   that the questionnaires and the algorithms that have
11   subgroup; is that right, sir?                              11   been extensively described have undergone several tests
12         MS. WAGSTAFF: Objection to using this as --          12   for reliability and accuracy that have been provided --
13      unless we go into more detail on malathion, which is    13   that have provided considerable insight into the quality
14      outside the scope of PTO 34.                            14   of this exposure assessment, referring to the AHS, AHS
15      A. I did work on the malathion monograph, yes.          15   itself?
16      Q. Okay. If you will look at -- there -- there          16          MS. WAGSTAFF: And doctor --
17   are two discussions in this document about the             17      Q. Is that fair to state?
18   Agriculture Health Study that are referred to in -- from   18          MS. WAGSTAFF: Dr. Jameson, if you need to read
19   the glyphosate section of the monograph. And one is at     19      the entire section on the Agricultural Health Study
20   page 9.                                                    20      right now, please do so.
21         If you look at that for me, please, there is a       21      A. Yeah, let me refresh my memory on this first.
22   description of the Agricultural Health Study at            22   But I -- I -- but I would like to say, when I wrote my
23   subsection A on the second column on the right. The        23   initial report, I was asked to write a report on
24   right-hand column, I should say.                           24   glyphosate.
25      A. Uh-huh.                                              25          And so when I wrote the report on glyphosate, I




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         Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 7 of 50

                                                Page 18                                                         Page 20
 1   concentrated only on glyphosate. Reviewing the IARC         1   cohort studies, recall bias tends to -- tends to happen,
 2   monograph, I looked at the glyphosate section. Even         2   doesn't it?
 3   though it may have referred to the -- to the malathion,     3      A. In case control studies?
 4   I -- I didn't take the time to look back at the             4      Q. Yes.
 5   malathion study.                                            5      A. Well, you can have recall bias in case control
 6          I remember that there were concerns expressed        6   and cohort studies.
 7   at the monograph meeting about the accuracy or adequacy     7      Q. But because exposure is obtained before the
 8   of the data in the AHS and especially as it relates to      8   onset of the cancer in the cohort study, recall bias is
 9   exposure and misclassifications. So I was well aware of     9   not expected in cohort studies, is it?
10   the fact of the problems with it, but I didn't address     10      A. Well, in most cases that -- that -- that
11   them in my expert report because my -- the purpose of my   11   probably would be the case. But -- but the methodology
12   report was to discuss glyphosate and its carcinogenicity   12   used in the Agricultural Health Study to -- at the
13   and not to evaluate the adequacy or -- or if each study    13   initial sign-up of the applicate -- of the pesticide
14   was -- or outline the flaws in each and every study that   14   applicators, if you will, that was flawed; because they
15   I looked at.                                               15   were asking them to recall their past exposures to -- to
16      Q. Okay. There is another section of this I would       16   the pesticide. And that could lead to recall bias. So
17   like you to look at, at page 15, please, in the            17   the methodology that was used in the Agricultural Health
18   right-hand column. There is a sentence in the first --     18   Study is flawed.
19   in the second full -- the second full sentence in that     19      Q. That recall bias is the same as any case
20   paragraph that begins, "The AHS being a cohort study..."   20   control study, right?
21          Do you see that?                                    21      A. Well you can have -- I -- that's what I said.
22          MS. WAGSTAFF: It's on the right-hand side.          22   You can have recall bias in case control studies. But
23      A. On the right-hand side. "The AHS being a             23   you can also have it in cohort studies.
24   cohort study..." Oh, okay. I gotcha.                       24          And that is the case in the AHS study because
25      Q. Yeah. Is it fair to state that the AHS, since        25   of the method that they used to -- the questionnaire


                                                Page 19                                                         Page 21
 1   it's a cohort study, avoids recall bias?                    1   that they used to get exposure information from the
 2           MS. WAGSTAFF: Objection to pulling this             2   subjects when they first signed up.
 3       sentence out of a 124-page typed document that the      3      Q. The subjects that signed up in the prospective
 4       witness has testified he has not seen in years. And     4   cohort study, which was the AHS, didn't know whether
 5       it is outside the scope of PTO 34.                      5   they were going to get cancer or not, did they?
 6           If you need to read that entire section,            6      A. No. But that's not the issue. The recall bias
 7       Dr. Jameson, please do.                                 7   is on exposure. The recall bias is them recalling what
 8       A. Okay. Let me --                                      8   they have -- what pesticides they have used and been
 9       Q. Is it -- do you -- do you --                         9   exposed to in the previous -- previously before they --
10           MS. WAGSTAFF: I mean, if you want to ask           10   when they signed up for this -- for this study.
11       him --                                                 11      Q. That --
12       Q. Can you answer the question --                      12      A. And going back, you know, years of memory is --
13           MS. WAGSTAFF: -- if that's what the words says     13   is -- I mean, they could remember, "Well, I used, I used
14       on the paper, you can answer.                          14   pesticide X and herbicide Y the past year or past couple
15       Q. Can you answer the question, Dr. Jameson,           15   of years so I will put that down." But 20 years ago or
16   whether the AHS because it's a cohort study avoids         16   15 years ago, they can't remember what -- every
17   recall bias?                                               17   pesticide they may have been exposed to. It's just
18       A. Okay. The sentence in -- in -- that you are         18   human nature not to remember those things.
19   referring to in this copy of the malathion --              19          So there is a major flaw in the AHS study for
20       Q. Yes.                                                20   gathering exposure information right at the get-go,
21       A. -- that's what this paper says, yes.                21   right at the very beginning.
22       Q. Yes. Would you agree that that's a fair thing       22      Q. But that error would be, because it's a
23   to say about the AH study in general?                      23   prospective cohort study, would be nondifferential; and
24       A. No.                                                 24   in most cases in nondifferential cohort studies such as
25       Q. Okay. In case control studies as opposed to         25   the AHS, that error would not inflate risk estimates,



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        Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 8 of 50

                                               Page 22                                                         Page 24
 1   would it?                                                  1   want to ask you about, the malathion section on the AHS.
 2      A. No, that's not true.                                 2   If you look at page 21, sir, in the left-hand column,
 3          MS. WAGSTAFF: Objection; misstates testimony.       3   down at the bottom at the sentence that begins, "For
 4      You have not established it's nondifferential.          4   individuals..."
 5      Q. Okay. Okay. Would you -- would you read,             5      A. Okay.
 6   please --                                                  6      Q. The -- the IARC group said that, "For
 7          Would you look, please, at the second sentence      7   individuals in the AHS who do not complete a phase 2
 8   of -- after the sentence that I just referred to you on    8   re-interview five years after enrollment, an imputation
 9   page 15 of Exhibit 27-2, which is the malathion portion    9   method was used..."
10   of the IARC Monograph 112.                                10         Do you see that?
11      A. The second sentence past the one you?               11      A. Yes.
12      Q. Yes.                                                12      Q. "And that permitted the inclusion of all
13          MS. WAGSTAFF: Objection again to cherry-           13   participants in a phase 2 analysis." According to this
14      picking sentences out of a 124-page document.          14   document, in the left-hand column.
15      A. So is that the -- I'm sorry.                        15         Do you see that?
16      Q. The one that begins, "Misclassification..."         16      A. Okay. Yes.
17          MS. WAGSTAFF: The next sentence.                   17      Q. And it states that the imputation method was
18      A. Oh, that's the next sentence. I'm sorry.            18   based on baseline data from -- meaning baseline data
19          "Misclassification of pesticide exposure cannot    19   from the original interviews; do you see that?
20   be excluded because exposure was retrospective and        20      A. Okay.
21   self-reported." Right.                                    21      Q. And do you see that based on a paper by
22      Q. As is typical for most case control studies,        22   Heltshe, et al., which is cited at the end of this
23   true?                                                     23   section, that imputation method was determined to have
24          MS. WAGSTAFF: Object to form.                      24   no major impact on the main results for many of the
25      Q. Do you see that --                                  25   pesticides? Do you see that?


                                               Page 23                                                         Page 25
 1      A. I see that sentence, yeah.                           1         MS. WAGSTAFF: Objection. Please include the
 2      Q. Okay. And my question is: Isn't it fair to           2     rest of the sentence which relates only to
 3   state that with a prospective cohort study like AHS,       3     parathion, diazinon and malathion, not glyphosate.
 4   that error would be nondifferential and in most            4     I object to incomplete sentences.
 5   scenarios would not inflate risk estimates?                5     Q. Do you see that?
 6      A. I don't necessarily agree with that statement,       6     A. I see where it says --
 7   no.                                                        7         MS. WAGSTAFF: Please read the rest of the
 8      Q. Okay. When you were -- when you were writing         8     sentence.
 9   the malathion section of this monograph, did you raise     9     A. -- which led -- which to the observation that
10   your concern about that during the discussion at the      10   neither missing data nor imputation had major impacts on
11   IARC meeting?                                             11   the main results of many of the pesticides, including
12      A. I don't recall if I did or not.                     12   parathion, diazinon, and malathion. But it says nothing
13          MS. WAGSTAFF: Objection; outside the scope of      13   about glyphosate.
14      PTO 34.                                                14     Q. Yes. In your report, sir, you refer to the
15      Q. Is it true that in the case of case control         15   paper by Dr. Heltshe, which is cited at the end of the
16   studies, that error would be differential and therefore   16   section from the malathion monograph that you just read.
17   would affect the accuracy of risk estimates and tend to   17   Heltshe, et al., 2012?
18   make the risk estimates exaggerated?                      18     A. Uh-huh.
19      A. That may be possible. Not necessarily fact,         19     Q. That's --
20   but that may be possible.                                 20     A. Yes.
21      Q. Now, in your supplemental report, you refer to      21     Q. -- one of your references to your supplemental
22   the imputation method of analysis which was used by       22   report; true?
23   Dr. Andreotti in the 2013 NCI study; true?                23     A. True.
24      A. True.                                               24     Q. Now, have you read Heltshe?
25      Q. And if you look at just -- the last question I      25     A. Yes.



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         Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 9 of 50

                                                Page 26                                                         Page 28
 1      Q. Heltshe and her coauthors specifically looked         1      Q. Yeah. You disagree with that?
 2   at glyphosate, didn't they, in addition to parathion and    2          MS. WAGSTAFF: Objection; asked and answered.
 3   malathion?                                                  3      A. Well, I --
 4      A. Right.                                                4          MS. WAGSTAFF: He said yes.
 5      Q. And the conclusions that she reached in her           5      A. Do I agree with that?
 6   paper that you cited apply equally to glyphosate and        6      Q. Do you agree with that?
 7   malathion; isn't that right?                                7      A. Do I agree that missing data is a common
 8      A. I have to look --                                     8   problem?
 9         MS. WAGSTAFF: Object.                                 9      Q. Yes.
10      A. -- at the paper to refresh my memory.                10          MS. WAGSTAFF: Objection; asked and answered.
11      Q. Okay. Would you agree that missing data is a         11      A. That's -- yes. That's what I said.
12   common problem in epidemiologic studies?                   12      Q. Okay. I'm sorry.
13         MS. WAGSTAFF: Object to form.                        13          If you look down at the third sentence in the
14      A. In my experience in reviewing epidemiology           14   first paragraph of this paper, it refers to multiple
15   papers, that that seems to be one of the major problems,   15   imputation. Do you see that?
16   yes.                                                       16      A. Yes.
17         (Exhibit 27-3 was marked for identification.)        17      Q. And multiple imputation is one of the qualities
18      Q. Now I am going to mark for the record as             18   of AHS that you criticize and which you say has caused
19   Exhibit 27-3 this Heltshe article that was one of the      19   AHS to have invalid data and results; true?
20   references to your supplemental report. It's entitled      20      A. I'm sorry. Could you repeat the question.
21   "Using multiple imputation to assign pesticide use for     21      Q. Multiple imputation is a methodology that is
22   non-responders in the follow-up questionnaire in the       22   used in evaluating epidemiologic studies that you said
23   Agricultural Health Study."                                23   had been either -- either improperly applied or wrongly
24         Do you see that paper, sir?                          24   applied by the AHS and that that had resulted in
25      A. Okay.                                                25   inaccurate data, and that was part of your supplemental


                                                Page 27                                                         Page 29
 1      Q. Could I ask you, why did you cite this paper as       1   report; true?
 2   a reference to your supplemental report in this case?       2      A. Yes. The problem is the imputation that was
 3      A. It was -- it was referenced because of the -- I       3   done in the AHS used flawed data to begin with. So if
 4   took a statement out of the AHS publication, and that       4   you use flawed data, flawed exposure data to -- to begin
 5   particular statement had this reference in it. And so       5   with, your imputation is just going to exacerbate that,
 6   that's why I included this reference because I took --      6   and the data you get from that is -- is going to be
 7   took a statement directly out of the AHS. And I guess       7   probably worse than the data you put into it. So --
 8   just to be complete, I gave the reference that they were    8      Q. Do you --
 9   referring to from that, from the AHS paper.                 9      A. -- that's why I said that the imputation was --
10      Q. Okay. Is -- is Exhibit 27-3, the paper I just        10   was not good in AHS study. Because the data they are
11   handed to you by Sonya Heltshe and other authors,          11   using to -- to impuate, or whatever the proper term is,
12   several other authors, the article that you were           12   is flawed. It's -- it is inaccurate. And so therefore,
13   referring to in your supplemental report?                  13   bad data in, bad data out.
14      A. Yes.                                                 14      Q. The authors of this study state that multiple
15      Q. Do you remember when I asked you whether it's        15   imputation has been widely accepted and has been used to
16   fair to state that missing data is a common problem in     16   account for missing data in large national surveys and
17   epidemiologic studies?                                     17   studies.
18      A. I remember you asking the question, yes.             18         Do you see that sentence?
19      Q. Do you see the very first phrase of this             19      A. I see that sentence.
20   article, which you cited as a supplemental reference, as   20         MS. WAGSTAFF: Objection; counsel testifying.
21   a reference to your supplemental report I should say,      21      A. That's -- that's what this -- that's what's
22   which states a quote. Quote, "Missing data is a common     22   written in this introduction, yes.
23   problem in epidemiologic studies"?                         23      Q. Is that an unfair statement?
24      A. Right. That's what this said, the introduction       24      A. No. Because in some studies, if you have
25   says, yes.                                                 25   decent exposure data, good data, if you can use good




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                             TSG Reporting - Worldwide                   877-702-9580
        Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 10 of 50

                                                 Page 30                                                        Page 32
 1   data to impuate -- imputate --                              1   But I really want to look at the paper to refresh my
 2      Q. Impute.                                               2   memory of the exact amount.
 3      A. Impute, excuse me.                                    3      Q. All right.
 4          -- to impute the exposures for the people who        4      A. The exact figure.
 5   did not respond. But, as is the case for the AHS study,     5      Q. Have you ever read any articles about the AHS
 6   you initially start off with flawed data, with bad data.    6   in which the authors have concluded that nondifferential
 7   And so if you use bad data, you impute bad data. So         7   exposure misclassification biases relative risk
 8   that's why I say the AHS is not an adequate study. It's     8   estimates towards the null?
 9   flawed. It's fatally flawed.                                9      A. That sounds familiar, but I -- I -- I can't
10      Q. Yes. Had you read this article by Heltshe            10   recall which specific paper it was in.
11   before today?                                              11      Q. What -- Did you evaluate that factor in
12      A. Before today?                                        12   connection with writing the supplemental report?
13      Q. Yes.                                                 13      A. Which factor is that again, please?
14      A. Yes.                                                 14      Q. That nondifferential exposure misclassification
15      Q. Okay. Heltshe disagrees with you, doesn't she?       15   biases relative risk estimates towards the null.
16      A. Well, yes, I guess she does in this                  16      A. Yeah, that would be part of the -- part of the
17   publication. But when was this published? In 2012.         17   consideration, I guess.
18      Q. Yep.                                                 18      Q. Okay. Well, what aspect of that consideration
19      A. They -- well. I don't want to go into it, but        19   affected you, your -- or played into your evaluation
20   she does disagree.                                         20   that you have reported in your supplemental report?
21      Q. She -- she concludes that multiple imputation,       21      A. I am sorry. Could you rephrase the question?
22   as applied to the AHS study itself, allows for bias        22      Q. What aspect of the factor, which is the
23   reduction and improved efficiency in future analyses of    23   nondifferential exposure misclassification, tends to
24   the Agricultural Health Study, doesn't she?                24   create a bias that causes relative risk estimates to
25      A. I don't know. Where are you reading from?            25   move toward the null? What aspects of that factor did


                                                 Page 31                                                        Page 33
 1      Q. I am reading from the last part of her paper on       1   you take into consideration in writing your supplemental
 2   page 46 -- 415. The last sentence. At the bottom of         2   report?
 3   the left-hand column.                                       3      A. Well, if you -- if you look at the AHS study.
 4      A. Yeah, I see that.                                     4   And they indicate in that study that for the follow-up,
 5      Q. Okay.                                                 5   which -- which they got very poor response to, to begin
 6      A. I mean that she -- she was saying multiple            6   with. But in their follow-up questionnaire, they asked
 7   imputation will allow for bias reduction, improved          7   the subjects to list the pesticide exposures they had in
 8   efficiency in future analysis of AHS.                       8   their last year of farming. So this was, like, up to a
 9          But -- but she hasn't addressed the issue of         9   ten-plus-year follow-up, but they were asking only for
10   flawed data that they used to do the imputation with.      10   one year of -- what their exposure was in their past one
11      Q. The method that she used in this study was           11   year of farming.
12   to -- one of the methods that she used in this study was   12          So, for example, this, the misclassification
13   to take a selected subset of 20 percent of the original    13   that could lead to the null, is you have a situation of,
14   AHS data, true?                                            14   for example, a farmer who the questionnaire was filled
15      A. I'd have to read the paper again and --              15   out in 2003, I think. And again, I'm -- the dates, the
16      Q. Okay.                                                16   accurate dates I'm -- would look, have to look at the
17      A. -- see if that's accurate.                           17   paper to get. But I think it was around 2003 is when
18      Q. All right. Isn't that exactly what the               18   the questionnaire went out.
19   Andreotti and her coauthors did to test the validity of    19          And take a situation of a farmer that retired
20   the imputation method in the --                            20   from farming in 2002. So he would then fill out the
21          MS. WAGSTAFF: Object.                               21   form and then say what he was exposed to in 2001.
22      Q. -- NCI 2018 study?                                   22          Let's say in 2005, he started using GMO
23          MS. WAGSTAFF: Object to form.                       23   products. So therefore his exposure to glyphosate
24      A. That sounds, as I can best recall, that sounds       24   formulation, formulated products, would greatly
25   about what they have reported in the -- in the paper.      25   increase. So he used GMOs from 2005 -- from 2000 -- I



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        Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 11 of 50

                                                Page 34                                                         Page 36
 1   am sorry, started in 2000 and -- and stopped in in two      1   nondifferential. Can you -- can you --
 2   thousand and -- I am getting my dates. Two thousand         2      A. But this is --
 3   and -- in 2000.                                             3      Q. -- can you explain to me --
 4          So he did it for -- for maybe five years.            4      A. But I am not talking about people with
 5          I am getting my dates mixed up or not following      5   non-Hodge -- you know, if they have the non-Hodgkin's
 6   out.                                                        6   lymphoma or not.
 7          MS. WAGSTAFF: Do you need to write it down on        7         What I am talking about is the exposures to
 8      a piece of paper?                                        8   these people are -- are -- are misclassified.
 9      A. Yeah, let me -- let me write it down.                 9      Q. Uh-huh.
10          2003 is when the questionnaire went out. 2002,      10      A. Because of the way the questionnaire was asked,
11   this farmer retires. So he needs to report, he is asked    11   they asked, only asked for the last year of -- of
12   to report on his farming exposure in 2001.                 12   farming. So they are missing the data from -- from, you
13          And in two -- in --                                 13   know, the 19 -- 1998 or 1999 up to the 2003 or whatever
14          In 1999, he -- he started using GMOs and -- or      14   when the -- when the questionnaire came out.
15   I'm sorry, let's say in 1998. He started using GMOs        15      Q. Okay.
16   when they first came out.                                  16      A. So it's the -- it's the exposure
17          And then he stopped in 2000.                        17   misclassification. I am not talking -- I wasn't
18          So for the purpose of this, this questionnaire,     18   referring to the nondifferential, you know, bias caused
19   he is asked what his exposure was in 2001. Well, he        19   by people with NHL versus NHL. That's -- that's not the
20   stopped using the GMOs in 2000, so in 2001 his exposure    20   issue. The issue is a misclassification of exposure.
21   was zero.                                                  21      Q. Have you stated that the Agricultural Health
22      Q. Well, the imputation methodology in the case of      22   Study is the only cohort study to have published
23   a nondifferential exposure, like a misclassification       23   findings on exposure to glyphosate and the risk of
24   like the one you are talking about, takes all of that      24   cancer?
25   into account, doesn't it?                                  25      A. It's the only cohort study that I'm aware of


                                                Page 35                                                         Page 37
 1      A. No.                                                   1   that has -- that has looked at exposure to glyphosate in
 2      Q. That's what Dr. Heltshe did?                          2   cancer.
 3      A. No. It doesn't take it into account.                  3      Q. And the Andreotti publication in 2018, that is
 4      Q. Okay. Do you know the difference between a            4   the NCI 2018 study, is a publication that follows up on
 5   nondifferential exposure misclassification and a            5   the -- on the original AHS studies about glyphosate and
 6   differential exposure misclassification for purposes of     6   cancer; true?
 7   epidemiology?                                               7         MS. WAGSTAFF: Object to form.
 8      A. That's not my strong point, but a --                  8      A. The 2018 Andreotti paper is -- is, yeah, like a
 9      Q. A nondifferential --                                  9   ten-year follow-up, or I don't know the exact time
10      A. Nondifferential.                                     10   frame. But it's a follow-up of the results of the -- of
11      Q. -- disclose -- exposure misclassification is         11   what they are finding in that AHS study.
12   one that is made about someone who doesn't have NHL;       12         MR. HOLLINGSWORTH: Okay. Can I have tab two,
13   whereas a differential exposure --                         13      please.
14         MS. WAGSTAFF: Object to form.                        14         (Exhibit 27-4 was marked for identification.)
15      Q. -- misclassification such as in a case control       15      Q. I am going to mark as Exhibit 27-4 the
16   study is about someone who is a case, who already has an   16   Andreotti paper --
17   HL.                                                        17      A. Okay.
18      A. Uh-huh.                                              18      Q. -- which is titled, "Glyphosate Use and Cancer
19      Q. And that makes a difference in his total recall      19   Incidence in the Agricultural Health Study."
20   about his or her exposure to the chemical glyphosate in    20         And if you look at that, sir, on the top
21   the first place, doesn't it?                               21   left-hand corner, it is designated as National Cancer
22      A. Why do you say that?                                 22   Institute, 2018?
23      Q. Because that's what -- that's what human health      23         MS. WAGSTAFF: Right-hand.
24   epidemiologists say. There is a big difference between     24         MR. HOLLINGSWORTH: Sorry, right-hand corner.
25   differential exposure misclassifications and               25      A. The right-hand corner.




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                             TSG Reporting - Worldwide                   877-702-9580
        Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 12 of 50

                                               Page 38                                                         Page 40
 1      Q. Yes.                                                 1      Q. And the next sentence is the next one I was
 2      A. JNCI, National Cancer Institute, 2018, right.        2   referring to also, which is that this lack of
 3      Q. Yes.                                                 3   association was consistent for both exposure method
 4         And I'm referring that -- to that as the "NCI        4   metrics, and this lack of association was consistent for
 5   2018 study" for purposes of this deposition or also as     5   unlagged and lagged analyses, and it was consistent
 6   "the Andreotti paper."                                     6   after further adjustment for pesticides linked to NHL in
 7         And looking at this paper, the authors have          7   previous AHL analyses.
 8   concluded that this is a large prospective cohort study    8          Do you see all of that?
 9   where there has been no association found between          9      A. I see that, yes.
10   glyphosate and lymphoid malignancies overall, including   10      Q. What is -- what is a lagged and unlagged
11   NHL and all its subtypes; true?                           11   analysis, and what's the purpose of that? Do you know?
12      A. That's what they are reporting in this paper as     12      A. A lagged analysis is where you take into
13   their conclusion.                                         13   account an extended period of time between the initial
14      Q. And they say that this lack of association was      14   exposure and -- and the onset of the cancer that you are
15   consistent in two different exposure metrics, right?      15   looking at, whereas an unlagged is you are looking for
16      A. Where are you reading that?                         16   cancer very shortly after exposure took place.
17      Q. I am reading that -- well, did you recall that      17      Q. Well, the lagged and unlagged exposure analysis
18   in there were two different exposure methods that they    18   that they did in this paper was to account for latency
19   talked about here. And the finding of no association      19   period, wasn't it?
20   between those exposures and any canc -- exposure to       20      A. That's, basically, yeah, that's what I was
21   glyphosate and any cancer was the same, right? No         21   saying, right.
22   association was found for cancer in glyphosate, true?     22      Q. So they lagged the period from exposure by 5,
23      A. I am not -- I am -- I -- I don't know where you     23   10, 15, and 20 years --
24   are reading that. Two different exposures?                24      A. Years. Right.
25      Q. Okay. On --                                         25      Q. -- to try to account for latency, true?


                                               Page 39                                                         Page 41
 1      A. They do talk about different quartiles of            1      A. That's accurate, yes.
 2   exposure.                                                  2      Q. And the authors found that there was no
 3      Q. Yeah.                                                3   difference in the relative risk for a 5- or a 10- or a
 4      A. They don't talk about two different kinds of         4   15- or 20-year lag period; true?
 5   exposure.                                                  5      A. Well, that's what the authors say, but I don't
 6          MS. WAGSTAFF: Just wait and let him reference       6   agree with that.
 7      you.                                                    7      Q. Okay.
 8          THE WITNESS: I am sorry. Sorry.                     8      A. Their data doesn't -- doesn't necessarily
 9      Q. Okay. If you look at -- if you look at page 7        9   reflect that.
10   of his study, sir. In the left-hand column, in the        10      Q. Okay. Do you see the table where they talk
11   first full paragraph.                                     11   about the results from the lagged and unlagged exposure?
12          Do you see the sentence that says that the         12      A. You are talking about --
13   authors observed no associations between glyphosate use   13         MS. WAGSTAFF: Can we take a break, a bathroom
14   and NHL overall or any of its subtypes?                   14      break when you finish your questions on lagged and
15          MS. WAGSTAFF: Objection; counsel testifying.       15      unlagged?
16      A. So this is page 7, the left-hand column, the        16         MR. HOLLINGSWORTH: Sure.
17   second paragraph.                                         17      A. So are you talking about Table 3?
18      Q. Yep.                                                18      Q. Table --
19          MS. WAGSTAFF: Look.                                19      A. Page 6?
20      A. At the beginning?                                   20      Q. Yes.
21          MS. WAGSTAFF: I have it here.                      21      A. Okay.
22      A. Oh, "in our study we observed." Okay. Okay.         22      Q. And if you look at the four quartiles, they are
23      Q. Now, do you disagree with that?                     23   all basically finding -- finding a null conclusion on
24      A. That's what they are reporting here in their        24   relative risk. Do you see that in the column, sir?
25   paper, yes.                                               25      A. No.




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                            TSG Reporting - Worldwide                   877-702-9580
        Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 13 of 50

                                                Page 42                                                         Page 44
 1      Q. Do you see the relative risk for the five-year        1      Q. But my question is: Are you an epidemiologist?
 2   lag?                                                        2      A. I am -- I consider myself a toxicologist. I do
 3      A. For the five-year lag? Yes.                           3   not consider myself an epidemiologist.
 4      Q. Yes.                                                  4      Q. You don't have a agree in epidemiology, do you?
 5          And the relative risk for the 20-year lag?           5      A. No, sir, I do not.
 6      A. Yes.                                                  6      Q. And you have never designed an epidemiology
 7      Q. Okay.                                                 7   study, have you?
 8      A. But there is a -- there is a significant              8      A. I haven't designed epidemiology studies, but I
 9   increase in relative risk in the 20-year lag for both       9   have discussed the design of epidemiology studies with
10   the first quartile and the fourth quartile, so I --        10   several colleagues at the NIHS in previous years.
11      Q. Do you call that significant?                        11      Q. Were those people epidemiologists?
12      A. It's significant. It's greater than one. It's        12      A. Yes.
13   not to --                                                  13      Q. Okay. You have never conducted a cohort study
14      Q. It's not statistically significant, is it?           14   in people, have you?
15      A. But it's significant.                                15      A. Me personally? No --
16      Q. What is the difference between --                    16      Q. Yes.
17      A. And then in epidemiology, what they are coming       17      A. -- I have not.
18   to -- to realize is that statistically -- statistical      18      Q. Have you ever conducted a case control study?
19   significance is not the final word in -- in -- in          19      A. Personally, I have not.
20   identifying a significant effect, or an effect of cancer   20      Q. Have you ever published an epidemiology paper
21   upon exposure to a material.                               21   on your own?
22      Q. Okay. Can you show me a paper that you are           22      A. Not on my own, no.
23   relying on that has been published which says that         23      Q. Have you ever been a lead author on a
24   statistical significance is not the final word?            24   publication that solely focused on epidemiology?
25      A. I can't right here now.                              25      A. No.


                                                Page 43                                                         Page 45
 1      Q. Have you ever written to that effect?                 1     Q. When you were on the Report on Carcinogens
 2      A. I personally have not written to that effect,         2   Panel for the National Tox Program and you referred to
 3   no. But I have read papers that -- that talk about          3   epidemiology review, you were working with people who
 4   that.                                                       4   were actually real epidemiologists when you were
 5      Q. Which papers are you talking about?                   5   evaluating epidemiology, weren't you?
 6      A. I don't have the references to memory, so I           6         MS. WAGSTAFF: Object to form.
 7   would have to get that information.                         7     A. When I was at NIHS working on reported
 8      Q. Are you an epidemiologist?                            8   carcinogens, of course I worked with epidemiologists. I
 9      A. I have been using epidemiology, reviewing             9   asked them to help in the preparation of background
10   epidemiology, and making evaluations based on              10   documents, and also to serve on the panels to review the
11   epidemiology for 30 years that I worked -- previous 30     11   data and apply the criteria for listing in the Report on
12   years that I have been working. In my role as director     12   Carcinogens. But I was also responsible for reviewing
13   of reported carcinogens, it was my responsibility to       13   these papers that they wrote, and accepting them, and
14   review epidemiology data and laboratory animal data,       14   making sure that their evaluations were accurate. So I
15   mechanistic data, and make evaluations, apply criteria     15   have -- I have been evaluating epidemiology data for
16   for materials to be listed in the reported carcinogens.    16   many years and using it in my job to identify
17      Q. But my --                                            17   carcinogens.
18      A. Also I in -- for the International Agency for        18     Q. You have never been responsible for you
19   Research on Cancer, I have been asked to review many       19   yourself doing an epidemiologic analysis in connection
20   epidemiology papers, evaluate the data, and make a         20   with a Report on Carcinogens, have you?
21   determination of the adequacy of --                        21     A. I don't understand your question.
22      Q. Have you --                                          22     Q. You have never been solely responsible for an
23      A. -- of the data based on my evaluation of the         23   analysis of the epidemiology in connection with your
24   epidemiology. So I feel I am very qualified to review      24   Report on Carcinogens?
25   the data in epidemiology paper and make an evaluation.     25         MS. WAGSTAFF: Object to form.



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                             TSG Reporting - Worldwide                   877-702-9580
        Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 14 of 50

                                                Page 46                                                         Page 48
 1     A. What do you mean, solely? I don't understand.          1   cancer in humans, or if there is data that is -- that it
 2     Q. You, yourself, only responsible for analyzing          2   is noncarcinogenic in humans, so they ask me to evaluate
 3   epidemiology in the Report on Carcinogens. Have you         3   the epidemiology data and vote my opinion on if the --
 4   ever done that yourself?                                    4   what the -- what the epidemiology data is saying about
 5     A. I still -- I don't understand your question.           5   the particular chemical or material under consideration.
 6     Q. Yeah.                                                  6         MS. WAGSTAFF: And --
 7     A. It doesn't make sense to me.                           7      Q. Your opinion --
 8     Q. Okay. Are you board certified in epidemiology?         8         MS. WAGSTAFF: Wait. Hold on. I am going to
 9     A. No, sir, I am not.                                     9      object to this entire line of questioning as outside
10         MS. WAGSTAFF: We never took that break after         10      the scope of PTO 34. Because you chose not to or
11     lag or unlagged. Could we --                             11      forgot to discuss his epidemiology qualifications in
12         MR. HOLLINGSWORTH: Oh, I am sorry.                   12      his previous deposition when he gave epidemiology
13         MS. WAGSTAFF: Do you want to keep going or           13      opinions does not render the fact that you can now
14     could we --                                              14      ask him questions about this in this PTO 34 where
15         MR. HOLLINGSWORTH: No. You can take a break          15      you all ask the judge for another deposition on the
16     whenever you would like.                                 16      impact of the 2018 AHS study. And whether or not
17         THE VIDEOGRAPHER: This would be the end of           17      IARC considers Dr. Jameson an epidemiologist is
18     media disc number one. The time is 10:05 a.m. We         18      completely beyond that scope and is starting to
19     are going off the video record.                          19      border on harassment.
20         (Recess from 10:05 a.m. until 10:13 a.m.)            20      Q. Were you invited as a member of the subgroup on
21         THE VIDEOGRAPHER: We are back on the video           21   epidemiology?
22     record. This is video media disc number two. The         22         MS. WAGSTAFF: Objection; outside the scope of
23     time is 10:13 a.m.                                       23      PTO 34.
24   BY MR. HOLLINGSWORTH:                                      24         Once again, you don't have to answer. Do not
25     Q. Does IARC consider you to be an expert in             25      answer.


                                                Page 47                                                         Page 49
 1   epidemiology?                                               1       This is beyond the scope of PTO 34. This has
 2         MS. WAGSTAFF: Objection. He cannot speculate          2   nothing to do with the 2018 AHS study. And if we
 3      on what IARC considers. I instruct you not to            3   need to get the judge --
 4      answer on any speculation. You don't have to             4       MR. HOLLINGSWORTH: He has made -- he has made
 5      answer.                                                  5   criticisms of the epidemiology in the 2018 paper.
 6         MR. HOLLINGSWORTH: Well, you can't instruct           6   And I am -- I think I am free to evaluate what his
 7      him not to answer unless it's about a privilege          7   qualification to do that is, okay?
 8      issue, just by the way. Okay?                            8       MS. WAGSTAFF: Actually, whether or not IARC
 9         MS. WAGSTAFF: I just did.                             9   invited him to be a member of -- I can't read the --
10      Q. Has IARC ever appointed you as a part of the         10       MR. HOLLINGSWORTH: Specifically, the
11   panel on epidemiology for any of the panels that you       11   glyphosate epidemiology subgroup is directly
12   have sat on for IARC?                                      12   relevant to his qualification to testify in this
13      A. I haven't been identified as an actual member        13   case about that.
14   of the epidemiology subgroup for IARC. But for every       14       MS. WAGSTAFF: And you could have asked him all
15   IARC meeting that I have been a subgroup member, I have    15   of that. You -- this is the third time you have
16   been instructed to review the epidemiology data and make   16   deposed him.
17   my own evaluation of the -- of what the data is -- it      17       MR. HOLLINGSWORTH: No.
18   says. And if the data shows that the material under        18       MS. WAGSTAFF: I am just saying that if you get
19   consideration is either -- could be -- should be           19   into the IARC and what IARC thought about him or
20   classified as either a known -- I mean a -- sorry.         20   what IARC invited him to do in glyphosate has
21         If the material -- As far as epidemiology is         21   nothing to do with the 2018 AHS study.
22   concerned, if the material we are evaluating, there is     22       And if we need to get Judge Chhabari on the
23   sufficient evidence that it causes cancer in humans, or    23   phone, we certainly can. It's only 7:15 in the
24   there is limited evidence that it causes cancer in         24   morning there. I am not sure if we can. But if you
25   humans, or there is inadequate data that it causes         25   would like to, then we certainly can.




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        Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 15 of 50

                                                Page 50                                                         Page 52
 1   BY MR. HOLLINGSWORTH:                                       1   individual from being a -- an expert in evaluating all
 2     Q. Are you aware that these plaintiffs in this            2   of the data as it relates to identifying a cancer
 3   case have not identified you as an expert in                3   hazard.
 4   epidemiology?                                               4         And that's what I have been doing for the past
 5         MS. WAGSTAFF: Objection. That is not --               5   30 years. I have been evaluating all of the relevant
 6     that's not accurate. We have identified him as an         6   data to identify cancer hazard. So I would consider
 7     epidemiologist. The letter that Ms. Pigman and            7   myself an expert in epidemiology, in toxicology, in
 8     Ms. Greenwald exchanged had nothing to do with our        8   chemistry, genotoxicity, all of the relevant icity's, if
 9     designations by topic. We put that in our briefing.       9   you will, that pertain to cancer hazard identification.
10     And now you are just misstating the record.              10      Q. Are you board certified in toxicology?
11     Q. Are you aware of that?                                11      A. I have been doing toxicology for over 20
12         MS. WAGSTAFF: Objection. Not true.                   12   years -- or 40 years, excuse me. And I started doing
13     A. I don't know what you are referring to.               13   toxicology before there was a board certification for
14         MR. HOLLINGSWORTH: Do you have a copy of tab         14   toxicology. You can look at the record. I have -- I
15     eight.                                                   15   have been doing toxicology for 40 years. I have
16         (Exhibit 27-5 was marked for identification.)        16   published in toxicology. I have been responsible for
17     Q. I am identifying for the record as 27-5, sir, a       17   the Report on Carcinogens. I have participated in many
18   copy of a letter to Ms. Pigman from Ms. Wagstaff, among    18   IARC monographs, meetings to identify carcinogens.
19   others, in which you are identified as a specialist, an    19   So --
20   expert specialist in toxicology.                           20      Q. My question is: Are you board certified in
21         Do you see that?                                     21   toxicology?
22         MS. WAGSTAFF: Objection. Once again, you are         22      A. I --
23     giving half-truths and misstating the record.            23         MS. WAGSTAFF: Objection; outside the scope of
24         As stated fully in our Daubert briefing, this        24      PTO 34.
25     absolutely did not limit any of the specialties of       25         Answer if you can.


                                                Page 51                                                         Page 53
 1      our experts, and was basically forced by Ms. Pigman      1       A. I consider myself a toxicologist.
 2      so that we could set up depositions.                     2       Q. Are you board certified? Can you answer that
 3         We have briefed this in full. It is in our            3   question?
 4      papers. And you are providing a half-truth to the        4       A. I consider myself a toxicologist.
 5      record. This calls for a legal question. And             5       Q. Do you have a degree in toxicology?
 6      Mr. -- or Dr. Jameson has absolutely no knowledge of     6       A. You don't -- what -- what the --
 7      this, and you know that. And it's not true.              7          What does being board certified in toxicology
 8      Q. Do you see where this letter states that your         8   get you or mean?
 9   area of specialty is toxicology?                            9       Q. Do you have a board certification in
10      A. I see a document dated May of 2017 and my name       10   toxicology?
11   with "toxicology" after it.                                11       A. What does "board certified in toxicology" mean?
12      Q. Okay.                                                12       Q. I am here to ask you the questions, sir.
13      A. But, you know, toxicology is kind of a broad         13          All I ask you is whether you are board
14   scope of things when you are talking about the hazard      14   certified in toxicology or not. It's a common
15   identification and that type of thing, in -- for --        15   certification that most toxicologists who are experts in
16         In toxicology, we have to evaluate all of the        16   litigation have. Do you have that?
17   data, all of the relevant data. So we look at both         17       A. I -- I -- I consider myself a toxicologist.
18   epidemiology, toxicology, genotoxicity, mechanistic        18       Q. Now, you had -- we were talking about
19   studies, exposure data. I mean, all of that is taken       19   imputation methodology. Do you recall that conversation
20   into -- all of that is taken into consideration when you   20   we had and the reference to Dr. Heltshe --
21   do an evaluation of a cancer hazard.                       21       A. Yes, sir.
22         So just because -- just because someone has          22       Q. -- from your supplemental report?
23   no -- doesn't have a college degree in a certain           23       A. Yes, sir.
24   expertise in -- in toxicology or in genotoxicity or        24       Q. In your supplemental report, which I will
25   epidemiology or what have you, does not preclude that      25   identify for the record now as Exhibit 27-6.



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       Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 16 of 50

                                                Page 54                                                         Page 56
 1          (Exhibit 27-6 was marked for identification.)        1   use flawed data to impute what other people were exposed
 2      Q. Do you have that, sir?                                2   to because they didn't respond to your questionnaire,
 3      A. Yes, sir.                                             3   then you are going to get flawed imputed data. And all
 4      Q. If you look at page 1 of this report, do you          4   of that leads to wrong conclusions because the data is
 5   see the reference to multiple imputation procedure?         5   inaccurate. And so --
 6      A. Towards the bottom of the first -- of the             6      Q. Do you have -- You use the word "could." Does
 7   second paragraph?                                           7   that mean that it probably did or in fact did?
 8      Q. Yes.                                                  8      A. In my mind it did.
 9      A. Yes.                                                  9      Q. Well, then why did you use the word "could"?
10      Q. And do you see your statement that "the use of       10      A. Why did I use the word "could"? Well, in my
11   this speculative method," do you see that?                 11   mind if you use bad data in, it's bad data out.
12      A. Yes.                                                 12      Q. Uh-huh.
13      Q. The term "speculative method"?                       13      A. So the data from the -- from the -- that they
14      A. Right.                                               14   initially got in the -- from the questionnaire in the
15      Q. "To estimate exposures for the non-responders        15   AHS study is flawed. It's seriously flawed. The whole
16   could lead to serious misclassification of the             16   study is seriously flawed. And so the imputation of the
17   exposures," do you see that?                               17   data gives you flawed data, so --
18      A. Yes.                                                 18      Q. Can you point me to a publication that says
19      Q. This is -- this is your main, one of your main       19   that the entire AHS study is seriously flawed?
20   criticisms of the Andreotti 2018 paper or the NCI 2018     20          MS. WAGSTAFF: Same objection as before. This
21   paper; true?                                               21      report just came out.
22      A. Yes.                                                 22      A. Well, I mean, this paper is just published
23      Q. You say that the imputation methodology could        23   online recently, within the past month or so. And it
24   lead to misclassification, right?                          24   hasn't come out officially from JNCI yet. And so it
25      A. Correct.                                             25   they haven't -- and people haven't had an opportunity to


                                                Page 55                                                         Page 57
 1      Q. What is the basis for your suggestion that            1   really look at the paper and express their opinions.
 2   these errors in fact led to miscalculation? Can you         2      Q. Has EPA looked at the NCI 2018 publication?
 3   refer me to any publication or any statement by anyone      3      A. I don't know.
 4   outside of this litigation that says that these -- the      4      Q. Are you aware whether or not EPA has found that
 5   imputation method in fact led to -- to misclassification    5   imputation methodology and the other methods used by the
 6   of exposure, please?                                        6   authors in the Andreotti paper to be valid?
 7          MS. WAGSTAFF: Objection to your phrase of            7      A. I don't know.
 8      "anyone outside this litigation." I would like the       8      Q. Do you know whether EPA has found that those
 9      record to reflect and remind that this article just      9   conclusions are well supported from the Andreotti paper,
10      came out online in November. It has yet to be even      10   including the imputation methodology?
11      published. We are sitting here on January 10th,         11      A. I don't know. I haven't seen anything to that
12      2018. And the paper is titled 2018. So of course        12   effect.
13      no one has had the ability to review and critique it    13      Q. Do you know whether EPA has concluded that the
14      yet as appropriate.                                     14   NCI 2018 paper is evidence that glyphosate is not likely
15          MR. HOLLINGSWORTH: I object to all your             15   to be carcinogenic to humans?
16      coaching objections, which are improper.                16      A. I haven't seen anything to that effect.
17          MS. WAGSTAFF: Noted.                                17      Q. Do you know of any publication or letter to the
18      Q. Can you answer my question?                          18   editor of a publication involving the AHS study which
19      A. Okay. As -- as you pointed out, I said that          19   says that it is seriously flawed, as you have stated in
20   this could lead to serious misclassification.              20   your report at page 1?
21      Q. Yes.                                                 21         MS. WAGSTAFF: Same objection.
22      A. It could lead to misclassifications because of       22      A. No, I haven't seen any publications or
23   the seriously flawed data that they are using in -- in     23   editorials to that effect.
24   the -- in the study. The data that they initially got      24         There is an editorial that did come out at the
25   is seriously flawed. And as I indicated before, if you     25   same time in -- on -- as the online publication came




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        Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 17 of 50

                                                Page 58                                                         Page 60
 1   out. I think it is a paper by Ward, Elizabeth Ward, who     1   to know if she used that exact word, I request that
 2   said that -- pointed out some -- some deficiencies and      2   you please provide him the paper, if you want to
 3   problems with using farmers to evaluate potential           3   know if she used the exact word. So --
 4   carcinogenicity because of the intermittent nature of       4       MR. HOLLINGSWORTH: Well, she said -- he said
 5   their exposures.                                            5   that Elizabeth Ward supported his conclusion that
 6         And she -- she warned about the false negatives       6   the use of this speculative -- speculative method to
 7   and getting low risk ratios from -- from data, and used     7   estimated exposure to non-responders could lead to
 8   benzene as an example. Benzene, as you know, is a           8   serious misclassification.
 9   well-established human carcinogen leukemogen. It's also     9       MS. WAGSTAFF: Exactly. And if he -- she -- he
10   been associated with non-Hodgkin's lymphoma. And early     10   said it supported the conclusion. But you seem to
11   data that came out on benzene in the 1990s gave small      11   be hung up on the word "speculative." So if you
12   relative risks from exposure to benzene, similar to what   12   would like him to look and see if that exact word is
13   you have with the glyphosate issue. But there were         13   used in the study, please provide him the study. If
14   hints. There were indications. There were low relative     14   you do not care if the -- that exact word is used in
15   risks associated with the data that had been published     15   the study, then you can continue on without
16   on benzene.                                                16   providing him the study.
17         Later on, they -- a -- there was a large case        17       MR. HOLLINGSWORTH: I didn't say Elizabeth Ward
18   control study of petroleum workers, looking at their       18   is a study --
19   exposure to benzene and various lymphomas and leukemias.   19       MS. WAGSTAFF: I mean editorial, sorry.
20   And it was finally demonstrated that in fact benzene is    20       MR. HOLLINGSWORTH: Editor.
21   a human carcinogen associated with several different       21       MS. WAGSTAFF: My bad.
22   kinds of leukemia and also a strong association between    22       MR. HOLLINGSWORTH: It's a letter.
23   benzene and non-Hodgkin's lymphoma.                        23       THE WITNESS: Could I clarify? Your question
24         So the glyphosate seems to be following a            24   to me wasn't if Elizabeth Ward's editorial supported
25   similar pattern where there are -- these are signs.        25   the speculative nature of the imputative method.


                                                Page 59                                                         Page 61
 1   Even though you have low relative risks reported, it's      1         You were asked -- you asked me if I knew of any
 2   still real. And -- and glyphosate, like benzene, is a       2      papers or editorials that had been published talking
 3   carcinogen.                                                 3      about the AHS study.
 4      Q. Does Elizabeth Ward say that the imputation           4   BY MR. HOLLINGSWORTH:
 5   method used by Andreotti and others to evaluate the AHS     5      Q. And your answer is yes, Elizabeth Ward is one
 6   report on information on glyphosate is speculative?         6   of them?
 7      A. I have to look at the paper to see what she           7      A. Right.
 8   said about that.                                            8      Q. My question is: Does Elizabeth Ward say that
 9      Q. Did she say that it had, in fact, led to              9   the use of the speculative method of imputation, which
10   serious misclassification of exposures which invalidated   10   Andreotti and her coauthors used, in fact led to serious
11   the 2018 report that Andreotti -- that the NCI is going    11   misclassification of exposure errors?
12   to publish by Andreotti?                                   12      A. I have --
13      A. I have to look at the paper to see what she          13         MS. WAGSTAFF: Again, if would you like him to
14   said about that.                                           14      use that word --
15      Q. Well, it's not a paper. It's only --                 15      Q. You don't recall that?
16      A. Well, an editorial.                                  16      A. I have to look at --
17      Q. Yes. You cited it as a reference to your             17         MS. WAGSTAFF: Hang on, Dr. Jameson.
18   two-page supplemental report, right?                       18         You can provide him with the letter. This
19      A. Right.                                               19      happened last deposition. If you are going to ask
20      Q. You cite Elizabeth Ward as your fifth --             20      him questions about things, please provide him the
21      A. Right.                                               21      document.
22      Q. -- point?                                            22         MR. HOLLINGSWORTH: I have a right to test
23          Did she -- You don't recall whether she said        23      his --
24   that the imputation method is, in fact, speculative?       24         MS. WAGSTAFF: This isn't a memory test, I
25          MS. WAGSTAFF: If you -- if you would like him       25      mean.



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        Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 18 of 50

                                                Page 62                                                         Page 64
 1         MR. HOLLINGSWORTH: I --                               1      why don't you take a look if you need to.
 2         MS. WAGSTAFF: That is what this is, then.             2      A. Yeah.
 3      Q. How many references do you have here, sir?            3         So your question is how they did it?
 4   Five?                                                       4      Q. Can you tell me how Dr. Heltshe and her
 5      A. Five.                                                 5   coauthors assessed the imputation method in the
 6      Q. Ward is one of them?                                  6   Agricultural Health Study?
 7      A. Uh-huh.                                               7      A. Well, they state in their paper that an
 8      Q. Okay. Heltshe was another, right?                     8   overreaching principle of multiple imputations is to
 9      A. Correct.                                              9   model the response to -- of interest, in this case the
10         MS. WAGSTAFF: Sitting here with a video camera       10   use of pesticides in the interim period between
11      on you, while every word that you get taped, should     11   administration of the phase 1 and phase 2
12      not also be a memory test. But if that's what you       12   questionnaires.
13      want this to be, that's fine.                           13         They use co-variants from participants and
14         MR. HOLLINGSWORTH: I object to your coaching         14   complete data from both phases, and then applied that
15      objections. They are improper.                          15   model to participants missing phase 2 to obtain
16   BY MR. HOLLINGSWORTH:                                      16   estimates of the missing data. And --
17      Q. Okay. Do you have any basis to disagree with         17      Q. And they came up with a conclusion, which was
18   the statement that multiple imputation has been used to    18   that there was no significant difference between the two
19   account for missing data in large prospective cohort       19   groups; that is, there was no difference between the
20   studies, like the Agricultural Health Study?               20   group that was -- the 20 percent of the group that was
21      A. Are you referring to something in -- in a            21   from actual, actual data taken from the survey project
22   paper?                                                     22   and the -- and then using the imputation method on that
23      Q. No. My question is, my question is whether you       23   same group. They came up with essentially the same
24   have any reason to agree with that statement?              24   results, didn't they?
25      A. As I indicated before, if you have good data to      25      A. And that's exactly my point. If you have bad


                                                Page 63                                                         Page 65
 1   use in your imputation of what people possibly were         1   data to begin with, when you impute that bad data, that
 2   exposed to, then -- then it is proper to use that method    2   flawed data from this flawed study, you are going to get
 3   to -- to guesstimate what non-responders may have been      3   flawed data from -- from that exercise. And so you are
 4   exposed to.                                                 4   just using -- you are just exacerbating the whole
 5          But if you have poor data or flawed data or bad      5   problem of having flawed data, poor exposure assessment.
 6   data, as you have in the Agricultural Health Study, it      6   And that just exacerbates everything. And so your
 7   is the old adage of bad data in, bad data out. You are      7   conclusions are all thrown off because you don't know
 8   just exacerbating the problem you have with poor            8   what people were exposed to.
 9   exposure data if you impute that data to estimate what      9      Q. Do you know of an author which -- a paper which
10   people may have been exposed to. So --                     10   has been published which supports your view that that
11      Q. You --                                               11   approach by Heltshe is invalid because of the flawed
12      A. -- that's why I feel that AHS study is flawed,       12   data that was used in the first place?
13   seriously flawed.                                          13      A. Okay. I didn't say the approach was invalid.
14      Q. You -- you cited Dr. Heltshe as one of the five      14   I said that the data that they used was flawed.
15   references to your supplemental report; true?              15      Q. Okay.
16          MS. WAGSTAFF: Objection; asked and answered.        16      A. And so therefore the results that they get is
17      A. As -- as I indicated before, the reference is        17   flawed.
18   there because I took a direct quote out of an AHS study.   18      Q. Okay.
19   And that reference was included in the direct quote, so    19      A. So any conclusion you base on flawed data is
20   I included the reference for completeness.                 20   invalid. So it's an invalid study.
21      Q. Can you describe for the record, please, how         21      Q. Can you point me to any publication which says
22   Dr. Heltshe and her coauthors assess the imputation        22   that the AHS study, either the Drews study from '05 or
23   method?                                                    23   the Andreotti study from 2018 on glyphosate, is based on
24          MS. WAGSTAFF: I will request again that you         24   the use of flawed data and therefore is invalid?
25      provide him with a copy. Actually, you have it. So      25         MS. WAGSTAFF: Object to outside the scope of




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        Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 19 of 50

                                                 Page 66                                                        Page 68
 1     PTO 34 with respect to De Roos. Which is D-e space        1   based all of their findings on is invalid in the first
 2     R-o-o-s.                                                  2   place?
 3     Q. De Roos is one of the five references that you         3          MS. WAGSTAFF: Objection. The paper just came
 4   used in your supplemental report to the judge in this       4       out.
 5   case, isn't it?                                             5       A. I am sorry. Would you repeat. I am sorry.
 6     A. De Roos?                                               6       Q. Sure.
 7     Q. '05.                                                   7          Have you read or heard anything outside of this
 8     A. '05. That was the initial publication of               8   litigation at any time that said that the AHS study was
 9   the --                                                      9   invalid because the information that they based all of
10     Q. Yes.                                                  10   their findings on is invalid in the first place?
11     A. Right.                                                11          MS. WAGSTAFF: Same objection.
12     Q. Yeah.                                                 12       A. So by outside -- define "outside of this
13          Can you answer my question?                         13   litigation." I'm sorry.
14     A. Was there --                                          14       Q. Outside of any opinions that have been reached
15     Q. Can you answer my question?                           15   in this litigation, such as yours and other witnesses
16     A. What was the question? I'm sorry.                     16   for the plaintiffs, can you cite me to anything from the
17          MR. HOLLINGSWORTH: Can you read it back,            17   worldwide medical literature that says what you say;
18     please, Donna.                                           18   which is that the AHS study is invalid because the
19          THE REPORTER: "Can you point me to any              19   information that they base all their findings on are
20   publication which says that the AHS study, either the      20   invalid in the first place?
21   Drews study from '05 or the Andreotti study from 2018 on   21          MS. WAGSTAFF: Objection. The paper just came
22   glyphosate, is based on the use of flawed data and         22       out.
23   therefore is invalid?"                                     23       A. Setting here and now --
24     A. Sitting here now, I can't. But I could                24          MS. WAGSTAFF: Asked and answered.
25   probably find something if I'm given a little time.        25       A. -- I can't. But then again, the paper, the


                                                 Page 67                                                        Page 69
 1      Q. Are you aware, sir --                                 1   paper just came out. People haven't had an opportunity
 2      A. Of -- I'm sorry. Of the -- probably of the            2   to really respond to it.
 3   De Roos study. Not this 2018 paper, because it hasn't       3      Q. Well, I am referring to the AHS study -- the
 4   been out long enough for people to respond.                 4   AHS study that has been around since the '90s, and of
 5      Q. Are you aware, sir, that there have been 250          5   the 250 papers --
 6   articles published in the medical literature, in the        6      A. Oh.
 7   epidemiology literature in particular about the AHS         7      Q. -- that have been published. Can you point me
 8   study, and based on the data that has been gathered in      8   to a single one that says that the data they used and
 9   the AHS study?                                              9   introduced into this study through the surveys that are
10          MS. WAGSTAFF: Objection; foundation.                10   referred to in all of the AHS studies is invalid in the
11      A. 250? What were they? I -- I am sure there are        11   first place?
12   tons of -- of publications when the study started --       12      A. I -- I -- I --
13      Q. Yeah.                                                13          MS. WAGSTAFF: Asked and answered. He has told
14      A. -- and during the study, but --                      14      you he could if he was given the opportunity.
15      Q. Can you point me to a single study that's been       15      A. The -- the -- the one paper I may be able to
16   published anywhere that says what you say, which is that   16   refer you to is the Gray 2000 paper; which is a review
17   this study is invalid because the data is invalid in the   17   of the AHS, and they have criticized the design and made
18   first place?                                               18   recommendations for changing. So I know they were very
19      A. I --                                                 19   critical and skeptical about the adequacy of it. But
20          MS. WAGSTAFF: Objection; asked and answered.        20   this was before any publications of the data came out.
21      A. I can't here and now. But give me -- give me         21   But they were -- they were concerned about some of the
22   an opportunity, and I will get something for you.          22   data that may be generated based on the -- their
23      Q. Okay. Have you read or heard anything outside        23   knowledge of what the AHS study was.
24   of this litigation at any time that said that the AHS      24      Q. Are you familiar with the logistic regression
25   study was invalid because the information that they        25   model that Heltshe used to validate the data that was




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                             TSG Reporting - Worldwide                   877-702-9580
        Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 20 of 50

                                                Page 70                                                                  Page 72
 1   used in the AHS publication?                                1     Q. Yes. None of those references in your report
 2      A. Just what I read in his paper.                        2   stated that the AHS collected flawed data, and that
 3      Q. Are you aware that Heltshe and the other              3   flawed data has invalidated all of the results from the
 4   authors in the study that you used as a reference in        4   AHS, do they?
 5   your supplemental report state that the logistic            5         MS. WAGSTAFF: Objection; scope.
 6   regression model underpinning the multiple imputation       6     A. Other than the Ward editorial that implies that
 7   procedure did, indeed, preserve essential features of       7   agricultural workers are a poor surrogate for exposure,
 8   the data?                                                   8   no.
 9      A. Again, they are using flawed data to begin            9         MR. HOLLINGSWORTH: Okay. Now, Donna, how long
10   with.                                                      10     have we been on the record? Can you tell us that or
11      Q. Okay.                                                11     do we have to --
12      A. The flawed data from this study is being used        12         MS. WAGSTAFF: He is keeping it.
13   in this imputation method. So if you use flawed data,      13         THE VIDEOGRAPHER: 59 minutes the first tape,
14   you are going to get flawed data back.                     14     and 34 minutes this tape.
15      Q. When the AHS started in the 1990s, it started        15         MS. WAGSTAFF: So 133.
16   out with 57,000 pesticide applicators, most of whom were   16         MR. HOLLINGSWORTH: Okay. If we can -- could
17   farmers, right?                                            17     we take five minutes here and come back? It will
18      A. Correct.                                             18     make this more efficient.
19      Q. Can you point me to any study since 1997 of any      19         MS. WAGSTAFF: Yeah.
20   type or publication anywhere on earth that says that       20         MR. HOLLINGSWORTH: Okay. Thank you.
21   that data is flawed?                                       21         MS. WAGSTAFF: So you are not --
22      A. The data that they -- that they recruited            22         THE COURT: Going off the video record. The
23   57,000 people?                                             23     time is 10:48 a.m.
24      Q. Yeah.                                                24         (Recess from 10:48 a.m. until 11:05 a.m.)
25         MS. WAGSTAFF: Objection; asked and answered.         25         THE VIDEOGRAPHER: We are back on the video


                                                Page 71                                                                  Page 73
 1      A. Are you asking if somebody has questioned the         1       record. The time is the 11:05 a.m.
 2   number of people that they -- they -- they have in their    2    BY MR. HOLLINGSWORTH:
 3   study?                                                      3       Q. Sir, you are aware that the AHS study is funded
 4      Q. No. I am asking if you have any publication           4    by NCI and NIEHS, right?
 5   you can show me that says what you say, which is that       5       A. Yes.
 6   that data is flawed in the first place?                     6       Q. And NIH?
 7         MS. WAGSTAFF: Objection. We are here to talk          7       A. (Witness nodding head.)
 8      about the 2018 AHS study. So object to the scope of      8       Q. It's not funded by Monsanto or any private
 9      the question.                                            9    entity, is it?
10      Q. Do you understand my question?                       10          MS. WAGSTAFF: Object to form; foundation.
11      A. I understand your question.                          11       A. It -- The AHS study is supported by NIH,
12      Q. What is your answer?                                 12    through the National Cancer Institute and the National
13      A. I -- I'm not aware that anybody has questioned       13    Institute of Environmental Health Sciences.
14   the number of participants in the AHS study.               14       Q. It is not supported by Monsanto or any private
15      Q. Has anyone since 1997 up to 2018 published a         15    moneys, is it?
16   paper which says that the data that the AHS collected      16          MS. WAGSTAFF: Object to form. Discovery has
17   starting in the 1990s is flawed?                           17       not been established to determine the fingerprint of
18         MS. WAGSTAFF: Objection; asked and answered.         18       Monsanto on this study.
19      A. Sitting here today, I can't identify a               19       A. It's funded by NIH.
20   particular paper. But given the opportunity, I could       20       Q. That's the Federal Government?
21   probably get -- get some references for you.               21       A. The Federal Government, yes.
22      Q. You haven't used -- you haven't included those       22       Q. Do you have any evidence to suggest anywhere in
23   reference in either your initial report or your            23    your experience that the AHS study is funded by
24   supplemental report, have you?                             24    Monsanto?
25      A. The references I used are listed in my report.       25          MS. WAGSTAFF: Same objection.



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                             TSG Reporting - Worldwide                     877-702-9580
        Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 21 of 50

                                                Page 74                                                         Page 76
 1      A. Being funded by NIH implies that it -- they are       1      Q. Are any of those people from Monsanto or
 2   the -- to my --                                             2   employed by Monsanto or are they consultants to
 3         To my understanding, they are the sole funder         3   Monsanto, to your knowledge?
 4   of the AHS study.                                           4      A. I have no way of telling.
 5      Q. When you worked for NIH -- did you work for           5      Q. Now, the NCI 2018 study that you have, and it's
 6   NIH?                                                        6   been marked as an exhibit in this case, is going to be
 7      A. Yes.                                                  7   published in the Journal of the National Cancer
 8      Q. Did your paycheck come from the Federal               8   Institute; isn't that right?
 9   Government?                                                 9      A. That's correct.
10      A. Yes.                                                 10      Q. Do you agree that's a reputable scientific
11      Q. Did you consider NIH and NCI to be reputable         11   journal?
12   agencies?                                                  12      A. It's a well-respected scientific journal, yes.
13      A. I would hope so.                                     13      Q. It's considered to have a very high impact
14      Q. Did you consider them to be authoritative in         14   factor, as impact factors are measured among scientific
15   the area of human health epidemiology?                     15   journals, isn't it?
16      A. Yes, they are considered to be authoritative.        16      A. That's true.
17      Q. And I am including the National Cancer               17      Q. It's in the top five percent of epidemiology
18   Institute within that. Do you consider them to be          18   journals, isn't it?
19   authoritative on human health epidemiology?                19         MS. WAGSTAFF: Object to form.
20      A. They are authoritative, but not infallible.          20      A. It is not an epidemiology journal. It is a
21      Q. Do you think those agencies do quality, high-        21   journal of the National Cancer Institute, so.
22   quality and reliable scientific studies?                   22      Q. It's considered to be in the top five percent
23      A. To the best of my knowledge, they -- they do do      23   of oncology journals; true?
24   very good, high-quality scientific investigations.         24      A. That's -- that's probably accurate.
25      Q. Is it fair to state that you have no basis to        25      Q. Have you ever submitted an article for


                                                Page 75                                                         Page 77
 1   criticize the Agricultural Health Study based on the        1   potential publication in the Journal of the National
 2   sources of its funding?                                     2   Cancer Institute?
 3          MS. WAGSTAFF: Same objection. Discovery has          3      A. I'm trying to think back. I mean, I worked for
 4      not been completed on the fingerprint of Monsanto of     4   the government for 40 years -- or 40 years ago. I may
 5      this study.                                              5   be a coauthor on a paper that came out in JCNI. I would
 6      A. Well, I would hope that the source of the             6   have to refresh my memory from all my publications. I'm
 7   funding would -- would...                                   7   sorry.
 8          I mean, the source of the funding hopefully          8      Q. So you think there is a publication on your
 9   would not influence the outcome of the study. I can't       9   list from your CV that is a publication in JNCI?
10   guarantee that it wouldn't, but I hope it wouldn't.        10          MS. WAGSTAFF: Objection.
11      Q. Does the source of the funding from NIH enhance      11      A. I can't -- I -- I mean, like I said, I -- I
12   the reliability and quality of the AHS study in your       12   haven't wrote to memory all of my publications, so I
13   opinion?                                                   13   can't remember for sure.
14          MS. WAGSTAFF: Object to form.                       14      Q. Have you served as a peer reviewer for JNCI,
15      A. In my opinion it probably enhances the               15   the Journal of the National Cancer Institute?
16   impression of the study in the general public and          16      A. Not for JNCI, no.
17   probably the general scientific community. But if --       17      Q. Do the papers published in the Journal of the
18   but -- but you have to look at the individual studies      18   National Cancer Institute undergo a rigorous peer review
19   that are supported by NIH and how they are conducted and   19   process?
20   how they are evaluated and the quality of the -- of the    20      A. They --
21   study.                                                     21          MS. WAGSTAFF: Object, object to form.
22      Q. Have you looked at the names of the authors on       22      A. It is my understanding that they -- they --
23   the 2018 NCI publication that your supplemental report     23   they do have a -- a well-outlined peer review process.
24   addresses?                                                 24      Q. Now, if you look at the -- on your CV at
25      A. Yes.                                                 25   page 6, under "reviewer for scientific journals" there



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                             TSG Reporting - Worldwide                   877-702-9580
        Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 22 of 50

                                                Page 78                                                         Page 80
 1   is listed the Journal of the National Cancer Institute.    1   universities, but I couldn't remember that it was Johns
 2   Do you recall that?                                        2   Hopkins.
 3      A. I guess I forgot. I'm sorry.                         3      Q. Did you know there are two co-principal
 4      Q. Okay.                                                4   investigators of the agricultural health center, and one
 5      A. That was a while ago.                                5   of them is Dale Sander, Dr. Dale Sander?
 6      Q. How many peer reviewers does the NCI 2018            6      A. Yes.
 7   article by Andreotti and others have?                      7      Q. Sandler, I should say?
 8          MS. WAGSTAFF: Objection.                            8      A. Sandler, yes.
 9          Answer if you know.                                 9      Q. Yes.
10      A. I -- I don't know how many there were.              10          Are you aware that Dr. Sandler is a professor
11      Q. Would it be six or eight or one?                    11   of epidemiology at the University of North Carolina?
12          MS. WAGSTAFF: Objection. He just said he           12      A. I -- I knew she had an ad hoc position there.
13      didn't know.                                           13      Q. Have you ever taught a course in epidemiology?
14      A. I don't know. I don't know. I mean, typically       14      A. Me personally, I have never taught a course in
15   for a scientific journal of this caliber, they send it    15   epidemiology, no.
16   out to -- to three, at least three reviewers. But if      16      Q. Did you know that Dr. Sandler is a past editor
17   they sent it out to more, I have no way of knowing.       17   of the Journal of Epidemiology?
18      Q. Do you know Gabriella Andreotti?                    18      A. I think I knew that, but.
19      A. No.                                                 19      Q. Did you know she was a past president of the
20      Q. She works for the National Cancer Institute?        20   American College of Epidemiology?
21          MS. WAGSTAFF: Objection.                           21          MS. WAGSTAFF: Objection; foundation.
22          Answer if you know.                                22      A. That wouldn't surprise me. I have known Dale
23      A. Okay. I mean, according to the publication,         23   for a long time.
24   that's -- that's the affiliation she states.              24      Q. How long have you known her?
25      Q. She has a Ph.D. in epidemiology from George         25      A. Since 1980.


                                                Page 79                                                         Page 81
 1   Washington?                                                1      Q. Okay. Did you work with her?
 2     A. I don't -- I have no way of knowing.                  2      A. I did do some work with her while I was at
 3     Q. Do you know Stella Koutros?                           3   NIHS, yes.
 4     A. No.                                                   4      Q. What was that on?
 5     Q. K-o-u-t-r-o-s?                                        5      A. Basically it -- I would go to her and ask her
 6     A. No.                                                   6   for assistance in identifying people to help me serve as
 7     Q. She is another author on this Andreotti 2018          7   reviewers for the Report on Carcinogens. From time to
 8   paper by JNCI, right?                                      8   time, early on in my career at NIHS, I was responsible
 9     A. Right.                                                9   for all the chemistry that was performed for the
10     Q. She works at the National Cancer Institute.          10   national toxicology program. And Dale would come to me
11   You don't know her?                                       11   and ask me for assistance in getting some chemical
12     A. I do not know her, no.                               12   analysis performed. So.
13        MS. WAGSTAFF: Objection. Answer.                     13      Q. So are you familiar with her work as an
14     Q. You haven't ever looked at her biological            14   epidemiologist?
15   sketch?                                                   15      A. Fairly well, yes.
16     A. No.                                                  16      Q. Do you believe that she is a qualified
17     Q. Do you know Dale Sandler?                            17   epidemiologist?
18     A. Yes.                                                 18      A. Yes, sir, absolutely.
19     Q. She has a master's in public health from Yale        19      Q. She was one of the reviewers of the
20   and a Ph.D. in epidemiology from Johns Hopkins. Did you   20   epidemiology section of the Report on Carcinogens?
21   know that?                                                21      A. I don't recall that Dale was able to serve as a
22        MS. WAGSTAFF: Objection; foundation.                 22   reviewer for us or not. We had so many different people
23     A. I -- I think I remember that, but I --               23   do it from -- from the epidemiology branch.
24        If -- if you say so. I -- I -- I knew she            24      Q. Do you think that Dale Sandler does good
25   was -- she got her degrees from very prestigious          25   science?




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                             TSG Reporting - Worldwide                  877-702-9580
       Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 23 of 50

                                              Page 82                                                        Page 84
 1      A. Yes.                                               1   carcinogenic in humans," unquote.
 2      Q. Are you familiar with Charles Lynch, who is one    2          Do you see that?
 3   of the authors on the 2018 NCI study that your           3      A. Yes.
 4   supplemental report addresses?                           4      Q. You state that there is evidence now and not
 5      A. No.                                                5   limited evidence; true?
 6      Q. Do you have any reason to challenge the            6      A. No. I didn't say -- that's not what I said. I
 7   epidemiologic qualifications of the NCI 2018 authors?    7   said, the -- In my initial report, I said I set up
 8      A. No.                                                8   criteria for the evaluation of the human data. And
 9      Q. Do you have any basis to claim that any of         9   based on the criteria, it met the criteria for limited
10   these authors are biased?                               10   evidence in humans.
11      A. Biased in what way?                               11          Limited evidence in humans is defined as a
12      Q. Improperly biased in any way.                     12   causal association is credible. But the confounding and
13      A. I -- I can't say.                                 13   other factors couldn't -- couldn't be completely ruled
14      Q. Do you have any basis to believe that these       14   out. So I went on to say that it is -- that it is a
15   authors have been paid by Monsanto?                     15   reasonable -- there is scientific, reasonable amount of
16      A. I can't say. I don't know.                        16   scientific certainty that glyphosate causes cancer in
17      Q. Do you have any basis to say that these authors   17   humans and causes non-Hodgkin's lymphoma in humans.
18   are improperly influenced by Monsanto?                  18      Q. I understand that. But in your initial report
19      A. I have no way of telling.                         19   you said that the evidence in humans from the human data
20      Q. Do you have any basis to say that this 2018 NCI   20   was limited.
21   publication was ghost written by Monsanto?              21      A. Based on --
22      A. I have no way of telling you if it was or not.    22      Q. And in your supplemental report you don't use
23      Q. Dr. Jameson, in your report, your initial         23   the term "limited." You just say there is evidence.
24   report, you stated that the evidence on human           24          MS. WAGSTAFF: Can he please see his original
25   carcinogenicity involving glyphosate was limited. Do    25      report?


                                              Page 83                                                        Page 85
 1   you remember that?                                       1          MR. HOLLINGSWORTH: Sure.
 2      A. Which report are you referring to?                 2          Okay. I will mark your original report as
 3      Q. I am referring to your initial report in this      3     27-7.
 4   case, not your supplemental report.                      4          (Exhibit 27-7 was marked for identification.)
 5      A. That -- that the evidence for human                5   BY MR. HOLLINGSWORTH:
 6   carcinogenicity in humans --                             6     Q. And --
 7      Q. Yes.                                               7          MS. WAGSTAFF: Thanks.
 8      A. -- is limited?                                     8     Q. -- the statement that I was referring to,
 9      Q. Yes.                                               9   Dr. Jameson, is at page 19. And on it is the first full
10      A. It meets the criteria I set up for limited in     10   sentence at the top of the page.
11   humans, yes.                                            11          I am handing you a copy of your initial report.
12      Q. Yes. Yes. Quote, limited; right?                  12   Do you have that?
13      A. Yes.                                              13     A. That's what this is.
14      Q. Now, in your supplemental report, you state       14     Q. Okay. So the sentence I am looking at is the
15   that --                                                 15   one that says -- are you with me, sir?
16          If you look at page 2 of that, sir.              16     A. Okay.
17      A. Page 2 of my supplemental report?                 17     Q. Page 19?
18      Q. Yes. The second and last page. And please         18     A. Uh-huh.
19   look at the last paragraph.                             19     Q. "Using my stated criteria, I conclude there is,
20      A. Okay.                                             20   quote, initial cap, Limited, unquote, evidence for the
21      Q. There is a sentence that I think is the fourth    21   carcinogenicity of glyphosate in humans."
22   sentence down. That starts, "There is nothing in this   22          Do you see that phrase, that clause?
23   most recent paper that would lead me to change my       23     A. Yes.
24   initial evaluation that there is evidence that          24     Q. And in your supplemental report, you state
25   glyphosate and glyphosate-based formulations are        25   that, "I see no reason to change my initial evaluation



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                            TSG Reporting - Worldwide                 877-702-9580
        Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 24 of 50

                                                Page 86                                                         Page 88
 1   that there is evidence that glyphosate formulations are     1   I think you intended. Right?
 2   carcinogenic in humans."                                    2      A. Uh-huh.
 3         Do you see that on page --                            3      Q. Okay. And if you look at Andreotti, the
 4      A. I see that. But if you --                             4   Andreotti study, the 2018 NCI study, at page 5, you can
 5      Q. Okay. Why did you -- why did you not -- why           5   see that in the non-Hodgkin's lymphoma section of
 6   did you omit the word "limited" in your supplemental        6   Table 2, the number of NHL cases that Andreotti has by
 7   report?                                                     7   2017. Do you see that?
 8      A. Because if you look at my initial report, on          8      A. For non-Hodgkin's lymphoma?
 9   page 31.                                                    9      Q. Yes.
10      Q. Yep.                                                 10      A. Uh-huh.
11      A. Under "hazardous estimate conclusion." I state       11      Q. 113, 104, 112, and 111?
12   in my report, "Based on significant positive association   12      A. Uh-huh.
13   observed in the studies discussed above, I conclude that   13      Q. And the total of that is 440, right?
14   there is evidence that glyphosate and glyphosate-based     14      A. Right.
15   formulations are carcinogenic in humans."                  15      Q. So she had 92 -- AHS had 92 cases as of 2005,
16         So my conclusion of my report says that I            16   and 440 cases as of 2017 and 2018; true?
17   believe it's carcinogenic in humans. So that is not        17      A. Okay.
18   inconsistent with what I have in my supplemental report.   18      Q. Those are cases of people with NHL who had
19      Q. Okay. Does the Andreotti article, which is the       19   exposure to glyphosate, right?
20   National Cancer Institute 2018 study, provide further      20      A. Right.
21   evidence in your view that there is -- that glyphosate     21         Compared to 135 that didn't?
22   is carcinogenic in humans?                                 22      Q. Compared to 135 controls.
23      A. The Andreotti 2018 paper is of a flawed study.       23      A. Controls.
24   The study is flawed. Therefore, it is -- it is very --     24      Q. That didn't.
25   it contributes no -- nothing to my original conclusion     25      A. They were -- They had NHL, but weren't exposed


                                                Page 87                                                         Page 89
 1   that it's carcinogenic, that glyphosate is carcinogenic     1   to glyphosate?
 2   in humans.                                                  2      Q. True.
 3          The -- the Andreotti study, again, as I have         3      A. So you have 440 cases of non-Hodgkin's lymphoma
 4   said before, is based on very poor exposure data. The       4   from people exposed.
 5   imputation of that data just exacerbates the -- the         5      Q. Yes.
 6   exposure information, making it a flawed study. And         6      A. Versus 135 to people who weren't exposed.
 7   since it's a flawed study, it should not be used in         7   That's like three times the level of non-Hodgkin's
 8   consideration for the evaluation of the carcinogenic        8   lymphoma in exposed cases versus nonexposed cases.
 9   potential of glyphosate or glyphosate-based                 9      Q. That's not the way you do the calculation in
10   formulations.                                              10   this cohort study, is it, sir? This is not a case
11          And initially in my -- in my initial report,        11   control study?
12   the De Roos study was also from -- from the AH -- part     12      A. No. But I am just pointing that out, that you
13   of the AHS study, the initial report from the AHS study.   13   have a much significant -- a significantly higher number
14   And it concluded that -- it concluded the same thing       14   of non-Hodgkin's lymphoma in people exposed to
15   that this 2018 paper, that there was no association.       15   glyphosate, versus those who were not exposed to
16   But I didn't put any weight on that either.                16   glyphosate.
17      Q. Now, the De Roos study, you said, had an             17      Q. Well, that's because the test is on 57,000
18   insufficient number of NHL cases, which was only 92,       18   people who used glyphosate, isn't it?
19   right?                                                     19      A. Well, I am just pointing out those numbers,
20      A. Uh-huh.                                              20   that's all.
21      Q. And --                                               21      Q. Okay. Did you look at -- to the right of those
22      A. I -- I don't -- I am sorry. I don't know if I        22   numbers of total cases on this chart, sir, Table 2 --
23   said insufficient or just a small number. And I don't      23      A. Okay.
24   remember the wording, but anyway.                          24      Q. -- to see what the relative risks were?
25      Q. Okay. Well, I will take small. Small is what         25      A. Sure. .8.




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                             TSG Reporting - Worldwide                   877-702-9580
        Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 25 of 50

                                                Page 90                                                         Page 92
 1      Q. .83, .83 .88 and .87?                                 1      A. No. "This evaluation has some limitations"?
 2      A. For the different quartiles, right.                   2      Q. No.
 3      Q. That's the null, right? That's the null               3      A. No.
 4   finding, true?                                              4          MS. WAGSTAFF: Are you on page 7?
 5      A. Right.                                                5      Q. On page 7 of 8. In conclusion.
 6      Q. And that's why Andreotti and her authors              6          MS. WAGSTAFF: Oh.
 7   concluded that there was, quote, "no association            7      Q. In the right-hand column at the bottom.
 8   apparent between glyphosate and any solid -- solid          8          MS. WAGSTAFF: Above "funding."
 9   tumors or lymphoid malignancies overall, including NHL      9      Q. It's the conclusion of her paper. Do you see
10   and all its subtypes." True?                               10   that, sir? "In conclusion."
11      A. But that conclusion is based on flawed exposure      11      A. What?
12   data.                                                      12      Q. Can you read that?
13      Q. Okay.                                                13      A. Oh, I'm sorry. I apologize.
14      A. So I mean the conclusion, you can't say that         14      Q. It's okay.
15   because you don't know what these people were exposed      15      A. I was looking at it and didn't see it.
16   to.                                                        16          "In conclusion, we found no evidence of an
17      Q. Would you agree that the data as it exists now,      17   association between glyphosate use and risk of any solid
18   as of the time of your supplemental report, still meets    18   tumors or lymphoid malignancy, including non-Hodgkin's
19   the criteria for, quote, "limited," unquote, evidence of   19   lymphoma and its subtypes." But again, that conclusion
20   carcinogenicity in humans as you set out at page 19 of     20   is based on flawed data.
21   your report?                                               21      Q. Okay. You disagree with the conclusion?
22      A. It -- it --                                          22      A. I disagree with the conclusion, because her
23         The data as it stands today, including my            23   conclusions are based on inclusion of the flawed
24   consideration of the 2018 Andreotti paper, I conclude      24   exposure data to the people in the cohort.
25   that glyphosate is carcinogenic to humans, as I state in   25      Q. Okay. Now, does the fact that the Andreotti


                                                Page 91                                                         Page 93
 1   my summary on page 31 of my initial report.                 1   paper had 440 cases of NHL compared to 92 -- it was
 2      Q. Uh-huh.                                               2   actually 71, but I will take 92 from your report. Does
 3         If you look at -- you're referring to your            3   the fact that there is so many more cases enhance the
 4   conclusion in your initial report?                          4   value or the power of the conclusion that Andreotti and
 5      A. In my initial report.                                 5   her coauthors reached that you just read?
 6      Q. Yes.                                                  6      A. Define "powers" for me. I don't know what you
 7      A. Which I didn't know we were supposed to be            7   mean by "power."
 8   discussing here, but evidently we are.                      8      Q. What does "power" mean in terms of
 9      Q. Okay. Well, you looked at your initial report         9   epidemiology? You are the epidemiology expert.
10   because counsel asked you to look at it, so I'm just       10   According to you.
11   asking you about that conclusion.                          11      A. You have more numbers to play with.
12      A. Okay.                                                12         MS. WAGSTAFF: Object; argumentative.
13      Q. Okay? If you look at the conclusion of               13      Q. There is more numbers between 92 and 440, isn't
14   Andreotti at page 7.                                       14   there?
15         MS. WAGSTAFF: I only asked him to look at it         15      A. One is bigger than the other, yes.
16      because you were referencing it. I didn't -- I          16      Q. Does that make this study more powerful than
17      didn't start the questioning about it. Maybe I          17   the other one?
18      should have objected to it.                             18      A. It makes the second study have -- you have more
19      Q. If you look at Andreotti, page 7.                    19   numbers to play with, yes.
20      A. Okay.                                                20      Q. Your criticism, your initial criticism of the
21      Q. In her "in conclusion" section, can you read         21   De Roos 25 study was that there weren't enough NHL cases
22   the first sentence? Do you see that in the bottom of       22   among the exposed --
23   the right-hand column on page 7 of the Andreotti NCI       23      A. Well, there was a small number of NHL cases,
24   2018?                                                      24   compared to the number of NHL cases that were evaluated
25         MS. WAGSTAFF: Under "funding"?                       25   in the case control studies.




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        Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 26 of 50

                                                Page 94                                                          Page 96
 1      Q. Uh-huh.                                               1   your reports, is the status of that information, those
 2      A. But now you have more in the AML study than you       2   studies, overall, still sufficient to meet the term,
 3   have in the -- in -- in the case control studies.           3   quote, "limited," unquote, as you used it at page 19 of
 4      Q. Yes.                                                  4   your initial report?
 5      A. But it's based on flawed data, though.                5      A. Based on my evaluation of the -- of all of the
 6      Q. Yes.                                                  6   epidemiology data available at the time of my full
 7      A. I mean the AML is -- or the AML.                      7   report, which was -- when was that? Back in --
 8      Q. AHS.                                                  8      Q. May.
 9      A. AHL -- AHS, excuse me.                                9      A. May.
10      Q. When you said AML you meant --                       10          All of the epidemiology data, I -- I reached
11      A. I am thinking of the metabolite.                     11   the conclusion that there is limited evidence --
12      Q. It's all right.                                      12          Based on the criteria that I stated in my
13      A. The -- the conclusions that they have in here        13   report, the epidemiology data meets the criteria for
14   is based on flawed data.                                   14   limited evidence of carcinogenicity, because a credible
15      Q. Yeah.                                                15   association is -- there is a credible association
16         The case control studies that you relied on had      16   between exposure to glyphosate and glyphosate
17   a total of 140 NHL cases, right?                           17   formulations and cancer in humans, but confounding can't
18      A. I would have to look up my report and see how        18   be completely explained away.
19   many they had. But that sounds close to being right, I     19          But if you take the totality of all the data
20   guess.                                                     20   that's in my report, my conclusion stands as it is on
21      Q. And based on page 5 of Andreotti's paper, as we      21   page 31 of the hazard assessment conclusion that
22   already discussed, sir, there are 440 NHL cases from       22   glyphosate and glyphosate formulation are carcinogenic
23   the -- from the AHS cohort as of 2017 or 2018, right?      23   in humans.
24      A. That's what they say here in the paper.              24      Q. Now, didn't the same flaws that you have
25      Q. So that's a significantly bigger number than         25   alluded to today during your testimony and in your


                                                Page 95                                                          Page 97
 1   what you were talking about in your initial report;         1   supplemental report, in the AHS study of farmers, exist
 2   true?                                                       2   in 2005 during the De Roos --
 3      A. It is a bigger number, correct.                       3      A. Yes.
 4      Q. Now, do you agree that the AHS information            4      Q. -- study?
 5   as -- and the studies on the AHS as they currently          5      A. Yes.
 6   exist, including the NHI, the -- sorry, sorry, the NIH      6         MS. WAGSTAFF: Objection.
 7   2018 Andreotti paper, still meet the criteria for,          7      A. And there was no -- I'm sorry. There was no
 8   quote, "limited," unquote, evidence of carcinogenicity      8   association then. And I took that into consideration in
 9   in humans, as you used at page 19 of your initial           9   my evaluation that it was a -- you know, it showed no
10   report?                                                    10   association. But there was enough evidence in the case
11      A. I am sorry. Could you repeat that again? I --        11   control studies, in the many case control studies,
12      Q. Do you agree that the epidemiology on the AHS        12   both -- both reported individually and the meta-analysis
13   cohort as to glyphosate specifically still meets the       13   that were done on the case control studies, that it met
14   criteria for the term, quote, "limited," unquote,          14   the criteria, my criteria for saying that there is
15   evidence of carcinogenicity that you used at page 19 of    15   limited evidence. There is a -- that a cred -- it is
16   your initial report?                                       16   credible to say that glyphosate causes cancer in humans.
17          MS. WAGSTAFF: Objection; asked and answered.        17   But as far as the epidemiology studies are concerned,
18      A. No. Because the AHS 2018 paper is based on           18   all the confounding and -- and other such issues could
19   flawed data, and so it is a flawed study and should not    19   not be completely explained away.
20   be included in any consideration of the cancer hazard of   20      Q. Isn't that opinion the same definition that
21   glyphosate or glyphosate formulations. So it adds          21   IARC uses?
22   nothing to -- to any evaluation because it is an           22      A. Very similar. And very similar to the
23   inadequate study.                                          23   definition used by the Report on Carcinogens.
24      Q. As to the epidemiology as a whole, including         24      Q. Okay.
25   AHS and the case control studies that you referred to in   25      A. I mean, I wrote that criteria for the Report on



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        Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 27 of 50

                                                Page 98                                                        Page 100
 1   Carcinogens, so.                                            1          MS. WAGSTAFF: Objection. You asked and he
 2     Q. Okay. Okay.                                            2      answered it. You have to look and see.
 3         Would you agree that the NCI 2018 study by            3      A. I would have to look at the paper --
 4   Andreotti has the most glyphosate-exposed NHL cases of      4      Q. Okay.
 5   any epidemiology study ever?                                5      A. The information available. I don't -- I don't
 6     A. No.                                                    6   recall.
 7     Q. Can you cite me to the study that has more             7      Q. Okay. Well, you brought up NAPP so that's why
 8   glyphosate-exposed NHL cases in it than the NCI 2018        8   I'm asking.
 9   Andreotti study of the AHS cohort?                          9      A. Yeah.
10     A. I believe the NAPP has more NHL cases in it           10      Q. Did you rely on NAPP in reaching the
11   than -- than the AHS study currently does.                 11   conclusions that you reached in this case?
12     Q. Okay.                                                 12      A. No.
13         THE REPORTER: Did you say N-A-P-P?                   13          MS. WAGSTAFF: Well, do you mean with respect
14         MS. WAGSTAFF: Yes, all caps.                         14      to this PTO 34 deposition? Because that's the only
15         THE WITNESS: Yes. NAPP. North American               15      thing we are asking about right now. So to the
16     Pooled, North American Pooled --                         16      extent that you are asking whether he relied on NAPP
17         MS. WAGSTAFF: Project.                               17      with respect to PTO 34, sure.
18         THE WITNESS: Project. North American Pooled          18          Is that how you understood the question.
19     Project is what it's called.                             19          THE WITNESS: I assumed that what he was
20   BY MR. HOLLINGSWORTH:                                      20      referring to.
21     Q. Now, you say, you are saying that that has more       21          MS. WAGSTAFF: Okay.
22   NHL cases than the AHS cohort?                             22          THE WITNESS: That about the -- about the AHS.
23     A. I believe it does.                                    23      My -- my supplemental report.
24     Q. Yeah.                                                 24   BY MR. HOLLINGSWORTH:
25         Have you read any of the work by Dr. Blair, who      25      Q. Okay. I didn't see you --


                                                Page 99                                                        Page 101
 1   is an investigator on the national -- on the NAPP?          1      A. I didn't reference it. I didn't. So I didn't
 2      A. I have read papers, I have read papers by             2   use it.
 3   Dr. Blair, yes.                                             3      Q. You didn't reference it in your initial report
 4      Q. Do you consider him to be a competent                 4   either, did you?
 5   epidemiologist?                                             5      A. No.
 6      A. Yes.                                                  6          MS. WAGSTAFF: Object to the last question;
 7      Q. Are you -- is it fair to say that he is               7      scope.
 8   qualified to evaluate epidemiologic data?                   8      Q. Are you aware of any epidemiologic cases or any
 9      A. I would believe so, yes, since he was head of         9   literature -- excuse me. Let me start over.
10   the epidemiology department at the National Cancer         10          Are you aware of any epidemiologic literature
11   Institute.                                                 11   anywhere involving glyphosate and the association with
12      Q. Are you aware that Dr. Blair has reported a          12   NHL or not, where there is an adjusted odd ratio that
13   null finding from the North American Pooled Project with   13   shows a positive association that is statistically
14   respect to whether or not glyphosate is associated with    14   significant?
15   non-Hodgkin's lymphoma?                                    15      A. I am sorry. Say that again.
16         MS. WAGSTAFF: Objection; misstates record.           16      Q. Are you aware of any epidemiologic publication
17      A. I would have to look at that and see. I would        17   anywhere that reports for glyphosate and NHL an adjusted
18   have to look at the -- at the NAPP information and --      18   odds ratio that shows a positive association that's
19   and verify that. I can't say that sitting here right       19   statistically significant?
20   now.                                                       20          MS. WAGSTAFF: Objection; scope. This is
21      Q. You understand my question?                          21      beyond PTO 34 and the impact of the 2018 AHS study
22      A. Well, repeat it.                                     22      on his opinion. You are asking general opinions
23      Q. Are you aware that Dr. Blair has reported a          23      that should have been covered in his last
24   null finding from the NAPP regarding the association       24      deposition, either of the last two depositions.
25   between glyphosate and non-Hodgkin's lymphoma?             25      Q. Can you answer?




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        Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 28 of 50

                                              Page 102                                                       Page 104
 1      A. I could give you references. Given the               1      Q. Okay. This may be Marketing 101, but press
 2   opportunity to go look them up, I could give you some      2   releases are usually used to generate excitement or buzz
 3   references, yes.                                           3   about a study, correct?
 4         MS. WAGSTAFF: The deponent prepared for the          4      A. Well, it's to do that, and sometimes it's to
 5      deposition pursuant to the scope outlined in PTO 34     5   answer questions. I know that there has been a lot of
 6      in Monsanto's request.                                  6   anticipation for an update of the information in the
 7         MR. HOLLINGSWORTH: Okay. How much time do we         7   Agricultural Health Study. And I think that both NIEHS
 8      have left?                                              8   and NCI were under pressure to get some additional
 9         THE VIDEOGRAPHER: How much do you have?              9   information out. And so they are just announcing to
10         MS. WAGSTAFF: Well, how much have we gone?          10   everybody that they finally did.
11         MR. HOLLINGSWORTH: How much have we gone?           11      Q. Okay. So it -- okay. So no further questions
12         THE VIDEOGRAPHER: Two hours and 13 minutes.         12   on that. You can put it aside.
13         MR. HOLLINGSWORTH: Okay. I'd like to stop now       13         Let's look at the next exhibit, which is 27-2.
14      for just two or three minutes.                         14   And this is the malathion IARC monograph.
15         THE VIDEOGRAPHER: Going off the video record.       15      A. Okay.
16      The time is 11:45 a.m.                                 16      Q. And just so the record is complete, malathion
17         (Recess from 11:45 a.m. until 12:13 p.m.)           17   was part of Monograph 112, which also included the
18         THE VIDEOGRAPHER: We are back on the video          18   glyphosate monograph, correct?
19      record. The time is 12:13 p.m.                         19      A. Correct.
20                 CROSS-EXAMINATION                           20      Q. Okay. And you were part of that Working Group
21   BY MS. WAGSTAFF:                                          21   112, correct?
22      Q. Dr. Jameson, I have a few follow-up questions       22      A. Correct.
23   based on Monsanto's counsel's questions from you this     23      Q. Okay. And Mr. Hollingsworth said this earlier,
24   morning.                                                  24   but how are the malathion and glyphosate monographs
25         Do you have the exhibits that Mr. Hollingsworth     25   related with respect to purposes of this litigation --


                                              Page 103                                                       Page 105
 1   used in front of you?                                      1   or of this deposition?
 2      A. Yes.                                                 2      A. Since both malathion and glyphosate were
 3      Q. If you could pull up Exhibit 27-1.                   3   included as some of the pesticides that were
 4      A. Okay.                                                4   investigated in the AHS study, when we did the review,
 5      Q. Which was the first exhibit that he provided to      5   the IARC review, rather than writing up the description
 6   you.                                                       6   of the AHS study in each of the monographs -- because we
 7          What is this document?                              7   were doing, I think, up to six monographs at that time,
 8      A. Well, it appears to me, in looking through it,       8   and I don't know how many of the -- I don't recall how
 9   as a, more or less, a press release announce -- more or    9   many of the pesticides we reviewed were also part of the
10   less announcing that the AHS 2018 paper is coming out,    10   AHS study. So the decision was made by IARC to have
11   and just giving some general -- general information       11   a -- the detailed description of the AHS study and the
12   about it.                                                 12   malathion monograph, and then refer people to the
13      Q. Okay. And does it appear that this press            13   malathion monograph for details of the designs and --
14   release was issued by NIH, if you look up at the upper    14   and -- of the study in the glyphosate and other
15   left-hand big block --                                    15   monographs.
16      A. Yeah.                                               16      Q. Okay. And you are speaking with just with
17      Q. -- logo?                                            17   respect to the AHS --
18          And so does it appear that this is NIH doing a     18      A. Right.
19   press release on a study that NIH funded?                 19      Q. -- study, correct?
20      A. That's accurate. Actually, I think it looks         20      A. Correct, correct.
21   like it came from the National Institute of               21      Q. So it's fair to say that the malathion AHS
22   Environmental Health Sciences, NIEHS. And it's not        22   analysis was incorporated by reference in the glyphosate
23   unusual for them to put press releases out about when     23   monograph; is that correct?
24   they put a paper out that they think may be of interest   24      A. That's correct.
25   to a number of people.                                    25      Q. And that's sort of what Monsanto's lawyer




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        Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 29 of 50

                                              Page 106                                                         Page 108
 1   alluded to earlier this morning.                            1   carcinogen, correct?
 2         A quick review of the malathion monograph             2      A. That's correct.
 3   during the break shows that it discusses AHS on pages 9     3      Q. Okay. Let's look at the next exhibit that
 4   to 11, pages 15, 16, page 21, page 26 to 31, pages 33 to    4   Mr. Hollingsworth showed you, which is the Helsinki
 5   36, pages 103 to 104. Would that -- is that -- I sort       5   (sic), Exhibit 27-3. And if you look at page 414, I
 6   of looked at it with you so --                              6   would like to bring your attention to a sentence that
 7      A. Yeah, that's -- that's accurate.                      7   Mr. Hollingsworth did not read to you.
 8      Q. Would you agree with that?                            8      A. Okay.
 9      A. Yeah, I would agree.                                  9      Q. On the bottom right --
10      Q. So it's a pretty comprehensive analysis of the       10          MR. HOLLINGSWORTH: Where is this?
11   NIS study, is that correct?                                11          MS. WAGSTAFF: Page 414. It's 27-3.
12      A. Correct.                                             12          MR. HOLLINGSWORTH: Okay.
13      Q. So does this finally put to bed whether or           13          MS. WAGSTAFF: I don't know what tab you have
14   not -- strike that.                                        14      it as, but.
15         Does this finally put to bed Monsanto's              15          MR. HOLLINGSWORTH: Okay.
16   allegation that the IARC 112 Working Group did not         16   BY MS. WAGSTAFF:
17   consider the AH data when they determined that             17      Q. So if you look at the right-hand column, I can
18   glyphosate was a probable human carcinogen?                18   show you guys both sort of where this is.
19      A. Absolutely. I mean, in our review of the data        19          Right here.
20   for glyphosate and malathion and I think several others,   20          MR. HOLLINGSWORTH: Yep.
21   we definitely took into consideration the AHS study, the   21      Q. It starts with "For our imputation analysis..."
22   data, critically evaluated the data, and stated so in      22          Do you see that sentence, Dr. Jameson?
23   the -- in the various monographs. That was someplace in    23      A. Yes.
24   here where it -- where it makes a statement about the      24      Q. Okay. If you could read that entire sentence
25   adequacy of the -- of the AHS study. I -- I -- I can't     25   until the next period into the record, please.


                                              Page 107                                                         Page 109
 1   remember what page it was on but --                         1      A. It states that, "For our imputation analysis
 2      Q. Well, if you look on page 21, it actually             2   the, quote, outcome, unquote, of interest is the missing
 3   states, quote, "The Working Group considered the AHS to     3   pesticide use itself. Montgomery, et al., showed there
 4   be a highly informative study."                             4   was little evidence for selection bias in phase 2 of the
 5      A. Right.                                                5   AHS. However, missing and random is an under --
 6      Q. Correct?                                              6   untenable assumption with" --
 7      A. That's correct.                                       7      Q. Testable.
 8      Q. Okay.                                                 8      A. I am sorry. -- "untestable assumption without
 9      A. Right.                                                9   additional data. Thus, it is possible that
10      Q. And so it would be fair to -- well, strike           10   non-responders differ from responders in variables we
11   that.                                                      11   have not measured."
12         So in fact the IARC 112 committee did consider       12      Q. Thank you.
13   the AHS strengths when determining that glyphosate was a   13          And so does that suggest that there are
14   2A probable human carcinogen, correct?                     14   differences between the responders and non-responders in
15      A. They did, they did review the strengths of the       15   the 37 percent of folks who didn't respond to phase 2 of
16   AHS study. But -- but I can recall several                 16   the 2018 AHS?
17   conversations that were held in the plenary session        17      A. Absolutely. That -- and again, flawed data
18   especially, that -- that there was several members of      18   gives flawed results.
19   the epidemiology subgroup who were -- who were             19      Q. All right. Next, unfortunately, I have to
20   questioning the adequacy of some of the -- some of the     20   clear up the record on something that you really
21   data that was being generated by in the AHS study.         21   shouldn't have any involvement in.
22      Q. So I guess a more accurate question for me           22          But if we move to Exhibit 27-5, which is a
23   would be: In fact the IARC 112 committee did consider      23   letter Mr. Hollingsworth showed you, that Ms. Greenwald
24   both the strengths and weaknesses of the AH study when     24   sent to Ms. Pigman, who is here today; and included
25   deciding that glyphosate was a 2A probable cause human     25   Mr. Miller and myself as signatories on this letter.




                                                                                                                          28
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        Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 30 of 50

                                               Page 110                                                       Page 112
 1         Have you ever seen this letter before today?          1         MR. HOLLINGSWORTH: Objection, objection. So
 2      A. No.                                                   2     far outside of the area of his expertise, I just
 3      Q. Do you have any idea of the meaning of this           3     think it's unfathomable that you are doing this.
 4   letter?                                                     4         MS. WAGSTAFF: I started by saying I really
 5      A. No.                                                   5     hate to do this, but --
 6      Q. All right. I am going to hand you what I will         6         MR. HOLLINGSWORTH: Well.
 7   mark as Exhibit 27 --                                       7         MS. WAGSTAFF: -- you produced a incomplete
 8         THE REPORTER: Next in order?                          8     record asking him. I would have never even broached
 9         MS. WAGSTAFF: Yeah.                                   9     this topic in this deposition. You used a letter
10         THE REPORTER: 27-8.                                  10     between counsel to him to suggest and say, "you
11         MS. WAGSTAFF: Okay. It is two pages.                 11     realize that you are -- that counsel didn't disclose
12         (Exhibit 27-8 was marked for identification.)        12     this." So I am completing the record. I am
13         MS. WAGSTAFF: I don't how you want me to             13     completely confident that the -- Judge Chhabari will
14      connect these two pages, just -- they are not           14     understand why I am doing this.
15      stapled.                                                15         So in fact what Monsanto's attorneys showed you
16         THE VIDEOGRAPHER: Need a stapler?                    16     was a half-truth, and I just wanted to correct the
17         MS. WAGSTAFF: Yeah.                                  17     record on that. So we can -- you can move on.
18   BY MS. WAGSTAFF:                                           18         MR. HOLLINGSWORTH: Objection to the basis for
19      Q. When Mr. Hollingsworth was asking you questions      19     your statement that it's a half-truth. There is
20   about Exhibit 27-5, you will recall that I was objecting   20     absolutely no basis for that, as I'm sure Judge
21   as to an incomplete record?                                21     Chhabari will see.
22      A. Uh-huh.                                              22   BY MS. WAGSTAFF:
23      Q. I wanted to complete the record here. If you         23     Q. All right. Did Monsanto's lawyers acknowledge
24   will -- These are e-mails from Ms. Pigman, who is an       24   that we declined their request to withdraw those
25   attorney for Hollingsworth LLP to Ms. Greenwald. I am      25   sections of the report in that e-mail, Dr. Jameson?


                                               Page 111                                                       Page 113
 1   cc'ed on at least one of them.                              1      A. It appears to.
 2          You will see the first is a e-mail from              2         MR. HOLLINGSWORTH: Objection.
 3   Ms. Greenwald to Ms. Pigman on May 16, 2017. I will         3         MS. WAGSTAFF: Okay.
 4   represent to you that the letter that Mr. Hollingsworth     4         MR. HOLLINGSWORTH: Not within his area of
 5   showed you as 27-5 was the attachment that Robin, as she    5      expertise.
 6   calls herself in this e-mail, is sending to Ms. Pigman.     6         MS. WAGSTAFF: He can read English.
 7          You will see Ms. Pigman asks -- you will see         7   BY MS. WAGSTAFF:
 8   Ms. Pigman asks Robin to clarify if we will withdraw        8      Q. Okay. Do you recall when Mr. Hollingsworth
 9   opinions not stated in that letter.                         9   asked you if you were an epidemiologist, and I believe
10          If you will turn to the -- turn to the next         10   you answered that you were a toxicologist; is that
11   page, which is a July 24th e-mail, about halfway down,     11   correct?
12   starting with -- can you read into the record starting     12      A. Correct.
13   with "under the Court-ordered deposition protocol"?        13      Q. Can you explain how being a toxicologist
14      A. "Under the Court-ordered deposition protocol,        14   relates to you being an epidemiologist, if at all?
15   all of the plaintiffs' experts who will offer testimony    15      A. Well, I think I stated earlier that in doing
16   in a specific subject area must be deposed before          16   your -- the work that I did, and continue to do, in
17   Monsanto's experts in the same area. When we raised        17   cancer hazard identification, the requirement is that
18   this issue in connections with the original discovery      18   you become an expert in a wide variety of different
19   deadlines, plaintiffs sent a letter indicating that the    19   areas; one of which is toxicology, one of which is
20   experts' specialties were far narrower than the topics     20   epidemiology, one of which is genotoxicity and mechanism
21   disclosed in their reports, but plaintiffs later           21   of action. One is in exposure. And based on the 40
22   declined our request to withdraw those selections of       22   years that I have been doing this work, I have gotten
23   the -- those sections of the reports that did not match    23   what you considered on-the-job training in all of these
24   counsel's letter."                                         24   areas. My -- my degree is in chemistry, but I have
25      Q. That's good. So --                                   25   been -- but I have done toxicology since -- since I




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        Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 31 of 50

                                             Page 114                                                       Page 116
 1   graduated from the University of Maryland. And            1      his area of expertise.
 2   on-the-job training is as good if not better than a       2      Q. When you worked at NIH, did you -- were you
 3   college degree in just about all areas.                   3   ever -- did -- did.
 4          I have worked closely with the epidemiologists     4         When you worked at the NIH, did the NIH ever
 5   helping them in their studies. I have been asked to       5   fund any research?
 6   review epidemiology studies and papers as part of my      6      A. Any of my research?
 7   work with IARC and give my opinion as to what the         7      Q. Any research, period.
 8   epidemiology data is saying, and if it meets their        8      A. Oh. Yes. Any research period, yes.
 9   criteria for evaluating epidemiology data as far as       9      Q. Was it your understanding while you worked
10   being a sufficient evidence or limited evidence in --    10   there that in doing so the NIH was guarantying or
11   in -- for causation of cancer.                           11   warranting the accuracy of that?
12          For the Report on Carcinogens, I also have        12         MR. HOLLINGSWORTH: Same objection.
13   worked with epidemiologists who help us evaluate the     13      A. They were not guarantying or warranting any of
14   nominations for the Report on Carcinogens. As part of    14   the data. They would insist that the investigators
15   my responsibility, I wrote criteria for evaluating       15   follow such things as good laboratory practices or good
16   epidemiology data for the Report on Carcinogens. And     16   quality control practices and that type of thing to
17   those criteria are still used today in evaluating the    17   ensure the accuracy, accuracy of the data. But they
18   data, the epidemiology data for the Report on            18   couldn't guarantee or warrant, warrant any of that.
19   Carcinogens.                                             19      Q. Okay. And you discussed earlier with
20          So while I profess to be a toxicologist, you      20   Mr. Hollingsworth the JNCI, correct?
21   can't say, well, I am a toxicologist and an              21      A. Correct.
22   epidemiologist and a mechanistic expert and a            22      Q. And the JNCI stands for what?
23   genotoxicologist and what have you. I take on the        23      A. Journal of the National Cancer Institute.
24   moniker of toxicologist.                                 24      Q. Okay. And the Journal of the National Cancer
25          But you have to understand that in doing hazard   25   Institute is scheduled to publish the 2018 AHS study in


                                             Page 115                                                       Page 117
 1   identification, you have to become an expert in all of    1   this calendar year; is that your understanding?
 2   these areas in order to evaluate the data and give an     2      A. That's my understanding.
 3   opinion. And so while I don't have the degree in          3      Q. In so publishing, is the JNCI guarantying or
 4   epidemiology, I have the experience and training to       4   warranting the accuracy or veracity of the article?
 5   consider myself an expert in epidemiology to evaluate     5      A. No.
 6   this data.                                                6         MR. HOLLINGSWORTH: Same objection. He is not
 7      Q. All right. So would it be fair to say you were      7      an expert in that.
 8   an epidemiologist by training, by on-the-job training?    8         MS. WAGSTAFF: I will pass the witness back to
 9      A. By training, yeah.                                  9      you for your remaining 17 minutes.
10      Q. Okay.                                              10               REDIRECT EXAMINATION
11      A. As I said, on-the-job training is -- is as         11   BY MR. HOLLINGSWORTH:
12   good, if not better, than -- than getting a college      12      Q. Okay. In the article by Heltshe, if you will
13   degree.                                                  13   turn to the sentence that you quoted for the record
14      Q. All right. And you testified earlier that you      14   which is at page 414. And this is exhibit --
15   worked at the NIH, right?                                15         What is the exhibit on this, sir?
16      A. Correct.                                           16   Exhibit number?
17      Q. All right. And you testified earlier, I            17      A. Exhibit 27-3.
18   believe, that the NIH funded, at least in part, the      18      Q. Okay. And this is the paper by Heltshe?
19   research behind the 200 -- 2018 AHS study?               19      A. Uh-huh.
20      A. Correct.                                           20      Q. It's entitled, "Using multiple imputation to
21      Q. In doing so, was the NIH guarantying or            21   assign pesticide use for non-responders in the follow-up
22   warranting that the research was accurate or the         22   questionnaire in the Agricultural Health Study," right?
23   veracity of the research?                                23      A. Correct.
24      A. No.                                                24      Q. Okay. When -- the last phrase of the sentence
25         MR. HOLLINGSWORTH: Objection. That's beyond        25   you quoted says, "Thus, it is possible that




                                                                                                                       30
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         Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 32 of 50

                                                 Page 118                                                         Page 120
 1   non-responders differ from responders in variables we       1              CERTIFICATE OF OATH
 2   have not measured."                                         2
 3          Do you see that?                                     3   STATE OF FLORIDA
 4      A. Correct.                                              4   COUNTY OF LEE
 5      Q. Has anybody published an article stating that         5
 6   the non-responders actually differed from the responders    6        I, Donna L. Peterson, Registered Diplomate
 7   in a significant way?                                       7   Reporter, Notary Public, State of Florida, certify that
 8          MS. WAGSTAFF: Same objection as before. The          8   Charles W. Jameson, Ph.D., personally appeared before me
 9      article just came out.                                   9   on January 10, 2018, and was duly sworn.
10      A. There is no way to say. I mean, that's --            10        Signed this 10th day of January, 2018.
11   that's -- that's not a legitimate question, because the    11
12   paper hasn't been out long enough.                         12
13      Q. Well, no. The Heltshe was published in 2011,         13
14   sir.                                                       14
15      A. Well, it says 2012 on here.                          15        ___________________________________
16      Q. Okay.                                                16        Donna L. Peterson, RDR, CRR
17      A. But you are asking if it --                          17        Notary Public, State of Florida
18      Q. So since 2012, has anybody published a paper         18        Commission No.: FF 234084
19   that says that it -- in fact the non-responders in the     19        Commission Expires: August 7, 2019
20   AHS study differed from responders in variables that had   20
21   not been measured by Heltshe?                              21
22      A. So you -- you would be referring to the 2005         22
23   publication?                                               23
24      Q. I would refer to anything after 2012. Has            24
25   anybody said that in fact the non-responders differed      25



                                                 Page 119                                                         Page 121
 1   from responders in variables that had not been measured     1             CERTIFICATE OF REPORTER
 2   until 2012?                                                 2
 3      A. In the 2005 De Roos paper.                            3   STATE OF FLORIDA
 4      Q. Or in any paper since 2012?                           4   COUNTY OF SARASOTA
 5      A. In any paper?                                         5
 6      Q. Yeah. Has anybody published an article --             6         I, Donna L. Peterson, Registered Diplomate
 7      A. I don't know that anybody has addressed that.         7   Reporter and Certified Realtime Reporter, certify that I
 8      Q. Yeah. Okay. Thank you. That's it.                     8   was authorized to and did stenographically report the
 9         MS. WAGSTAFF: That's it.                              9   deposition of Charles W. Jameson, Ph.D., pages 1 through
10         THE VIDEOGRAPHER: This concludes the video           10   122; that a review of the transcript was not requested,
11      media disc number two of the videotaped deposition      11   and that the transcript is a true record of my
12      of Charles W. Jameson, Ph.D. The time is                12   stenographic notes.
13      12:35 p.m., and we are going off the video record.      13
14         (The proceedings concluded at 12:35 p.m.)            14         I further certify that I am not a relative,
15
                                                                15   employee, attorney, or counsel of any of the parties,
16
                                                                16   nor am I a relative or employee of any of the parties'
17
                                                                17   attorneys or counsel connected with the action, nor am I
18
                                                                18   financially interested in this action.
19
20                                                              19
                                                                20        Dated this 10th day of January, 2018.
                      _____________________
21                                                              21
                                                                22
                      Signature of Deponent
22                                                                        ____________________________________
     SUBSCRIBED AND SWORN BEFORE ME                             23        Donna L. Peterson, RDR, CRR
23   THIS ____ DAY OF __________, 2018.                                   Registered Diplomate Reporter
24   ____________________                                       24        Certified Realtime Reporter
25   (Notary Public) MY COMMISSION EXPIRES:__________           25




                                                                                                                            31
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             Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 33 of 50

                                                              Page 122
 1             ERRATA SHEET
 2   DO NOT WRITE ON TRANSCRIPT - ENTER CHANGES ON THIS PAGE
 3     IN RE: Roundup Products Liability Litigation
            CHARLES W. JAMESON, Ph.D.
 4            January 10, 2018
 5
     Page No.  Line No.   Change       Reason
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21
22   Under penalties of perjury, I declare that I have read
     the foregoing document and that the facts stated in it
23   are true.
24
     ___________________ ____________________________
25   Date        CHARLES W. JAMESON, Ph.D.




                                                                                        32
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          Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 34 of 50


                                                                                                            Page 1

         A              18:7,13 43:21 69:19        23:3 24:1,7 27:4,7,9   Andreotti (36)          28:23,24 30:22 64:14
a.m (15)                  106:25 107:20            28:18,19,24 29:3,10    3:17 6:24 23:23 31:19   apply (3)
1:13 4:21 12:20,20,22   adequate (1)               30:5,8,22 31:8,14        37:3,8,16 38:6        26:6 43:15 45:11
  46:18,20,20,23        30:8                       32:5 33:3 37:5,11        54:20 57:6,9 59:5     appointed (1)
  72:23,24,24 73:1      adjusted (2)               48:16 49:2,21 56:15      59:11,12 61:10        47:10
  102:16,17             101:12,17                  56:19 57:18 59:5         65:23 66:21 78:7,18   approach (2)
ability (1)             adjustment (1)             61:3 63:12,18 65:22      79:7 86:19,23 87:3    65:11,13
55:13                   40:6                       66:20 67:7,9,24          88:3,4,6 90:6,24      appropriate (1)
able (2)                administration (1)         68:8,18 69:3,4,10        91:14,19,23 92:25     55:14
69:15 81:21             64:11                      69:17,23 70:1,15         93:4 95:7 98:4,9      approximately (1)
absolutely (6)          affect (1)                 71:8,14,16 72:2,4      Andreotti's (1)         4:21
50:25 51:6 81:18        23:17                      73:3,11,23 74:4        94:21                   area (7)
  106:19 109:17         affiliation (1)            75:12 87:13,13         Andrus (2)              51:9 74:15 111:16,17
  112:20                78:24                      88:15 94:8,9,23        2:4 5:11                  112:2 113:4 116:1
accepted (1)            affirm (1)                 95:4,5,12,18,25        animal (3)              areas (4)
29:15                   5:16                       97:1 98:9,11,22        14:9 15:10 43:14        113:19,24 114:3
accepting (1)           agencies (2)               100:22 101:21          announce (1)              115:2
45:13                   74:12,21                   103:10 105:4,6,10      103:9                   argumentative (1)
account (7)             Agency (1)                 105:11,17,21 106:3     announcing (2)          93:12
29:16 34:25 35:3        43:18                      106:21,25 107:3,13     103:10 104:9            article (17)
  40:13,18,25 62:19     ago (4)                    107:16,21 109:5,16     answer (22)             3:10,13 7:19 8:1
accuracy (8)            21:15,16 77:4 78:5         115:19 116:25          13:6,25 19:12,14,15       26:19 27:12,20
17:1,12 18:7 23:17      agree (18)                 118:20                   47:4,5,7 48:24,25       30:10 55:9 76:25
  116:11,17,17 117:4    10:4,24 19:22 23:6      Aimee (2)                   52:25 53:2 55:18        78:7 86:19 117:4,12
accurate (10)             26:11 28:5,6,7 41:6   2:5 5:11                    61:5 66:13,15 71:12     118:5,9 119:6
31:17 33:16 41:1          44:4 62:24 76:10      al (3)                      78:9,22 79:13         articles (2)
  45:14 50:6 76:24        90:17 95:4,12 98:3    24:22 25:17 109:3           101:25 104:5          32:5 67:6
  103:20 106:7            106:8,9               Alaska (1)                answered (11)           aside (1)
  107:22 115:22         agreed (1)              2:4                       28:2,10 63:16 67:20     104:12
acknowledge (1)         13:4                    algorithms (2)              68:24 69:13 70:25     asked (27)
112:23                  agricultural (33)       16:24 17:10                 71:18 95:17 100:2     17:23 27:15 28:2,10
action (3)              3:11,15,18 6:5,15 7:2   allegation (1)              113:10                  33:6 34:11,19 36:10
113:21 121:17,18          7:5 9:5 12:11 13:17   106:16                    anticipation (1)          36:11,11 43:19 45:9
ACTIONS (1)               14:15,18 15:22 16:2   allow (2)                 104:6                     49:14 61:1,1 63:16
1:6                       16:3,15,16,25 17:19   13:4 31:7                 anybody (6)               67:20 68:24 69:13
actual (3)                20:12,17 26:23        allows (1)                71:13 118:5,18,25         70:25 71:18 91:10
47:13 64:21,21            30:24 36:21 37:19     30:22                       119:6,7                 91:15 95:17 100:1
ad (1)                    62:20 63:6 64:6       alluded (2)               anyway (2)                113:9 114:5
80:12                     72:7 75:1 80:4        96:25 106:1               16:20 87:24             asking (15)
adage (1)                 104:7 117:22          American (5)              apologize (1)           13:4 17:7 20:15 27:18
63:7                    agriculture (2)         80:20 98:15,16,18         92:13                     33:9 71:1,4 91:11
addition (1)            12:8 15:18                 99:13                  apparent (1)              100:8,15,16 101:22
26:2                    AH (5)                  AML (4)                   90:8                      110:19 112:8
additional (2)          10:21 19:23 87:12       94:2,7,7,10               appear (2)                118:17
104:8 109:9               106:17 107:24         amount (2)                103:13,18               asks (2)
Additionally (1)        ahead (1)               32:2 84:15                APPEARANCES (1)         111:7,8
4:11                    13:8                    analyses (4)              2:1                     aspect (3)
address (1)             AHL (2)                 13:16 30:23 40:5,7        appeared (1)            13:17 32:18,22
18:10                   40:7 94:9               analysis (13)             120:8                   aspects (1)
addressed (2)           AHS (115)               23:22 24:13 31:8          appears (2)             32:25
31:9 119:7              5:25 6:5,9 7:7 8:3,22      40:11,12,17 45:19      103:8 113:1             assess (3)
addresses (2)             9:18,25 10:16 11:13      45:23 81:12 105:22     applicate (1)           16:3,15 63:22
75:24 82:4                11:21 15:2 16:12         106:10 108:21          20:13                   assessed (1)
adds (1)                  17:4,14,14 18:8,20       109:1                  applicators (4)         64:5
95:21                     18:23,25 19:16        analyzing (1)             16:4,16 20:14 70:16     assessment (7)
adequacy (6)              20:24 21:4,19,25      46:2                      applied (4)             11:3,11 17:3,3,14


                                     TSG Reporting - Worldwide       877-702-9580
          Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 35 of 50


                                                                                                            Page 2

  65:5 96:21                     B                115:25                 117:1                   Carolina (1)
assign (3)              B (1)                   bias (15)               caliber (1)               80:11
3:14 26:21 117:21       3:8                     19:1,17 20:1,5,8,16      78:15                   case (37)
assistance (2)          back (13)                 20:19,22 21:6,7       California (2)            1:3 4:16 7:6,7 8:10
81:6,11                 9:10 12:21 18:4 21:12     30:22 31:7 32:24       1:1 4:16                   19:25 20:3,5,11,19
associated (4)            46:21 66:17 70:14       36:18 109:4           call (1)                    20:22,24 22:22
58:10,15,21 99:14         72:17,25 77:3 96:7    biased (3)               42:11                      23:15,15 27:2 30:5
association (21)          102:18 117:8          82:10,11,12             called (3)                  34:22 35:15,16
5:1 38:9,14,19,22       background (1)          biases (2)               11:25 13:14 98:19          44:18 49:13 50:3
  40:3,4 58:22 84:12    45:9                    32:7,15                 calls (2)                   58:17 64:9 66:5
  86:12 87:15 90:7      bad (13)                big (2)                  51:5 111:6                 76:6 83:4 89:10
  92:17 96:15,15 97:8   29:13,13 30:6,7,7       35:24 103:15            camera (1)                  93:25 94:3,16 95:25
  97:10 99:24 101:11      56:11,11 60:21 63:5   bigger (3)               62:10                      97:10,11,13 100:11
  101:13,18               63:7,7 64:25 65:1     93:15 94:25 95:3        canc (1)                 cases (23)
associations (1)        base (2)                biological (1)           38:20                    20:10 21:24 87:18
39:13                   65:19 68:19             79:14                   cancer (48)                 88:6,15,16,18 89:3
assumed (1)             based (28)              Blair (4)                3:17 6:6,10,14,15,20       89:8,8,22 93:1,3,21
100:19                  10:2 16:11 24:18,21     98:25 99:3,12,23           7:2 20:8 21:5 36:24      93:23,24 94:17,22
assumption (2)            43:10,23 65:23        block (1)                  37:2,6,18,21 38:2        98:4,8,10,22 101:8
109:6,8                   66:22 67:8 68:1,9     103:15                     38:21,22 40:14,16     causal (1)
Attached (1)              69:22 75:1 84:9,21    board (9)                  42:20 43:19 47:23      84:12
3:8                       86:12 87:4 90:11      46:8 52:10,13,20 53:2      47:24 48:1 51:21      causation (2)
attachment (1)            92:20,23 94:5,14,21     53:7,9,11,13             52:2,6,9 73:12         8:15 114:11
111:5                     95:18 96:5,12         border (1)                 74:17 76:7,21 77:2    cause (2)
attention (1)             102:23 113:21         48:19                      77:15,18 78:1,20       4:3 107:25
108:6                   baseline (2)            bottom (7)                 79:10 84:16 86:20     caused (2)
attorney (3)            24:18,18                7:22 24:3 31:2 54:6        95:20 96:17 97:16      28:18 36:18
5:4 110:25 121:15       basically (4)             91:22 92:7 108:9         99:10 113:17          causes (7)
attorneys (3)           40:20 41:23 51:1 81:5   branch (1)                 114:11 116:23,24       32:24 47:23,24,25
2:4 112:15 121:17       basis (9)               81:23                   cap (1)                     84:16,17 97:16
August (1)              55:1 62:17 74:25 82:9   break (5)                85:20                   cc'ed (1)
120:19                    82:14,17,20 112:18    41:13,14 46:10,15       capacity (1)              111:1
author (4)                112:20                  106:3                  15:10                   cell (1)
6:24 44:23 65:9 79:7    bathroom (1)            brief (1)               caps (1)                  4:11
authoritative (4)       41:13                   8:1                      98:14                   center (1)
74:14,16,19,20          bed (2)                 briefed (1)             carcinogen (6)            80:4
authorized (1)          106:13,15               51:3                     58:9,21 59:3 106:18     certain (1)
121:8                   beginning (2)           briefing (2)               107:14 108:1           51:23
authors (17)            21:21 39:20             50:9,24                 carcinogenic (11)        certainly (2)
27:11,12 29:14 32:6     begins (3)              briefly (1)              57:15 84:1 86:2,15,17    49:23,25
  38:7 39:13 41:2,5     18:20 22:16 24:3        13:18                      86:22 87:1,1,8        certainty (1)
  57:6 70:4 75:22       behalf (3)              bring (1)                  90:25 96:22            84:16
  82:3,7,10,15,17       2:3,8 8:15              108:6                   carcinogenicity (9)      CERTIFICATE (4)
  90:6                  believe (8)             broached (1)             18:12 58:4 82:25 83:6    3:5,6 120:1 121:1
available (2)           81:16 82:14 86:17       112:8                      85:21 90:20 95:8,15   certification (3)
96:6 100:5                98:10,23 99:9 113:9   broad (1)                  96:14                  52:13 53:9,15
Avenue (3)                115:18                51:13                   carcinogens (19)         certified (11)
1:14 4:19,24            benzene (9)             brought (1)              43:13,16 45:1,8,12,17    1:24 4:22 46:8 52:10
avoids (2)              58:8,8,11,12,16,19,20   100:7                      45:20,24 46:3 52:17      52:20 53:2,7,11,14
19:1,16                   58:23 59:2            buzz (1)                   52:18 81:7,20 97:23      121:7,24
aware (19)              best (3)                104:2                      98:1 114:12,14,16     certify (3)
4:9 5:25 7:10 18:9      7:3 31:24 74:23                                    114:19                 120:7 121:7,14
  36:25 50:2,11 57:4    better (2)                        C             care (1)                 challenge (1)
  67:1,5 70:3 71:13     114:2 115:12            calculation (1)          60:14                    82:6
  73:3 80:10 99:12,23   beyond (4)               89:9                   career (2)               change (3)
  101:8,10,16           48:18 49:1 101:21       calendar (1)             11:15 81:8               83:23 85:25 122:5


                                     TSG Reporting - Worldwide     877-702-9580
           Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 36 of 50


                                                                                                                Page 3

CHANGES (1)                  21:24 23:3 36:22,25   comprehensive (6)           113:23                   72:22
 122:2                       38:8 44:13 62:19       10:1,5,12,17,22         considers (2)            Court-ordered (2)
changing (1)                 89:10 92:24 94:23       106:10                  47:3 48:17               111:13,14
 69:18                       95:13 98:9,22         concentrated (1)         consistent (4)           covered (2)
Charles (11)              colleagues (1)            18:1                     38:15 40:3,4,5           12:1 101:23
 1:10 3:3 4:7 5:20 8:14    44:10                   concern (1)              consultants (1)          create (1)
   82:2 119:12 120:8      collected (2)             23:10                    76:2                     32:24
   121:9 122:3,25          71:16 72:2              concerned (3)            continue (3)             cred (1)
chart (1)                 collects (7)              47:22 69:21 97:17        13:4 60:15 113:16        97:15
 89:22                     10:1,4,5,12,17,21,24    concerns (1)             contributes (1)          credible (4)
chemical (4)              college (4)               18:6                     86:25                    84:12 96:14,15 97:16
 13:14 35:20 48:5          51:23 80:20 114:3       conclude (3)             control (19)             criteria (18)
   81:11                     115:12                 85:19 86:13 90:24        19:25 20:3,5,20,22       43:15 45:11 83:10
chemicals (2)             Colorado (2)             concluded (7)               22:22 23:15 35:15        84:8,9,9 85:19
 13:13 14:5                2:5 5:12                 32:6 38:8 57:13 87:14      44:18 58:18 89:11        90:19 95:7,14 96:12
chemistry (3)             column (12)                87:14 90:7 119:14         93:25 94:3,16 95:25      96:13 97:14,14,25
 52:8 81:9 113:24          15:23,24 18:18 24:2     concludes (2)               97:11,11,13 116:16       114:9,15,17
cherry (1)                   24:14 31:3 39:10,16    30:21 119:10            controls (2)             critical (1)
 22:13                       41:24 91:23 92:7      conclusion (26)           88:22,23                 69:19
Chhabari (3)                 108:17                 38:13 41:23 60:5,10     conversation (2)         critically (1)
 49:22 112:13,21          come (6)                   64:17 65:19 86:11       12:25 53:19              106:22
chose (1)                  13:5 56:24 57:24          86:16,25 90:11,14      conversations (2)        criticism (2)
 48:10                       72:17 74:8 81:10        91:4,11,13,21 92:5      4:10 107:17              93:20,20
cite (4)                  coming (2)                 92:9,10,16,19,21,22    copy (6)                 criticisms (2)
 27:1 59:20 68:16 98:7     42:17 103:10              93:4 96:11,20,21        15:1 19:19 50:14,18      49:5 54:20
cited (6)                 Commission (3)           conclusions (7)             63:25 85:11           criticize (2)
 24:22 25:15 26:6          119:25 120:18,19         26:5 56:4 57:9 65:7     corner (4)                28:18 75:1
   27:20 59:17 63:14      committee (2)              92:23 94:13 100:11      8:6 37:21,24,25         criticized (1)
claim (1)                  107:12,23               conducted (3)            correct (33)              69:17
 82:9                     common (5)                44:13,18 75:19           6:25 7:9 54:25 62:9     critique (1)
clarify (2)                26:12 27:16,22 28:7     confident (1)               70:18 76:9 95:3        55:13
 60:23 111:8                 53:14                  112:13                     104:3,18,19,21,22     CROSS-EXAMIN...
classified (1)            community (1)            confounding (3)             105:19,20,20,23,24     3:4 102:20
 47:20                     75:17                    84:12 96:17 97:18          106:11,12 107:6,7     CRR (3)
clause (1)                Company (2)              connect (1)                 107:14 108:1,2         1:23 120:16 121:23
 85:22                     2:8 5:8                  110:14                     112:16 113:11,12      currently (2)
clear (1)                 compared (4)             connected (1)               115:16,20 116:20       95:5 98:11
 109:20                    88:21,22 93:1,24         121:17                     116:21 117:23         CV (2)
close (2)                 competent (1)            connection (4)              118:4                  77:9,24
 12:4 94:19                99:4                     11:22 32:12 45:19,23    correctly (2)
closely (1)               complete (5)             connections (1)           9:20,23                           D
 114:4                     24:7 27:8 64:14          111:18                  counsel (12)             D (1)
co-principal (1)             104:16 110:23         consider (15)             5:2 7:20 8:18 9:22      3:1
 80:3                     completed (1)             44:2,3 46:25 52:6          11:12 29:20 39:15     D-e (1)
co-variants (1)            75:4                      53:1,4,17 74:11,14        91:10 112:10,11       66:1
 64:13                    completely (5)             74:18 99:4 106:17         121:15,17             Dale (7)
coaching (2)               48:18 84:13 96:18         107:12,23 115:5        counsel's (2)            79:17 80:5,5,22 81:10
 55:16 62:14                 97:19 112:13          considerable (2)          102:23 111:24             81:21,24
coauthor (1)              completeness (1)          17:2,13                 COUNTY (2)               dash (1)
 77:5                      63:20                   consideration (11)        120:4 121:4             10:9
coauthors (6)             completing (1)            32:17,18 33:1 47:19     couple (2)               data (143)
 26:1 31:19 61:10          112:12                    48:5 51:20 87:8         13:13 21:14             10:1,5,12,18,22,24
   63:22 64:5 93:5        compounds (1)              90:24 95:20 97:8       course (4)                 11:6 12:10 18:8
cohort (24)                12:1                      106:21                  45:8 55:12 80:13,14       24:18,18 25:10
 18:20,24 19:1,16 20:1    compre (1)               considered (5)           court (6)                  26:11 27:16,22 28:7
   20:6,8,9,23 21:4,23     10:4                     74:16 76:13,22 107:3     1:1 4:16,25 5:4 13:7      28:19,25 29:3,4,4,6


                                        TSG Reporting - Worldwide      877-702-9580
          Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 37 of 50


                                                                                                          Page 4

  29:7,10,13,13,16,25   Defendant (1)          detailed (3)            18:12 48:11              3:24 110:24
  29:25 30:1,6,6,7,7    2:8                    12:10 14:18 105:11      discussed (4)           earlier (6)
  31:10,14 36:12 41:8   deficiencies (1)       details (1)             44:9 86:13 94:22         104:23 106:1 113:15
  43:14,14,15,20,23     58:2                   105:13                    116:19                   115:14,17 116:19
  43:25 45:11,15        define (2)             determination (1)       discusses (2)           early (2)
  47:16,17,18,25 48:1   68:12 93:6             43:21                   14:14 106:3              58:10 81:8
  48:3,4 51:17,17,19    defined (1)            determine (1)           discussing (1)          earth (1)
  52:2,6 55:23,24       84:11                  73:17                   91:8                     70:20
  56:1,3,4,11,11,13     definitely (1)         determined (2)          discussion (1)          editor (3)
  56:17,17 58:7,11,15   106:21                 24:23 106:17            23:10                    57:18 60:20 80:16
  62:19,25 63:5,5,6,7   definition (2)         determining (1)         discussions (1)         editorial (5)
  63:7,9,9 64:14,16     97:20,23               107:13                  15:17                    57:24 59:16 60:19,24
  64:21 65:1,1,2,3,5    degree (6)             developed (4)           District (4)               72:6
  65:12,14,19,24        51:23 53:5 113:24      11:2,9,10,14            1:1,1 4:15,16           editorials (2)
  66:22 67:8,17 69:8      114:3 115:3,13       diazinon (2)            doctor (1)               57:23 61:2
  69:20,22,25 70:8,9    degrees (1)            25:3,12                 17:16                   effect (7)
  70:12,13,14,21,22     79:25                  differ (2)              document (14)            42:20,20 43:1,2 57:12
  71:6,16 72:2,3 84:8   demonstrated (1)       109:10 118:1            1:5 9:21,24 10:15          57:16,23
  84:19 87:4,5 90:12    58:20                  differed (3)              11:13 15:8,17 19:3    efficiency (2)
  90:17,23 92:20,24     Denver (1)             118:6,20,25               22:14 24:14 51:10      30:23 31:8
  94:5,14 95:19 96:6    5:12                   difference (7)            61:21 103:7 122:22    efficient (1)
  96:10,13,19 99:8      department (1)         35:4,19,24 41:3 42:16   documents (1)            72:18
  106:17,19,22,22       99:10                    64:18,19              45:10                   efforts (4)
  107:21 109:9,17       deponent (2)           differences (1)         doing (14)               16:2,14,17,18
  114:8,9,16,18,18      102:4 119:21           109:14                  45:19 52:4,11,12,15     eight (3)
  115:2,6 116:14,17     deposed (3)            different (10)            103:18 105:7 112:3     8:25 50:15 78:11
date (4)                8:25 49:16 111:16      14:7 38:15,18,24 39:1     112:14 113:15,22      either (10)
6:10 8:5,9 122:25       deposition (25)          39:4 58:21 81:22        114:25 115:21          28:23,23 47:19,20
dated (4)               1:10 4:1,6,17 7:19       90:2 113:18             116:10                   65:22 66:20 71:23
8:3,16 51:10 121:20       8:19,20,21,23 12:4   differential (4)        Donna (9)                  87:16 101:4,24
dates (4)                 13:1 16:13 38:5      23:16 35:6,13,25        1:23 4:1,25 66:18       Elizabeth (8)
33:15,16 34:2,5           48:12,15 61:19       Diplomate (5)             72:9 120:6,16 121:6    58:1 59:4,20 60:5,17
Daubert (1)               100:14 101:24        1:24 4:2 120:6 121:6      121:23                   60:24 61:5,8
50:24                     102:5 105:1 111:13     121:23                Dr (30)                 employed (1)
day (3)                   111:14 112:9         direct (4)              3:21,22 8:14 13:6,19     76:2
119:23 120:10 121:20      119:11 121:9         3:4 5:23 63:18,19         17:18 19:7,15 23:23   employee (2)
DC (1)                  depositions (2)        directly (2)              25:15 35:2 48:17       121:15,16
2:10                    51:2 101:24            27:7 49:11                51:6 53:20 61:17      English (1)
De (9)                  describe (1)           director (1)              63:14,22 64:4 80:5     113:6
66:1,3,6 67:3 87:12     63:21                  43:12                     80:10,16 82:23 85:9   enhance (2)
  87:17 93:21 97:2      described (1)          disagree (7)              98:25 99:3,12,23       75:11 93:3
  119:3                 17:11                  16:8 28:1 30:20 39:23     102:22 108:22         enhances (1)
deadlines (1)           description (4)          62:17 92:21,22          112:25                 75:15
111:19                  3:9 15:22 105:5,11     disagreement (1)        Drews (2)               enrollment (1)
December (3)            design (2)             13:2                    65:22 66:21              24:8
8:4 9:13 11:8           44:9 69:17             disagrees (1)           Drive (1)               ensure (1)
decent (1)              designated (1)         30:15                   2:4                      116:17
29:25                   37:21                  disc (4)                duly (2)                ENTER (1)
deciding (1)            designations (1)       4:6 46:18,22 119:11     5:21 120:9               122:2
107:25                  50:9                   disclose (2)                                    entire (6)
decision (1)            designed (2)           35:11 112:11                       E             15:3 17:19 19:6 48:9
105:10                  44:6,8                 disclosed (1)           E (2)                      56:19 108:24
declare (1)             designs (1)            111:21                   3:1,8                  entitled (3)
122:22                  105:13                 discovery (3)           e-mail (4)               6:14 26:20 117:20
declined (2)            detail (1)             73:16 75:3 111:18        111:2,6,11 112:25      entity (1)
111:22 112:24           15:13                  discuss (2)             e-mails (2)              73:9


                                     TSG Reporting - Worldwide    877-702-9580
           Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 38 of 50


                                                                                                                Page 5

Environmental (8)         60:7                     exchanged (1)              16:3,15 17:3,3,14       8:17 14:16 32:9 69:24
 6:8,11 8:2 9:11,12      estimates (8)              50:8                      18:9 20:7 21:1,7,20       81:13 82:2
   11:19 73:13 103:22     21:25 23:5,17,18 32:8    excitement (1)             22:19,20 29:4,25       families (2)
EPA (4)                     32:15,24 64:16          104:2                     32:7,14,23 33:10,23     6:1 9:19
 57:2,4,8,13             et (3)                    excluded (1)               34:12,19,20,23 35:5    far (5)
epidemiologic (10)        24:22 25:17 109:3         22:20                     35:6,11,13,20,25        47:21 97:17 111:20
 26:12 27:17,23 28:22    evaluate (12)             excuse (4)                 36:16,20,23 37:1          112:2 114:9
   45:19 82:7 99:8        18:13 32:11 43:20         30:3 52:12 94:9 101:9     38:15,18,20 39:2,5     farmer (3)
   101:8,10,16              48:2 49:6 51:16        exercise (1)               40:3,14,16,17,22        33:14,19 34:11
epidemiologist (12)         58:3 59:5 99:8          65:3                      41:11 42:21 51:19      farmers (6)
 43:8 44:1,3 48:17          114:13 115:2,5         exhibit (37)               55:6 58:12,19 60:7      6:1,3 9:19 58:3 70:17
   50:7 81:14,17 99:5    evaluated (4)              3:10,12,13,17,19,21       61:11 63:9 65:5           97:1
   113:9,14 114:22        14:5 75:20 93:24            3:22,24 7:17,18         72:7 87:4,6 88:19      farming (5)
   115:8                    106:22                    9:10 10:7 15:6 22:9     90:11 92:24 96:16       33:8,11,20 34:12
epidemiologists (6)      evaluating (9)               26:17,19 27:10          113:21                    36:12
 35:24 44:11 45:4,8       28:22 45:5,15 47:22         37:14,15 50:16        exposures (13)           fatally (1)
   114:4,13                 52:1,5 114:9,15,17        53:25 54:1 76:6        10:18,23,25 20:15        30:9
epidemiology (71)        evaluation (15)              85:4 103:3,5 104:13     30:4 33:7 36:7         features (1)
 26:14 35:7 42:17 43:9    14:18 16:11 32:19           108:3,5 109:22          38:20,24 54:15,17       70:7
   43:10,11,14,20,24        43:23,25 47:17            110:7,12,20 117:14      58:5 59:10             Federal (3)
   43:25 44:4,6,8,9,20      51:21 83:24 84:8          117:15,16,17          express (1)               73:20,21 74:8
   44:24 45:3,5,15,23       85:25 87:8 92:1        exhibits (1)              57:1                    feel (2)
   46:3,8 47:1,11,14        95:22 96:5 97:9         102:25                  expressed (1)             43:24 63:12
   47:16,21 48:3,4,11    evaluations (3)           exist (2)                 18:6                    FF (1)
   48:12,21 49:5,11       43:10,15 45:14            95:6 97:1               extended (1)              120:18
   50:4 51:18,25 52:7    everybody (1)             exists (1)                40:13                   fifth (1)
   67:7 74:15,19 76:17    104:10                    90:17                   extensively (1)           59:20
   76:20 78:25 79:20     evidence (28)             expected (1)              17:11                   figure (1)
   80:11,13,15,17,20      47:23,24 57:14 73:22      20:9                    extent (1)                32:4
   81:20,23 93:9,9          82:24 83:5,24 84:4     experience (3)            100:16                  fill (1)
   95:12,24 96:6,10,13      84:5,10,11,19,23        26:14 73:23 115:4                                 33:20
   97:17 98:5 99:10         85:20 86:1,14,21       expert (15)                         F             filled (1)
   107:19 113:20            90:19 92:16 95:8,15     8:14,19,24 18:11        fact (18)                 33:14
   114:6,8,9,16,18          96:11,14 97:10,15         46:25 50:3,20 52:1     6:3 18:10 23:19 48:13   final (2)
   115:4,5                  109:4 114:10,10           52:7 93:9 113:18         55:2,5 56:7 58:20      42:19,24
equally (1)              evidently (1)                114:22 115:1,5           59:9,24 61:10 92:25   finally (4)
 26:6                     91:8                        117:7                    93:3 107:12,23         58:20 104:10 106:13
ERRATA (2)               exacerbate (1)            expertise (4)               112:15 118:19,25         106:15
 3:6 122:1                29:5                      51:24 112:2 113:5       factor (5)               financially (1)
error (4)                exacerbates (2)              116:1                  32:11,13,22,25 76:14     121:18
 21:22,25 23:4,16         65:6 87:5                experts (5)              factors (5)              find (1)
errors (2)               exacerbating (2)           51:1 53:15 111:15,17     10:18,22,25 76:14        66:25
 55:2 61:11               63:8 65:4                   111:20                   84:13                 finding (7)
especially (2)           exact (8)                 Expires (2)              facts (1)                 37:11 38:19 41:23,23
 18:8 107:18              7:4 32:2,4 37:9 60:1,3    119:25 120:19            122:22                     90:4 99:13,24
ESQUIRE (3)                 60:12,14               explain (2)              fair (16)                findings (4)
 2:5,11,11               exactly (3)                36:3 113:13              9:25 10:16,21 11:1       36:23 68:1,10,19
essential (1)             31:18 60:9 64:25         explained (3)               16:23 17:9,17 18:25   fine (1)
 70:7                    exaggerated (1)            13:10 96:18 97:19          19:22 23:2 27:16       62:13
essentially (1)           23:18                    exposed (16)                74:25 99:7 105:21     fingerprint (2)
 64:23                   EXAMINATION (4)            21:9,17 33:21 56:1         107:10 115:7           73:17 75:4
established (2)           3:4,5 5:23 117:10           63:2,4,10 65:8        Fairly (1)               finish (1)
 22:4 73:17              examined (1)                 88:25 89:4,6,8,14      81:15                    41:14
estimate (3)              5:21                        89:15 90:15 93:22     false (1)                first (26)
 54:15 63:9 86:11        example (3)               exposure (66)             58:6                     5:21 8:9,11 16:20
estimated (1)             33:12,14 58:8             10:1,13 11:3,6,11       familiar (6)                17:21 18:18 21:2


                                       TSG Reporting - Worldwide       877-702-9580
           Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 39 of 50


                                                                                                             Page 6

   27:19 28:14 34:16        73:16 75:14 76:19     8:15,20 19:23 75:16     GMO (1)                 63:3
   35:21 39:11 42:10        77:21                   75:17 101:22          33:22                   guys (1)
   54:6 65:12 67:18      formulated (1)             103:11,11             GMOs (4)                108:18
   68:1,10,20 69:11       33:24                   generate (1)            33:25 34:14,15,20
   71:6 72:13 85:9       formulation (2)          104:2                   go (9)                            H
   91:22 103:5 111:2      33:24 96:22             generated (2)           9:10,17 12:13,13 13:8   H (1)
five (9)                 formulations (6)         69:22 107:21              15:13 30:19 81:5      3:8
 24:8 34:4 62:4,5         83:25 86:1,15 87:10     genotoxicity (4)          102:2                 half-truth (3)
   63:14 66:3 72:17         95:21 96:17           51:18,24 52:8 113:20    going (24)              51:4 112:16,19
   76:17,22              Fort (3)                 genotoxicologist (1)    7:13 9:1 12:19 14:25    half-truths (1)
five-year (2)             1:15 4:18,19            114:23                    15:4 21:5,12 26:18    50:23
 42:1,3                  found (6)                George (1)                29:5,6 37:15 46:13    halfway (1)
flaw (1)                  38:9,22 41:2 57:4,8     78:25                     46:19 48:8 56:3       111:11
 21:19                      92:16                 get-go (1)                59:11 61:19 65:2      hand (4)
flawed (56)              foundation (4)           21:20                     70:14 72:22 76:6      5:15 7:11 8:6 110:6
 11:6 20:14,18 29:3,4     67:10 73:10 79:22       getting (6)               102:15 110:6          handed (1)
   29:4,12 30:6,9,9         80:21                 12:3 34:2,5 58:7          119:13                27:11
   31:10 55:23,25 56:1   four (3)                   81:11 115:12          good (11)               handing (2)
   56:3,15,15,16,17,19    1:14 4:18 41:22         ghost (1)               29:10,25,25 62:25       7:20 85:11
   57:19 63:5,12,13      fourth (2)               82:21                     74:24 81:24 111:25    Hang (1)
   65:2,2,3,5,11,14,17    42:10 83:21             give (9)                  114:2 115:12          61:17
   65:19,24 66:22 70:9   frame (1)                5:17 8:18 12:18 67:21     116:15,15             happen (1)
   70:12,13,14,21 71:6    37:10                     67:21 102:1,2 114:7   gotcha (1)              20:1
   71:17 72:2,3 86:23    free (1)                   115:2                 18:24                   happened (1)
   86:24 87:6,7 90:11     49:6                    given (4)               gotten (1)              61:19
   92:20,23 94:5,14      front (1)                66:25 69:14 71:20       113:22                  happens (1)
   95:19,19 109:17,18     103:1                     102:1                 government (4)          8:3
flaws (2)                full (6)                 gives (2)               73:20,21 74:9 77:4      harassment (1)
 18:14 96:24              18:19,19 39:11 51:3     56:17 109:18            graduated (1)           48:19
Florida (7)                 85:9 96:6             giving (2)              114:1                   hate (1)
 1:15 4:3,19 120:3,7     fully (1)                50:23 103:11            Gray (1)                112:5
   120:17 121:3           50:24                   glyphosate (77)         69:16                   hazard (9)
focused (1)              fund (1)                 3:17 6:14 7:1 12:1,9    great (3)               51:14,21 52:3,6,9
 44:24                    116:5                     13:12,21 14:5,11,14   16:2,14,17                95:20 96:21 113:17
folks (1)                funded (7)                 15:19 17:24,25 18:1   greater (1)               114:25
 109:15                   73:3,8,19,23 74:1         18:2,12 25:3,13       42:12                   hazardous (1)
follow (1)                  103:19 115:18           26:2,6 33:23 35:20    greatly (1)             86:11
 116:15                  funder (1)                 36:23 37:1,5,18       33:24                   head (3)
follow-up (9)             74:3                      38:10,21,22 39:13     Greenwald (5)           15:10 73:7 99:9
 3:15 26:22 33:4,6,9     funding (7)                49:11,20 57:14        3:25 50:8 109:23        headquartered (1)
   37:9,10 102:22         6:12 75:2,7,8,11          58:13,24 59:2,6         110:25 111:3          4:24
   117:21                   91:25 92:8              65:23 66:22 82:25     group (10)              health (45)
following (2)            further (4)                83:25 84:16 85:21     11:25 12:6 14:4 24:6    3:11,15,18 6:5,7,8,11
 34:5 58:24               40:6 86:20 104:11         86:1,14,21 87:1,9       64:20,20,23 104:20      6:15 7:2,5 8:2 9:5
follows (2)                 121:14                  88:19 89:1,15,16,18     106:16 107:3            9:11,12 11:16,19
 5:22 37:4               future (3)                 90:8,25 92:17 95:13   groups (1)                12:8,11 14:15,19
forced (1)                13:5 30:23 31:8           95:21,21 96:16,16     64:19                     15:18,22 16:3,15,25
 51:1                                               96:22,22 97:16        guarantee (2)             17:19 20:12,17
foregoing (1)                      G                99:14,25 101:11,17    75:10 116:18              26:23 30:24 35:23
 122:22                  Gabriella (2)              104:18,24 105:2,14    guarantying (4)           36:21 37:19 62:20
forgot (2)               6:24 78:18                 105:22 106:18,20      115:21 116:10,13          63:6 64:6 73:13
 48:11 78:3              gathered (1)               107:13,25               117:3                   74:15,19 75:1 79:19
form (14)                67:8                     glyphosate-based (3)    guess (6)                 80:4 103:22 104:7
 6:17 22:24 26:13        gathering (1)            83:25 86:14 87:9        27:7 30:16 32:17 78:3     117:22
   31:23 33:21 35:14     21:20                    glyphosate-exposed...     94:20 107:22          heard (2)
   37:7 45:6,25 73:10    general (8)              98:4,8                  guesstimate (1)         67:23 68:7


                                         TSG Reporting - Worldwide   877-702-9580
          Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 40 of 50


                                                                                                              Page 7

Heather (3)             6:2                       72:6 74:1                24:12 92:23                8:2 9:11 11:16,18
2:11 3:24 5:9           hope (3)                 impression (1)           incomplete (3)              37:22 38:2 73:12,13
held (2)                74:13 75:6,10             75:16                    25:4 110:21 112:7          74:18 76:8,21 77:2
4:17 107:17             hopefully (1)            improper (2)             inconsistent (1)            77:15,18 78:1,20
help (3)                75:8                      55:16 62:15              86:18                      79:10 86:20 99:11
45:9 81:6 114:13        Hopkins (2)              improperly (3)           incorporated (1)            103:21 116:23,25
helping (1)             79:20 80:2                28:23 82:12,18           105:22                  instruct (3)
114:5                   hours (2)                improved (5)             increase (2)              13:6 47:3,6
Helsinki (1)            8:25 102:12               11:2,10,14 30:23 31:7    33:25 42:9              instructed (1)
108:4                   human (13)               impuate (2)              indicate (1)              47:16
Heltshe (23)            21:18 35:23 58:9,21       29:11 30:1               33:4                    insufficient (2)
3:13 24:22 25:15,17       74:15,19 82:24 83:5    imputate (1)             indicated (3)             87:18,23
  25:24 26:1,19 27:11     84:8,19 106:18          30:1                     55:25 62:25 63:17       intend (1)
  30:10,15 35:2 53:20     107:14,25              imputation (40)          indicating (1)            13:19
  62:8 63:14,22 64:4    humans (25)               3:13 23:22 24:8,17,23    111:19                  intended (2)
  65:11 69:25 70:3      47:23,25 48:1,2 57:15       25:10 26:21 28:15     indications (1)           4:10 88:1
  117:12,18 118:13        83:6,11 84:1,10,11        28:17,21 29:2,5,9      58:14                   interest (3)
  118:21                  84:17,17,19 85:21         29:15 30:21 31:7,10   individual (2)            64:9 103:24 109:2
herbicide (1)             86:2,15,17,22 87:2        31:20 34:22 53:19      52:1 75:18              interested (1)
21:14                     90:20,25 95:9 96:17       54:5,23 55:5 56:16    individually (1)          121:18
high (2)                  96:23 97:16               57:5,10 59:4,24        97:12                   interfere (1)
74:21 76:13             hung (1)                    61:9 62:18 63:1,22    individuals (2)           4:13
high-quality (1)        60:11                       64:5,22 70:6,13        24:4,7                  interim (1)
74:24                                               87:5 108:21 109:1     infallible (1)            64:10
higher (1)                          I               117:20                 74:20                   intermittent (1)
89:13                   IARC (27)                imputations (1)          inflate (2)               58:4
highly (1)               11:22 13:20,24 18:1      64:8                     21:25 23:5              International (1)
107:4                      22:10 23:11 24:6      imputative (1)           influence (1)             43:18
hints (1)                  46:25 47:3,10,12,14    60:25                    75:9                    interviews (1)
58:14                      47:15 48:17 49:8,19   impute (7)               influenced (1)            24:19
HL (1)                     49:19,20 52:18         30:2,3,4,7 56:1 63:9     82:18                   introduce (1)
35:17                      97:21 104:14 105:5       65:1                  information (15)          5:2
hoc (1)                    105:10 106:16         imputed (1)               21:1,20 43:7 59:6       introduced (1)
80:12                      107:12,23 114:7        56:3                       67:25 68:9,19 87:6     69:9
Hold (1)                icity's (1)              inaccurate (3)              95:4 96:1 99:18       introduction (2)
48:8                     52:8                     28:25 29:12 56:5           100:5 103:11 104:6     27:24 29:22
Hollingsworth (76)      idea (1)                 inadequate (2)              104:9                 invalid (16)
2:9,11 3:4,5 5:6,6,7     110:3                    47:25 95:23             informative (1)           28:19 65:11,13,20,20
  5:10,24 7:11,15 9:1   identification (12)      Incidence (3)             107:4                      65:24 66:23 67:17
  9:4,9 12:5,15,24       7:17 15:6 26:17 37:14    3:18 7:2 37:19          initial (29)                67:17,25 68:1,9,10
  13:9 14:3 37:12,24       50:16 51:15 52:9      Incidents (1)             8:10,11,20 17:23           68:18,20 69:10
  41:16 46:12,15,24        54:1 85:4 110:12       6:15                       20:13 40:13 66:8      invalidated (2)
  47:6 49:4,10,17          113:17 115:1          include (1)                 71:23 82:23 83:3,24    59:10 72:3
  50:1,14 55:15 60:4    identified (4)            25:1                       84:7,18 85:11,20,25   investigated (1)
  60:17,20,22 61:4,22    47:13 50:3,6,19         included (8)                86:8 87:11,13 91:1     105:4
  62:1,14,16 66:17      identify (5)              27:6 63:19,20 71:22        91:4,5,9 93:20 95:1   investigations (1)
  72:9,16,20 73:2        45:16 52:6,18 53:25        95:20 104:17 105:3       95:9,16 96:4 101:3     74:24
  85:1,5 98:20 100:24      71:19                    109:24                initially (4)            investigator (1)
  102:7,11,13,25        identifying (4)          includes (1)              30:6 55:24 56:14         99:1
  104:23 108:4,7,10      42:20 50:17 52:2 81:6    13:12                      87:11                 investigators (2)
  108:12,15,20          impact (5)               including (12)           insight (2)               80:4 116:14
  109:23 110:19,25       24:24 48:16 76:13,14     12:1 14:5,10 25:11       17:2,13                 invited (3)
  111:4 112:1,6,18         101:21                   38:10 57:10 74:17     insist (1)                48:20 49:9,20
  113:2,4,8 115:25      impacts (1)                 90:9,23 92:18 95:6     116:14                  involvement (1)
  116:12,20 117:6,11     25:10                      95:24                 Institute (29)            109:21
honest (1)              implies (2)              inclusion (2)             6:6,7,8,10,11,14,20     involving (3)


                                     TSG Reporting - Worldwide       877-702-9580
           Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 41 of 50


                                                                                                                Page 8

   57:18 82:25 101:11     keeping (1)              lawyer (1)                13:11                    11:21 16:1 17:6 38:7
issue (7)                 72:12                     105:25                  line (2)                   40:15,15 58:18
 21:6 31:9 36:20,20       kind (1)                 lawyers (1)               48:9 122:5                85:14 92:15 103:8
   47:8 58:13 111:18      51:13                     112:23                  lines (1)                looks (1)
issued (1)                kinds (2)                lead (10)                 13:22                    103:20
 103:14                   39:4 58:22                6:24 20:16 33:13        linked (1)               lot (1)
issues (1)                knew (4)                    44:23 54:16,24         40:6                     104:5
 97:18                    61:1 79:24 80:12,18         55:20,22 60:7 83:23   list (2)                 low (3)
                          know (55)                leads (1)                 33:7 77:9                58:7,14 59:1
           J              6:3,5 8:21 10:2,3 21:4    56:4                    listed (3)               lymphoid (3)
Jameson (23)                21:12 30:25 35:4       led (5)                   43:16 71:25 78:1         38:10 90:9 92:18
 1:10 3:3 4:7 5:20 8:14     36:5,13,18 37:9         25:9 55:2,5 59:9        listing (1)              lymphoma (12)
   13:6,19 17:18 19:7       38:23 40:11 50:13         61:10                  45:11                    36:6 58:10,23 84:17
   19:15 48:17 51:6         51:7,13 57:3,7,8,11    LEE (1)                  lists (1)                  88:5,8 89:3,8,14
   61:17 82:23 85:9         57:13,17 58:8 60:1      120:4                    6:10                      92:19 99:15,25
   102:22 108:22            60:3 65:7,9 69:18      leeway (1)               literature (5)           lymphomas (1)
   112:25 119:12            78:9,10,13,14,14,18     8:19                     67:6,7 68:17 101:9,10    58:19
   120:8 121:9 122:3        78:22 79:3,11,12,17    left (1)                 litigation (10)          Lynch (1)
   122:25                   79:21 80:3,16,19        102:8                    1:3 53:16 55:4,8         82:2
Jameson's (2)               82:16 87:22 90:15      left-hand (7)               67:24 68:8,13,15
 3:21,22                    91:7 93:6 97:9          24:2,14 31:3 37:21         104:25 122:3                    M
January (7)                 104:5 105:8 108:13        39:10,16 103:15       Litigations (1)          main (4)
 1:13 4:20 55:11 120:9      119:7                  legal (2)                 4:15                    24:24 25:11 54:19,19
   120:10 121:20          knowing (2)               4:23 51:5               little (3)               major (4)
   122:4                  78:17 79:2               legitimate (1)            8:19 66:25 109:4        21:19 24:24 25:10
JCNI (1)                  knowledge (4)             118:11                  LLP (2)                    26:15
 77:5                     51:6 69:23 74:23 76:3    let's (6)                 5:7 110:25              making (3)
Jeff (2)                  known (3)                 8:13 9:10 33:22 34:15   logistic (2)             43:10 45:14 87:6
 2:16 4:22                47:20 80:22,24              104:13 108:3           69:24 70:5              malathion (33)
JNCI (9)                  Koutros (1)              letter (16)              logo (1)                 3:12 12:2,9 13:14,20
 38:2 56:24 77:9,14,16    79:3                      3:19 50:7,18 51:8        103:17                    14:6,11,19 15:2,3,9
   79:8 116:20,22                                     57:17 60:22 61:18     long (5)                   15:13,15 18:3,5
   117:3                            L                 109:23,25 110:1,4      67:4 72:9 80:23,24        19:19 22:9 23:9
job (2)                   L (6)                       111:4,9,19,24 112:9      118:12                  24:1 25:3,12,16
 1:25 45:16                1:23 4:1 120:6,16       leukemia (1)             look (59)                  26:3,7 104:14,16,24
Joe (2)                      121:6,23               58:22                    6:13,18 7:22,22 9:16      105:2,12,13,21
 2:11 5:6                 laboratory (2)           leukemias (1)               14:19,22 15:4,16,21     106:2,20
Johns (2)                  43:14 116:15             58:19                      18:4,17 22:7 23:25    malignancies (2)
 79:20 80:1               lack (3)                 leukemogen (1)              24:2 26:8 28:13       38:10 90:9
journal (13)               38:14 40:2,4             58:9                       32:1 33:3,16,16       malignancy (1)
 76:7,11,12,20,21 77:1    lag (6)                  level (1)                   37:20 39:9,9,19       92:18
   77:15,17 78:1,15        41:4 42:2,3,5,9 46:11    89:7                       41:22 51:17 52:14     mark (5)
   80:17 116:23,24        lagged (7)               Liability (3)               54:4 57:1 59:7,13     14:25 26:18 37:15
journals (4)               40:5,10,12,17,22         1:3 4:15 122:3             60:12 61:16 64:1        85:2 110:7
 76:15,18,23 77:25           41:11,14              limit (1)                   75:18 77:24 83:16     marked (10)
judge (6)                 Lakewood (1)              50:25                      83:19 86:8 88:3       7:17,18 15:6 26:17
 48:15 49:3,22 66:4        2:5                     limitations (1)             89:21 91:3,10,13,15     37:14 50:16 54:1
   112:13,20              large (6)                 92:1                       91:19 94:18 99:17       76:6 85:4 110:12
July (1)                   4:3 6:4 29:16 38:8      limited (21)                99:18 100:2,3 102:2   Marketing (1)
 111:11                      58:17 62:19            8:21 47:24 82:25 83:8      103:14 104:13         104:1
                          largest (4)                 83:10,12 84:5,9,11       107:2 108:3,5,17      Maryland (1)
          K                5:25 6:2,3 9:18            84:20,23 85:20 86:6   looked (10)              114:1
K-o-u-t-r-o-s (1)         latency (2)                 90:19 95:8,14 96:3     16:21 18:2,15 26:1      master's (1)
79:5                       40:18,25                   96:11,14 97:15           37:1 57:2 75:22       79:19
keep (1)                  Law (1)                     114:10                   79:14 91:9 106:6      match (1)
46:13                      2:4                     limiting (1)             looking (10)             111:23


                                        TSG Reporting - Worldwide      877-702-9580
          Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 42 of 50


                                                                                                           Page 9

material (5)            97:12                    10:18,22,25             6:6,7,7,11,14,20 8:1    NIHS (5)
42:21 47:18,21,22       metabolite (1)           moneys (1)                9:11 11:16,18 29:16   9:18 44:10 45:7 81:3
  48:5                  94:11                    73:15                     37:21 38:2 45:2         81:8
materials (1)           method (21)              moniker (1)               73:12,12 74:17 76:7   NIS (1)
43:16                   20:25 23:22 24:9,17      114:24                    76:21 77:1,15,18      106:11
matter (1)                24:23 31:11,20 40:3    monograph (26)            78:1,20 79:10 81:10   nodding (1)
4:14                      54:11,13 55:5 59:5     3:12 11:25 12:6,8,10      86:20 99:1,10         73:7
MDL (2)                   59:24 60:6,25 61:9       13:12,18 14:14,24       103:21 116:23,24      nominations (1)
1:3 5:13                  63:2,23 64:5,22          15:2,3,9,15,19 18:2   nature (3)              114:14
mean (26)                 70:13                    18:7 22:10 23:9       21:18 58:4 60:25        non-Hodge (1)
16:21 19:10 21:13       methodology (9)            25:16 104:14,17,18    NCI (21)                36:5
  31:6 46:1 47:20       15:2 20:11,17 28:21        105:12,13,23 106:2    23:23 31:22 37:4 38:4   non-Hodgkin's (12)
  51:19 53:8,11 56:7      34:22 53:19 54:23      monographs (6)            54:20 57:2,14 59:11   36:5 58:10,23 84:17
  56:22 60:19 61:25       57:5,10                52:18 104:24 105:6,7      73:4 74:11 75:23        88:5,8 89:3,7,14
  75:8 77:3,11 78:14    methods (7)                105:15 106:23           76:5 78:6 82:3,7,20     92:18 99:15,25
  78:23 90:14 93:7,8    11:2,10,14 13:15         Monsanto (14)             88:4 91:23 98:3,8     non-responders (12)
  94:7 97:25 100:13       31:12 38:18 57:5       2:8 5:8,10 73:8,14,18     104:8                 3:14 26:22 54:15 60:7
  106:19 118:10         metrics (2)                73:24 75:4 76:1,2,3   near (1)                  63:3 109:10,14
meaning (2)             38:15 40:4                 82:15,18,21           13:5                      117:21 118:1,6,19
24:18 110:3             microphones (2)          Monsanto's (7)          necessarily (3)           118:25
meant (1)               4:8,12                   102:6,23 105:25         23:6,19 41:8            noncarcinogenic (1)
94:10                   Miller (1)                 106:15 111:17         need (9)                48:2
measured (5)            109:25                     112:15,23             13:7 14:22 17:18 19:6   nondifferential (13)
76:14 109:11 118:2      mind (3)                 Montgomery (1)            34:7 49:3,22 64:1     21:23,24 22:4 23:4
  118:21 119:1          11:23 56:8,11            109:3                     110:16                  32:6,14,23 34:23
mechanism (1)           minute (1)               month (1)               needs (1)                 35:5,9,10 36:1,18
113:20                  6:22                     56:23                   34:11                   nonexposed (1)
mechanistic (3)         minutes (6)              morning (3)             negatives (1)           89:8
43:15 51:18 114:22      72:13,14,17 102:12       49:24 102:24 106:1      58:6                    North (5)
media (4)                 102:14 117:9           move (3)                neither (1)             80:11 98:15,16,18
4:6 46:18,22 119:11     miscalculation (1)       32:25 109:22 112:17     25:10                     99:13
medical (2)             55:2                     multiple (13)           never (7)               Northern (2)
67:6 68:17              misclassification (20)   3:13 26:21 28:14,17     44:6,13 45:18,22        1:1 4:16
meet (2)                22:16,19 32:7,14,23        28:21 29:14 30:21       46:10 80:14 112:8     Notary (4)
95:7 96:2                 33:12 34:23 35:5,6       31:6 54:5 62:18       New (1)                 4:2 119:25 120:7,17
meeting (3)               35:11,15 36:17,20        64:8 70:6 117:20      4:24                    note (1)
18:7 23:11 47:15          54:16,24 55:5,20       Myers (3)               news (1)                4:8
meetings (1)              59:10 60:8 61:11       1:15 4:18,19            8:1                     Noted (1)
52:18                   misclassifications (3)                           NHI (1)                 55:17
meets (5)               18:9 35:25 55:22                   N             95:6                    notes (1)
83:10 90:18 95:13       misclassified (1)        N (1)                   NHL (23)                121:12
  96:13 114:8           36:8                     3:1                     35:12 36:19,19 38:11    noticing (1)
member (5)              missing (12)             N-A-P-P (1)               39:14 40:6 87:18      5:3
14:9 47:13,15 48:20     25:10 26:11 27:16,22     98:13                     88:6,18,25 90:9       November (1)
  49:9                    28:7 29:16 36:12       N.W (1)                   93:1,21,23,24 94:17   55:10
members (1)               62:19 64:15,16         2:10                      94:22 98:4,8,10,22    null (9)
107:18                    109:2,5                name (2)                  101:12,17             32:8,15,25 33:13
memory (10)             misstates (3)            4:22 51:10              NIEHS (7)                 41:23 90:3,3 99:13
14:24 17:21 21:12       16:9 22:3 99:16          names (1)               6:7,11 10:11 11:7         99:24
  26:10 32:2 43:6       misstating (2)           75:22                     73:4 103:22 104:7     number (19)
  61:24 62:12 77:6,12   50:10,23                 NAPP (8)                NIH (21)                3:9 7:19,19 14:7
Menton (2)              mixed (1)                98:10,15 99:1,18,24     3:10 73:6,11,19 74:1      46:18,22 71:2,14
2:16 4:22               34:5                       100:7,10,16             74:5,6,11 75:11,19      87:18,23 88:6 89:13
met (2)                 model (4)                narrower (1)              95:6 103:14,18,19       93:23,24 94:25 95:3
84:9 97:13              64:9,15 69:25 70:6       111:20                    115:15,18,21 116:2      103:25 117:16
meta-analysis (1)       modify (3)               national (32)             116:4,4,10              119:11


                                      TSG Reporting - Worldwide     877-702-9580
          Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 43 of 50


                                                                                                         Page 10

numbers (5)               92:6,13 116:8           101:22 111:9          3:17 6:9,18,21,23 7:1   people (28)
89:19,22 93:11,13,19    okay (119)              opportunity (6)           19:14,21 24:21        30:4 36:4,8,19 44:11
                        6:22 7:14 8:11 9:3,25   56:25 67:22 69:1,14       25:15 26:6,10,24        44:14 45:3 56:1,25
            O             11:24 14:2,4,23         71:20 102:2             27:1,9,10 28:14         63:1,10 65:8 67:4
OATH (2)                  15:16 16:19,23        opposed (1)               31:1,15,25 32:1,10      69:1 70:23 71:2
3:5 120:1                 18:16,24 19:8,18,25   19:25                     33:17 34:8 37:8,16      76:1 81:6,22 88:18
object (25)               22:5,5 23:2,8 24:5    order (2)                 38:6,7,12 39:25         89:4,6,14,18 90:15
6:17 9:22 22:24 25:4      24:16,20 26:11,25     110:8 115:2               40:18 42:22 43:25       92:24 103:25
  26:9,13 31:21,23        27:10 28:12 30:15     original (8)              44:20 49:5 54:20,21     105:12
  35:14 37:7 45:6,25      31:5,16 32:18 35:4    3:22 24:19 31:13 37:5     55:12 56:22 57:1,6    percent (5)
  48:9 55:15 62:14        36:15 37:12,17          84:24 85:2 86:25        57:9,14 58:1 59:7     31:13 64:20 76:17,22
  65:25 71:8 73:10,16     38:25 39:9,22,22        111:18                  59:13,15 60:2 62:22     109:15
  75:14 76:19 77:21       41:7,10,21 42:7,22    outcome (2)               64:7 65:9 67:3 68:3   performed (2)
  77:21 93:12 101:6       44:13 46:8 47:8       75:9 109:2                68:21,25 69:1,15,16   81:9,12
objected (1)              49:7 51:12 55:19      outline (1)               70:2 71:16,20 77:5    period (8)
91:18                     62:8,17 65:13,15,18   18:14                     79:8 83:23 86:23      40:13,19,22 41:4
objecting (1)             67:23 70:11 72:9,16   outlined (1)              87:15 90:24 92:9        64:10 108:25 116:7
110:20                    72:20 78:4,23 81:1    102:5                     93:1 94:21,24 95:7      116:8
objection (54)            83:20 85:2,14,16      outside (16)              95:18 100:3 103:10    perjury (1)
11:12 12:3 15:12 16:9     86:5,19 87:25 88:3    12:4 15:14 19:5 23:13     103:24 117:18         122:22
  19:2 22:3,13 23:13      88:17 89:21,23          48:9,22 52:23 55:4      118:12,18 119:3,4,5   permitted (1)
  25:1 28:2,10 29:20      90:13 91:9,12,13,20     55:8 65:25 67:23      papers (12)             24:12
  39:15 47:2 48:22        92:14,21,25 97:24       68:7,12,12,14 112:2   26:15 43:3,5,20 45:13   personally (5)
  50:5,12,22 52:23        98:2,2,12 100:4,7     overall (4)               51:4 61:2 69:5        43:2 44:15,19 80:14
  55:7 56:20 57:21        100:21,25 102:7,13    38:10 39:14 90:9 96:2     77:17 99:2,2 114:6      120:8
  63:16 67:10,20 68:3     103:4,13 104:1,11     overreaching (1)        paragraph (9)           pertain (1)
  68:11,21 70:25 71:7     104:11,15,20,23       64:8                    9:16 10:7 16:1 18:20    52:9
  71:18 72:5 73:25        105:16 107:8 108:3                              28:14 39:11,17 54:7   pesticide (17)
  75:3 77:10 78:8,12      108:8,12,15,24                   P              83:19                 3:14 10:1,13 11:3,10
  78:21 79:13,22          110:11 113:3,8        p.m (5)                 parathion (3)             16:4,16 20:13,16
  80:21 95:17 97:6        115:10 116:19,24      1:13 102:17,19          25:3,12 26:2              21:14,17 22:19
  99:16 100:1 101:20      117:12,18,24            119:13,14             part (15)                 26:21 33:7 70:16
  112:1,1,18 113:2        118:16 119:8          page (44)               6:20 13:16 14:17          109:3 117:21
  115:25 116:12         old (1)                 3:2,9 15:20 18:17         28:25 31:1 32:16,16   pesticides (11)
  117:6 118:8           63:7                      22:9 24:2 31:2 39:9     47:10 87:12 104:17    10:19,23 14:8,10 21:8
objections (2)          omit (1)                  39:16 41:19 54:4        104:20 105:9 114:6      24:25 25:11 40:6
55:16 62:15             86:6                      57:20 77:25 83:16       114:14 115:18           64:10 105:3,9
observation (1)         on-the-job (4)            83:17,18 85:9,10,17   participants (4)        Peterson (7)
25:9                    113:23 114:2 115:8        86:3,9 88:4 90:20     24:13 64:13,15 71:14    1:23 4:1,25 120:6,16
observed (3)              115:11                  91:1,14,19,23 92:4    participated (1)          121:6,23
39:13,22 86:13          Once (2)                  92:5 94:21 95:9,15    52:17                   petroleum (1)
obtain (1)              48:24 50:22               96:3,21 106:4,4       particular (5)          58:18
64:15                   oncology (1)              107:1,2 108:5,11      11:5 27:5 48:5 67:7     Ph.D (12)
obtained (1)            76:23                     111:11 117:14           71:20                 1:10 3:3 4:7 5:20 8:14
20:7                    one-page (2)              122:2,5               parties (2)               78:25 79:20 119:12
odd (1)                 3:10 7:19               pages (11)              121:15,16                 120:8 121:9 122:3
101:12                  online (3)              1:10 3:24 15:1,4        pass (1)                  122:25
odds (1)                55:10 56:23 57:25         106:3,4,4,5 110:11    117:8                   phase (7)
101:18                  onset (2)                 110:14 121:9          pattern (1)             24:7,13 64:11,11,15
offer (1)               20:8 40:14              paid (1)                58:25                     109:4,15
111:15                  opinion (9)             82:15                   paycheck (1)            phases (1)
officially (1)          11:4 48:3,7 75:13,15    panel (2)               74:8                    64:14
56:24                     97:20 101:22 114:7    45:2 47:11              peer (4)                phone (2)
Oh (10)                   115:3                 panels (2)              77:14,18,23 78:6        13:7 49:23
5:9 17:8 18:24 22:18    opinions (5)            45:10 47:11             penalties (1)           phones (1)
  39:22 46:12 69:6      48:13 57:1 68:14        paper (82)              122:22                  4:12


                                     TSG Reporting - Worldwide     877-702-9580
          Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 44 of 50


                                                                                                         Page 11

phrase (4)              23:19,20 109:9          procedure (2)           10:3 57:22 67:12          101:6 107:22
27:19 55:7 85:22          117:25                54:5 70:7                 69:20 77:6,12           118:11
  117:24                possibly (1)            proceed (1)             publish (2)             questioned (2)
pick (1)                63:1                    13:8                    59:12 116:25            71:1,13
4:9                     potential (3)           proceedings (1)         published (22)          questioning (3)
picking (1)             58:3 77:1 87:9          119:14                  6:9 8:9 30:17 36:22     48:9 91:17 107:20
22:14                   power (3)               process (2)               42:23 44:20 52:16     questionnaire (13)
piece (1)               93:4,7,8                77:19,23                  55:11 56:22 58:15     3:15 20:25 26:22 33:6
34:8                    powerful (1)            produced (1)              61:2 65:10 67:6,16      33:14,18 34:10,18
Pigman (14)             93:16                   112:7                     69:7 71:15 76:7         36:10,14 56:2,14
2:11 3:19,24 5:9,9      powers (1)              products (5)              77:17 118:5,13,18       117:22
  50:7,18 51:1 109:24   93:6                    1:3 4:14 33:23,24         119:6                 questionnaires (3)
  110:24 111:3,6,7,8    practices (2)             122:3                 publishing (1)          16:24 17:10 64:12
place (10)              116:15,16               profess (1)             117:3                   questions (14)
4:12 35:21 40:16        preclude (1)            114:20                  pull (1)                9:2,7 13:3,11,20
  65:12 67:18 68:2,10   51:25                   professor (1)           103:3                     41:14 48:14 53:12
  68:20 69:11 71:6      preparation (1)         80:10                   pulling (1)               61:20 102:22,23
plaintiffs (9)          45:9                    program (2)             19:2                      104:5,11 110:19
2:3 5:13,13 8:15 50:2   prepared (3)            45:2 81:10              purpose (4)             quick (3)
  68:16 111:15,19,21    8:22 13:23 102:4        project (5)             16:12 18:11 34:18       12:12,23 106:2
play (2)                Present (1)             64:21 98:17,18,19         40:11                 quote (17)
93:11,19                2:15                      99:13                 purposes (3)            9:18 10:12 11:9 16:2
played (1)              preserve (1)            proper (2)              35:6 38:5 104:25          27:22,22 63:18,19
32:19                   70:7                    29:11 63:2              pursuant (1)              83:12 85:20 90:7,19
please (27)             president (1)           prospective (5)         102:5                     95:8,14 96:3 107:3
4:8,11 5:2,4,14 7:11    80:19                   21:3,23 23:3 38:8       put (10)                  109:2
  12:13,18 15:21        press (5)                 62:19                 8:1 21:15 29:7 50:9     quoted (2)
  17:20 18:17 19:7      103:9,13,19,23 104:1    protocol (2)              87:16 103:23,24       117:13,25
  22:6,7 25:1,7 32:13   pressure (1)            111:13,14                 104:12 106:13,15
  37:13 55:6 60:2,13    104:8                   provide (6)                                                R
  61:20 63:21 66:18     prestigious (1)         60:2,13 61:18,20                   Q            R-o-o-s (1)
  83:18 84:24 108:25    79:25                     63:25 86:20           qualification (2)        66:2
plenary (1)             pretty (1)              provided (4)            49:7,12                 raise (2)
107:17                  106:10                  17:2,12,13 103:5        qualifications (2)       5:14 23:9
point (10)              previous (5)            providing (2)           48:11 82:7              raised (1)
13:5 35:8 56:18 59:22   21:9 40:7 43:11 44:10   51:4 60:16              qualified (3)            111:17
  64:25 65:21 66:19       48:12                 PTO (14)                43:24 81:16 99:8        random (1)
  67:15 69:7 70:19      previously (1)          12:25 15:14 19:5        qualities (1)            109:5
pointed (2)             21:9                      23:14 48:10,14,23     28:17                   ratio (2)
55:19 58:2              principle (1)             49:1 52:24 66:1       quality (9)              101:12,18
pointing (2)            64:8                      100:14,17 101:21      13:15 16:25 17:2,13     ratios (1)
89:12,19                private (2)               102:5                   74:21,22 75:12,20      58:7
Points (2)              73:8,14                 public (6)                116:16                RDR (3)
1:14 4:18               privilege (1)           4:2 75:16 79:19         quartile (2)             1:23 120:16 121:23
Pooled (4)              47:7                      119:25 120:7,17       42:10,10                re-interview (1)
98:16,16,18 99:13       probable (3)            publication (30)        quartiles (3)            24:8
poor (6)                106:18 107:14,25        6:10 9:12 10:11 11:7    39:1 41:22 90:2         reached (5)
33:5 63:5,8 65:5 72:7   probably (9)              16:12 27:4 30:17      question (32)            26:5 68:14 93:5 96:10
  87:4                  20:11 29:7 56:7 66:25     37:3,4 44:24 55:3     10:20 13:18 19:12,15       100:11
portion (2)               67:2 71:21 75:15,17     56:18 57:2,17,18,25     23:2,25 27:18 28:20   reaching (1)
12:10 22:9                76:24                   65:21 66:8,20 70:1      32:21 44:1 45:21       100:10
position (1)            problem (7)               70:20 71:4 75:23        46:5 51:5 52:20       read (28)
80:12                   26:12 27:16,23 28:8       77:1,8,9 78:23          53:3 55:18 60:23       9:20,23 17:18 19:6
positive (3)              29:2 63:8 65:5          82:21 101:16            61:8 62:23,23 64:3       22:5 25:7,16,24
86:12 101:13,18         problems (3)              118:23                  66:13,15,16 71:9,10      30:10 31:15 32:5
possible (4)            18:10 26:15 58:3        publications (6)          71:11 99:21 100:18       43:3 49:9 66:17


                                     TSG Reporting - Worldwide     877-702-9580
           Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 45 of 50


                                                                                                              Page 12

   67:23 68:7 70:2       recruited (1)             32:7,15,24 41:3,24         94:18 95:1,10,16       results (9)
   91:21 92:12 93:5       70:22                      42:1,5,9 58:12,14        96:4,7,13,20 97:1       24:24 25:11 28:19
   98:25 99:2,2 108:7    REDIRECT (2)                59:1 89:24 121:14        97:23,25 100:23           37:10 41:11 64:24
   108:24 111:12          3:5 117:10                 121:16                   101:3 112:25              65:16 72:3 109:18
   113:6 122:22          reduction (2)            release (3)                 114:12,14,16,18        retired (1)
reading (6)               30:23 31:7               103:9,14,19                121:8                   33:19
 10:3 30:25 31:1 38:16   refer (7)                releases (2)             reported (10)             retires (1)
   38:17,24               15:2 23:21 25:14 55:3    103:23 104:2             1:23 31:25 32:20          34:11
reads (1)                   69:16 105:12          relevant (4)                43:13,16 45:7 59:1     retrospective (1)
 16:14                      118:24                 49:12 51:17 52:5,8         97:12 99:12,23          22:20
real (3)                 reference (21)           reliability (3)          reporter (17)             review (19)
 12:23 45:4 59:2          12:9 14:21,22 27:2,5     17:1,12 75:12            1:24,24 3:6 4:2,25 5:4    13:21 14:10 43:14,19
realize (2)                 27:6,8,20,21 39:6     reliable (1)                5:14 66:19 98:13          43:24 45:3,10 47:16
 42:18 112:11               53:20 54:5 59:17       74:22                      110:8,10 120:7            55:13 69:16 77:18
really (6)                  63:17,19,20 70:4      relied (2)                  121:1,7,7,23,24           77:23 105:4,5 106:2
 12:12 32:1 57:1 69:2       71:23 101:1,3          94:16 100:16            reporting (4)                106:19 107:15
   109:20 112:4             105:22                rely (1)                  4:23 5:1 38:12 39:24        114:6 121:10
Realtime (3)             referenced (1)            100:10                  reports (5)               reviewed (2)
 1:24 121:7,24            27:3                    relying (1)               7:7 96:1 101:17           14:7 105:9
reason (4)               references (11)           42:23                      111:21,23              reviewer (3)
 62:24 82:6 85:25         25:21 26:20 43:6 62:3   remaining (1)            represent (3)              77:14,25 81:22
   122:5                    63:15 66:3 71:21,25    117:9                    5:3,7 111:4              reviewers (4)
reasonable (2)              72:1 102:1,3          remember (13)            representing (2)           78:6,16 81:7,19
 84:15,15                referencing (1)           13:25 18:6 21:13,16      5:10,12                  reviewing (4)
recall (33)               91:16                      21:18 27:15,18        reputable (2)              18:1 26:14 43:9 45:12
 12:2,7,11 14:1,4,13     referred (10)               77:13 79:23 80:1       74:11 76:10              right (71)
   14:20 19:1,17 20:1     7:6 9:4,5 12:7 15:18       83:1 87:24 107:1      request (5)                5:15 6:8 7:8 8:6,17
   20:5,8,15,16,19,22       18:3 22:8 45:2        remind (1)                60:1 63:24 102:6            9:8 10:10 13:22
   21:6,7 23:12 31:24       69:10 95:25            55:9                       111:22 112:24             14:11 15:11,23
   32:10 35:19 38:17     referring (22)           render (1)               requested (1)                17:20 20:20 21:20
   53:19 59:23 61:15      6:23 8:12,13,13 10:7     48:13                    121:10                      21:21 22:21 26:4,7
   78:2 81:21 100:6         10:17 17:14 19:19     repeat (5)               requirement (1)              27:24 31:18 32:3
   105:8 107:16             27:9,13 36:18 38:4     10:20 28:20 68:5         113:17                      38:2,15,21 40:21,24
   110:20 113:8             40:2 50:13 62:21         95:11 99:22           research (8)                 42:25 54:14,24
recalling (1)               69:3 83:2,3 85:8      rephrase (1)              43:19 115:19,22,23          59:18,19,21 61:7,22
 21:7                       91:3 100:20 118:22     32:21                      116:5,6,7,8               62:8 66:11 70:17
Recess (4)               refers (2)               report (99)              respect (6)                  73:4 76:8 79:8,9
 12:20 46:20 72:24        13:14 28:14              3:21,23 8:10,11,14,24    66:1 99:14 100:13,17        83:12 87:19 88:1,13
   102:17                reflect (3)                 9:2,6 11:22 17:23        104:25 105:17             88:14,19,20 89:21
recollection (1)          15:7 41:9 55:9             17:23,25 18:11,12     respond (5)                  90:2,3,5 94:12,17
 7:3                     refresh (5)                 23:21 25:14,22         30:5 56:2 67:4 69:2         94:19,23 99:19
recommendations (1)       14:24 17:21 26:10          26:20 27:2,13,21         109:15                    100:15 105:18
 69:18                      32:1 77:6                29:1 32:12,20 33:2    responders (6)               107:5,9 108:9,19
record (37)              regarding (1)               34:11,12 45:1,11,20    109:10,14 118:1,6,20        109:19 110:6
 4:11 12:13,14,19,22      99:24                      45:24 46:3 52:17         119:1                     112:23 115:7,14,15
   12:24 13:10 15:7      Registered (5)              53:22,24 54:4 56:21   response (2)                 115:17 117:22
   26:18 46:19,22         1:24 4:2 120:6 121:6       57:20 59:6,11,18       33:5 64:9                right-hand (10)
   50:10,17,23 51:5         121:23                   63:15 66:4 70:5       responsibility (2)         15:24 18:18,22,23
   52:14 53:25 55:9      regression (2)              71:23,24,25 72:1       43:13 114:15                37:23,24,25 91:23
   63:21 72:10,22 73:1    69:24 70:6                 75:23 81:7,20 82:4    responsible (6)              92:7 108:17
   99:16 102:15,19       related (1)                 82:23,24 83:2,3,4      45:12,18,22 46:2         rigorous (1)
   104:16 108:25          104:25                     83:14,17 84:7,18,22      52:16 81:8              77:18
   109:20 110:21,23      relates (5)                 84:25 85:2,11,24      rest (2)                  risk (15)
   111:12 112:8,12,17     1:5 18:8 25:2 52:2         86:7,8,12,16,18        25:2,7                    21:25 23:5,17,18 32:7
   117:13 119:13            113:14                   87:11,13 90:18,21     resulted (1)                 32:15,24 36:23 41:3
   121:11                relative (14)               91:1,4,5,9 93:2        28:24                       41:24 42:1,5,9 58:7


                                      TSG Reporting - Worldwide       877-702-9580
           Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 46 of 50


                                                                                                            Page 13

   92:17                  8:22,23 12:4,25 13:2    sensitive (1)            Signature (1)            106:23
risks (4)                   15:14 19:5 23:13       4:9                      119:21                 Sonya (1)
 58:12,15 59:1 89:24        48:10,18,22 49:1      sent (3)                 signed (4)               27:11
Robin (3)                   51:14 52:23 65:25      78:17 109:24 111:19      21:2,3,10 120:10       sorry (29)
 3:24 111:5,8               71:8 72:5 101:7,20    sentence (36)            significance (2)         10:20 22:15,18 28:12
role (1)                    102:5                  9:17 10:6 11:9 16:14     42:19,24                  28:20 32:21 34:1,15
 43:12                   se (2)                      16:20 17:6,8 18:18    significant (12)           37:24 39:8,8 46:12
Roos (9)                  13:20,21                   18:19 19:3,18 22:7     42:8,11,12,14,15,20       47:20 60:19 66:16
 66:1,3,6 67:3 87:12     second (14)                 22:8,11,17,18 23:1       64:18 86:12 89:13       67:2 68:5,5,13 77:7
   87:17 93:21 97:2       9:17 10:6 12:18 15:23      24:3 25:2,8 28:13        101:14,19 118:7         78:3 87:22 92:13
   119:3                    17:6,8 18:19,19          29:18,19 31:2 39:12   significantly (2)          95:6,6,11 97:7
Roundup (3)                 22:7,11 39:17 54:7       40:1 83:21,22 85:10    89:13 94:25               101:15 109:8
 1:3 4:14 122:3             83:18 93:18              85:14 91:22 108:6     signs (1)               sort (3)
ruled (1)                section (16)                108:22,24 117:13       58:25                   105:25 106:5 108:18
 84:13                    13:11 14:14,17,19          117:24                similar (4)             sounds (4)
                            15:19 17:19 18:2,16   sentences (2)             58:12,25 97:22,22       31:24,24 32:9 94:19
            S               19:6 23:9 24:1,23      22:14 25:4              single (2)              source (4)
S (1)                       25:16 81:20 88:5      serious (5)               67:15 69:8              6:12 75:6,8,11
 3:8                        91:21                  54:16 55:20 59:10       sir (32)                sources (1)
Sander (2)               sections (2)                60:8 61:10             5:25 7:18 8:5 9:10      75:2
 80:5,5                   111:23 112:25           seriously (7)               15:11 24:2 25:14     South (2)
Sandler (6)              see (65)                  55:23,25 56:15,16,19       26:24 37:20 39:10     1:14 4:19
 79:17 80:7,8,10,16       6:18 8:5,13 9:14 10:6      57:19 63:13              41:24 44:5 46:9      space (1)
   81:24                    10:14,15 11:7 16:5    serve (4)                   50:17 53:12,21,23     66:1
SARASOTA (1)                17:4 18:21 22:25       12:6 45:10 81:6,21         54:2,3 62:3 67:1,5   speaking (1)
 121:4                      23:1 24:10,15,19,21   served (2)                  73:3 81:18 83:16      105:16
sat (1)                     24:25 25:5,6 26:24     11:25 77:14                85:15 89:10,22       specialist (3)
 47:12                      27:19 28:15 29:18     session (1)                 92:10 94:22 117:15    4:23 50:19,20
saying (9)                  29:19 31:4,17 39:12    107:17                     118:14               specialties (2)
 17:5 31:6 40:21 48:4       40:8,9 41:10,24       set (4)                  sit (1)                  50:25 111:20
   49:18 97:14 98:21        42:1 50:21 51:8,10     51:2 83:10 84:7 90:20    17:9                   specialty (1)
   112:4 114:8              54:5,10,11,17 59:7    Setting (1)              sitting (5)              51:9
says (31)                   59:13 60:12 84:2,24    68:23                    55:11 62:10 66:24      specific (2)
 6:19 9:21,24 10:15         85:22,25 86:3,4       SHEET (2)                   71:19 99:19           32:10 111:16
   14:17 16:1,17 19:13      88:5,7 89:24 91:22     3:6 122:1               situation (2)           specifically (3)
   19:21 25:6,12 27:25      92:9,15 94:18 99:17   Sheraton (2)              33:13,19                26:1 49:10 95:13
   39:12 42:23 47:18        100:2,25 108:22        1:14 4:18               six (2)                 speculate (1)
   55:4 56:18 57:19         111:2,7,7 112:21      shortly (1)               78:11 105:7             47:2
   65:21 66:20 67:16        118:3                  40:16                   skeptical (1)           speculation (1)
   68:17 69:8 70:20      seen (5)                 show (5)                  69:19                   47:4
   71:5,16 85:15 86:16    19:4 57:11,16,22         6:22 14:25 42:22 71:5   sketch (1)              speculative (9)
   117:25 118:15,19         110:1                    108:18                 79:15                   54:11,13 59:6,24 60:6
scenarios (1)            selected (1)             showed (6)               slight (1)                 60:6,11,25 61:9
 23:5                     31:13                    97:9 108:4 109:3,23      13:2                   sponsored (1)
scheduled (1)            selection (1)               111:5 112:15          small (5)                6:6
 116:25                   109:4                   shows (4)                 58:11 87:23,25,25      spouses (2)
science (1)              selections (1)            47:18 101:13,18            93:23                 16:4,17
 81:25                    111:22                     106:3                 sole (1)                stands (3)
Sciences (7)             self-reported (1)        sic (1)                   74:3                    90:23 96:20 116:22
 6:8,12 8:2 9:12 11:19    22:21                    108:5                   solely (3)              stapled (1)
   73:13 103:22          send (1)                 side (2)                  44:24 45:22 46:1        110:15
scientific (10)           78:15                    18:22,23                solid (3)               stapler (1)
 74:22,24 75:17 76:10    sending (1)              sign-up (1)               90:8,8 92:17            110:16
   76:12,14 77:25         111:6                    20:13                   somebody (1)            start (7)
   78:15 84:15,16        sense (1)                signatories (1)           71:1                    4:5 7:13,24 12:23
scope (20)                46:7                     109:25                  someplace (1)              30:6 91:17 101:9


                                      TSG Reporting - Worldwide       877-702-9580
           Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 47 of 50


                                                                                                             Page 14

started (9)              strong (2)                  117:22 118:20          72:7                    term (5)
 33:22 34:1,14,15         35:8 58:22              subgroup (7)             survey (1)                29:11 54:13 84:23
   52:12 67:12 70:15     studies (37)              14:9 15:11 47:14,15      64:21                      95:14 96:2
   70:15 112:4            19:25 20:1,3,6,9,22        48:20 49:11 107:19    surveys (2)              terms (1)
starting (5)                20:23 21:24 22:22     subject (1)               29:16 69:9               93:8
 5:3 48:18 71:17            23:16 26:12 27:17      111:16                  swear (2)                test (6)
   111:12,12                27:23 28:22 29:17     subjects (3)              5:5,16                   16:25 31:19 61:22,24
starts (2)                  29:24 37:5 44:8,9      21:2,3 33:7             sworn (3)                   62:12 89:17
 83:22 108:21               51:19 62:20 69:10     submitted (1)             5:21 119:22 120:9       Testable (1)
state (27)                  74:22 75:18 86:13      76:25                                             109:7
 4:3 5:3 9:25 10:11,16      93:25 94:3,16 95:5    SUBSCRIBED (1)                       T            testified (4)
   10:21 11:1,13 16:23      95:25 96:2 97:11,11    119:22                  T (1)                     5:21 19:4 115:14,17
   17:9,17 18:25 23:3       97:13,17 114:5,6      subsection (1)            3:8                     testify (1)
   27:16 29:14 64:7      study (189)               15:23                   tab (4)                   49:12
   70:5 74:25 83:14       3:11,16,18 6:1,3,4,6    subset (1)                7:12 37:12 50:14        testifying (5)
   84:4 85:24 86:11         6:12,13,16 7:2,5       31:13                      108:13                 9:22 11:12 16:7 29:20
   90:25 120:3,7,17         8:22 9:5,18 10:3,12   subtypes (4)             table (5)                   39:15
   121:3                    10:16,17,21 11:1,6     38:11 39:14 90:10        41:10,17,18 88:6        testimony (5)
stated (12)                 11:9,21 12:8,11          92:19                    89:22                  5:16 16:10 22:3 96:25
 11:8 36:21 50:24           13:17 14:15,19        successful (1)           take (14)                   111:15
   57:19 72:2 82:24         15:18,22 16:3,15,25    11:5                     18:4 31:13 33:1,19      tests (2)
   85:19 96:12 106:22       17:19 18:5,13,14,20   sufficient (3)              35:3 40:12 41:13       17:1,11
   111:9 113:15             18:24 19:1,16,23       47:23 96:2 114:10          46:15 64:1 72:17      Thank (3)
   122:22                   20:8,12,18,20,24      suggest (3)                 87:25 93:2 96:19       72:20 109:12 119:8
statement (12)              21:4,10,19,23 23:3     73:22 109:13 112:10        114:23                Thanks (1)
 23:6 27:4,5,7 29:23        23:23 26:23 29:10     suggestion (1)           taken (4)                 85:7
   54:10 55:3 62:18,24      29:14 30:5,8,22,24     55:1                     4:1 51:19,20 64:21      thing (5)
   85:8 106:24 112:19       31:11,12,22 33:3,4    summary (1)              takes (1)                 19:22 51:15 87:14
states (9)                  35:16 36:22,22,25      91:1                     34:24                      100:15 116:16
 1:1 4:15 9:18 24:17        37:4,11,19 38:5,8     supplemental (32)        talk (8)                 things (4)
   27:22 51:8 78:24         39:10,22 44:7,13,18    3:21 9:6 23:21 25:21     8:19,23 13:24 39:1,4     21:18 51:14 61:20
   107:3 109:1              48:16 49:2,21 55:24      26:20 27:2,13,20,21      41:10 43:3 71:7          116:15
stating (1)                 56:15,16,19 57:18        28:25 32:12,20 33:1   talked (1)               think (23)
 118:5                      58:18 60:13,13,15        53:22,24 59:18         38:19                    11:5,6 14:21 17:7
statistical (3)             60:16,18 61:3 62:20      63:15 66:4 70:5       talking (11)                33:15,17 49:6 58:1
 13:16 42:18,24             63:6,12,18 64:6          71:24 75:23 82:4       34:24 36:4,7,17 41:12      74:21 77:3,8 79:23
statistically (4)           65:2,20,22,22,23         83:4,14,17 84:22         41:17 43:5 51:14         80:18 81:24 83:21
 42:14,18 101:13,19         66:20,21,21 67:3,8       85:24 86:6,18 90:18      53:18 61:2 95:1          88:1 103:20,24
status (1)                  67:9,12,14,15,17,25      97:1 100:23           tape (2)                    104:7 105:7 106:20
 96:1                       68:8,18 69:3,4,9,23   support (1)               72:13,14                   112:3 113:15
Stella (1)                  70:4,12,19 71:3,8      8:15                    taped (1)                thinking (1)
 79:3                       71:14 73:3,11,18,23   supported (7)             62:11                    94:11
stenographic (1)            74:4 75:1,5,9,12,16    57:9 60:5,10,24 73:11   taught (2)               third (5)
 121:12                     75:21 76:5 82:3          73:14 75:19            80:13,14                 4:24 10:6 11:8 28:13
stenographically (2)        86:20,23,24 87:3,6    supports (1)             tell (2)                    49:15
 1:23 121:8                 87:7,12,13,13,17       65:10                    64:4 72:10              thought (1)
stop (2)                    88:4,4 89:10,11       supposed (1)             telling (3)               49:19
 12:12 102:13               93:16,18,21 94:2       91:7                     76:4 82:19,22           thousand (2)
stopped (3)                 95:19,23 97:1,4       sure (11)                ten-plus-year (1)         34:2,2
 34:1,17,20                 98:3,5,7,9,11          14:25 41:16 45:14        33:9                    three (5)
Street (1)                  101:21 103:19            49:24 67:11 68:6      ten-year (1)              15:4 78:16,16 89:7
 2:10                       104:3,7 105:4,6,10       77:13 85:1 89:25       37:9                       102:14
strengths (3)               105:11,14,19             100:17 112:20         tend (1)                 thrown (1)
 107:13,15,24               106:11,21,25 107:4    surprise (1)              23:17                    65:7
strike (3)                  107:16,21,24           80:22                   tends (3)                time (24)
 7:22 106:14 107:10         115:19 116:25         surrogate (1)             20:1,1 32:23             4:20 13:9 18:4 37:9


                                       TSG Reporting - Worldwide      877-702-9580
           Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 48 of 50


                                                                                                          Page 15

   40:13 46:18,23         11:4                    45:21 46:1,5 71:10,11   validated (2)             39:15,19,21 41:13
   49:15 57:25 66:25     true (31)                  84:18 99:21 112:14    11:2,10                   45:6,25 46:10,13
   67:24 68:8 72:23       6:1,16 22:2,23 23:15      114:25                validation (1)            47:2,9 48:6,8,22
   73:1 80:23 81:7,8        23:23,24 25:22,23     understanding (6)       13:15                     49:8,14,18 50:5,12
   90:18 96:6 102:7,16      28:19 29:1 31:14      6:19 74:3 77:22 116:9   validity (1)              50:18,22 52:23 55:7
   102:19 105:7             37:6 38:11,22 40:25     117:1,2               31:19                     55:17 56:20 57:21
   119:12                   41:4 50:12 51:7       understood (1)          value (1)                 59:25 60:9,19,21
times (1)                   54:21 63:15 76:16     100:18                  93:4                      61:13,17,24 62:2,10
 89:7                       76:23 84:5 88:16      unfair (1)              variables (4)             63:16,24 65:25
title (3)                   89:2 90:4,10 95:2     29:23                   109:10 118:1,20           67:10,20 68:3,11,21
 6:20 7:1,4                 121:11 122:23         unfathomable (1)          119:1                   68:24 69:13 70:25
titled (3)               truth (3)                112:3                   variety (1)               71:7,18 72:5,12,15
 3:17 37:18 55:12         5:17,17,18              unfortunately (1)       113:18                    72:19,21 73:10,16
today (13)               try (1)                  109:19                  various (5)               73:25 75:3,14 76:19
 4:20 13:1,24 16:7        40:25                   United (2)              10:3 13:15 14:10          77:10,21 78:8,12,21
   17:9 30:11,12 71:19   trying (1)               1:1 4:15                  58:19 106:23            79:13,22 80:21
   90:23 96:25 109:24     77:3                    universities (1)        veracity (2)              84:24 85:7 91:15,25
   110:1 114:17          TSG (2)                  80:1                    115:23 117:4              92:4,6,8 93:12
told (1)                  4:23 5:1                University (2)          verify (1)                95:17 97:6 98:14,17
 69:13                   tumors (2)               80:11 114:1             99:19                     99:16 100:1,13,21
tons (1)                  90:9 92:18              unlagged (7)            versus (4)                101:6,20 102:4,10
 67:12                   turn (4)                 40:5,10,15,17 41:11     36:19 89:6,8,15           102:21 108:11,13
top (5)                   4:11 111:10,10            41:15 46:11           video (14)                108:16 110:9,11,13
 7:24 37:20 76:17,22        117:13                unquote (7)             4:5,23 12:19,21 46:19     110:17,18 112:4,7
   85:10                 two (20)                 84:1 85:20 90:19 95:8     46:21,22 62:10          112:22 113:3,6,7
topic (2)                 3:24 15:4,17 34:1,2       95:14 96:3 109:2        72:22,25 102:15,18      117:8 118:8 119:9
 50:9 112:9                 34:13 37:12 38:15     untenable (1)             119:10,13             wait (4)
topics (1)                  38:18,24 39:4 46:22   109:6                   videographer (15)       12:12,12 39:6 48:8
 111:20                     64:18 80:3 101:24     untestable (1)          2:16 4:5 12:16,18,21    want (9)
total (4)                   102:12,14 110:11      109:8                     46:17,21 72:13,25     13:18 19:10 24:1
 35:19 88:13 89:22          110:14 119:11         unusual (1)               102:9,12,15,18          30:19 32:1 46:13
   94:17                 two-page (1)             103:23                    110:16 119:10           60:2 62:13 110:13
totality (1)              59:18                   update (1)              videotaped (3)          wanted (2)
 96:19                   type (3)                 104:6                   1:11 4:6 119:11         110:23 112:16
Tox (1)                   51:15 70:20 116:16      upper (1)               view (2)                Ward (10)
 45:2                    typed (2)                103:14                  65:10 86:21             58:1,1 59:4,20 60:5
toxicologist (9)          15:8 19:3               use (31)                vote (1)                  60:17 61:5,8 62:6
 44:2 53:1,4,17 113:10   typical (1)              3:14,17 6:15 7:1        48:3                      72:6
   113:13 114:20,21       22:22                     26:21 29:4,25 30:7                            Ward's (1)
   114:24                typically (1)              37:18 39:13 54:10               W             60:24
toxicologists (1)         78:14                     56:1,6,9,10,11 60:6   W (9)                   warned (1)
 53:15                                              61:9,14 63:1,2        1:10 3:3 4:7 5:20       58:6
toxicology (23)                    U                64:10,13 65:24          119:12 120:8 121:9    warrant (2)
 50:20 51:9,11,13,16     Uh-huh (17)                66:22 70:13 84:22       122:3,25              116:18,18
   51:18,24 52:7,10,11   7:21 10:8 15:25 25:18      92:17 101:2 109:3     Wagstaff (154)          warranting (4)
   52:13,14,15,16,21       35:18 36:9 56:12         117:21                2:4,5 3:4,20 5:11,11    115:22 116:11,13
   53:5,7,10,11,14         62:7 85:18 87:20       uses (1)                  5:12 6:17 7:13,16       117:4
   81:10 113:19,25         88:2,10,12 91:2        97:21                     8:18 9:3,8,22 11:12   Washington (3)
training (7)               94:1 110:22 117:19     usually (1)               12:3,12,17,23 13:10   2:10 5:7 79:1
 113:23 114:2 115:4,8    undergo (1)              104:2                     13:22 15:7,12 16:9    wasn't (3)
   115:8,9,11            77:18                                              17:16,18 18:22 19:2   36:17 40:19 60:24
transcript (3)           undergone (2)                       V              19:10,13 22:3,13,17   way (12)
 121:10,11 122:2         17:1,11                  valid (1)                 22:24 23:13 25:1,7    36:10 47:8 76:4 78:17
Treeline (2)             underpinning (1)         57:6                      26:9,13 28:2,4,10       79:2 82:11,12,19,22
 1:14 4:19               70:6                     validate (2)              29:20 31:21,23 34:7     89:9 118:7,10
tried (1)                understand (9)           11:14 69:25               35:14 37:7,23 39:6    weaknesses (1)


                                       TSG Reporting - Worldwide     877-702-9580
          Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 49 of 50


                                                                                                         Page 16

  107:24                world (2)                          Z            1:13 119:13,14          200 (1)
Wednesday (1)           6:1 9:19                zero (1)                120 (1)                 115:19
1:13                    worldwide (1)            34:21                  3:5                     2000 (6)
weight (1)              68:17                                           121 (1)                 33:25 34:1,3,17,20
87:16                   worse (1)                         0             3:6                       69:16
well-established (1)    29:7                    05 (4)                  122 (3)                 20005 (1)
58:9                    wouldn't (3)            65:22 66:7,8,21         1:10 3:6 121:10         2:10
well-outlined (1)       75:10,10 80:22                                  124-page (3)            2001 (4)
77:23                   write (4)                         1             15:8 19:3 22:14         33:21 34:12,19,20
well-respected (1)      17:23 34:7,9 122:2      1 (6)                   13 (1)                  2002 (2)
76:12                   writing (4)             1:10 9:10 54:4 57:20    102:12                  33:20 34:10
went (3)                23:8 32:12 33:1 105:5     64:11 121:9           133 (1)                 2003 (4)
33:18 34:10 84:14       written (4)             10 (5)                  72:15                   33:15,17 34:10 36:13
weren't (4)             29:22 43:1,2 82:21      1:13 40:23 41:3 120:9   135 (3)                 2005 (6)
45:5 88:25 89:6 93:21   wrong (1)                 122:4                 88:21,22 89:6           33:22,25 88:15 97:2
West (1)                56:4                    10:05 (2)               1350 (1)                  118:22 119:3
2:4                     wrongly (1)             46:18,20                2:10                    2011 (1)
whispering (1)          28:23                   10:13 (2)               135911 (1)              118:13
4:10                    wrote (6)               46:20,23                1:25                    2012 (7)
wide (1)                17:22,25 45:13 77:12    10:48 (2)               13600 (2)               25:17 30:17 118:15
113:18                    97:25 114:15          72:23,24                1:14 4:19                 118:18,24 119:2,4
widely (1)                                      101 (1)                 140 (1)                 2013 (1)
29:15                             X                                     94:17                   23:23
                                                104:1
withdraw (3)            X (3)                   102 (1)                 15 (7)                  2017 (10)
111:8,22 112:24         3:1,8 21:14             3:4                     3:12 18:17 21:16 22:9   8:4,7,16 9:13 11:8
witness (13)                                    103 (1)                   40:23 41:4 106:4        51:10 88:7,16 94:23
3:2 5:5,19 14:2 19:4               Y            106:5                   16 (2)                    111:3
  39:8 60:23 73:7       Y (1)                   104 (2)                 106:4 111:3             2018 (58)
  98:15,18 100:19,22    21:14                   88:11 106:5             16-md-02741-VC (2)      1:13 4:20 6:10,14
  117:8                 Yale (1)                10th (4)                1:3 4:17                  8:22 16:12 31:22
witnesses (1)           79:19                   4:20 55:11 120:10       17 (1)                    37:3,4,8,22 38:2,5
68:15                   yeah (30)                 121:20                117:9                     48:16 49:2,5,21
word (13)               6:13 7:16 12:7 17:21    11 (1)                  19 (7)                    54:20,20 55:12,12
42:19,24 56:6,9,10        18:25 23:1 28:1       106:4                   36:13 85:9,17 90:20       57:2,14 59:11 65:23
  60:1,3,11,12,14         31:4 32:16 34:9       11:05 (2)                 95:9,15 96:3            66:21 67:3 71:8,15
  61:14 62:11 86:6        37:8 39:3 40:20       72:24 73:1              1980 (1)                  75:23 76:5 78:6
wording (1)               46:6 64:2 66:12       11:45 (2)               80:25                     79:7 82:3,7,20
87:24                     67:13 70:24 72:19     102:16,17               1990s (3)                 86:20,23 87:15 88:4
words (1)                 94:15 98:24 100:9     110 (1)                 58:11 70:15 71:17         88:16 90:24 91:24
19:13                     103:16 106:7,9        3:24                    1997 (2)                  94:23 95:7,18 98:3
work (11)                 110:9,17 115:9        111 (1)                 70:19 71:15               98:8 101:21 103:10
11:15,18 15:15 74:5       119:6,8               88:11                   1998 (2)                  109:16 115:19
  81:1,2,13 98:25       year (6)                112 (12)                34:15 36:13               116:25 119:23
  113:16,22 114:7       21:14 33:8,10,11        11:25 12:8,10 13:12     1999 (2)                  120:9,10 121:20
worked (11)               36:11 117:1             14:4 22:10 88:11      34:14 36:13               122:4
15:10 43:11 45:8 74:5   years (20)                104:17,21 106:16                              2019 (1)
  77:3 114:4,13         19:4 21:12,15,15,16       107:12,23                       2             120:19
  115:15 116:2,4,9        24:8 34:4 40:23,24    113 (1)                 2 (10)                  21 (5)
workers (2)               43:11,12 44:10        88:11                   24:7,13 64:11,15        7:12 10:9 24:2 106:4
58:18 72:7                45:16 52:5,12,12,15   117 (1)                   83:16,17 88:6 89:22     107:2
working (8)               77:4,4 113:22         3:5                       109:4,15              234084 (1)
12:6 14:4 43:12 45:3    Yep (4)                 12 (3)                  20 (5)                  120:18
  45:7 104:20 106:16    30:18 39:18 86:10       8:16 11:8 12:6          21:15 31:13 40:23       24th (1)
  107:3                   108:20                12:13 (2)                 52:11 64:20           111:11
works (2)               York (1)                102:17,19               20-year (3)             25 (1)
78:20 79:10             4:24                    12:35 (3)               41:4 42:5,9             93:21


                                      TSG Reporting - Worldwide    877-702-9580
          Case 3:16-md-02741-VC Document 1137-7 Filed 02/16/18 Page 50 of 50


                                                                                  Page 17

250 (3)                 40 (5)                  88 (1)
67:5,11 69:5            52:12,15 77:4,4         90:1
26 (2)                    113:21
3:13 106:4              414 (3)                           9
27 (2)                  108:5,11 117:14         9 (2)
7:13 110:7              415 (1)                 15:20 106:3
27-1 (6)                31:2                    9:03 (1)
3:10 7:15,17,19 10:9    440 (6)                 1:13
  103:3                 88:13,16 89:3 93:1,13   9:05 (1)
27-2 (5)                  94:22                 4:21
3:12 15:1,6 22:9        46 (1)                  9:16 (2)
  104:13                31:2                    12:19,20
27-3 (7)                                        9:18 (2)
3:13 26:17,19 27:10                5            12:20,22
  108:5,11 117:17       5 (5)                   90s (1)
27-4 (3)                3:4 40:22 41:3 88:4     69:4
3:17 37:14,15             94:21                 92 (6)
27-5 (6)                5/16/17 (1)             87:18 88:15,15 93:1,2
3:19 50:16,17 109:22    3:19                      93:13
  110:20 111:5          50 (1)
27-6 (3)                3:19
3:21 53:25 54:1         54 (1)
27-7 (3)                3:21
3:22 85:3,4             57,000 (3)
27-8 (3)                70:16,23 89:17
3:24 110:10,12          59 (1)
2741 (1)                72:13
1:3
29 (1)                            6
9:13                    6 (2)
29th (1)                41:19 77:25
8:4
2A (2)                            7
107:14,25               7 (9)
                        3:10 39:9,16 91:14,19
          3               91:23 92:4,5 120:19
3 (1)                   7:15 (1)
41:17                   49:23
30 (3)                  71 (1)
43:11,11 52:5           93:2
31 (4)                  7171 (1)
86:9 91:1 96:21 106:4   2:4
33 (1)                  747 (1)
106:4                   4:24
34 (15)
12:25 15:14 19:5                  8
  23:14 48:10,14,23     8 (2)
  49:1 52:24 66:1       89:25 92:5
  72:14 100:14,17       80226 (1)
  101:21 102:5          2:5
36 (1)                  83 (2)
106:5                   90:1,1
37 (2)                  85 (1)
3:17 109:15             3:22
                        87 (1)
          4             90:1


                                      TSG Reporting - Worldwide    877-702-9580
